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                        EXHIBIT 2


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                       FEDERAL COURT OF AUSTRALIA

     Hells Angels Motorcycle Corporation (Australia) Pty Limited v Redbubble
                             Limited [2019] FCA 355

   File number(s):             QUD 902 of 2015

   Judge(s):                   GREENWOOD J

   Date of judgment:           15 March 2019

   Catchwords:                 COPYRIGHT – consideration of whether copyright
                               continues to subsist in an artistic work described as the
                               “Membership Card image” authored by a United States
                               citizen in the United States of America in 1954

                               COPYRIGHT – consideration of whether the 1954 work
                               authored by a man by the name of “Sundown” is an
                               anonymous work or a pseudonymous work –
                               consideration of whether the relevant corporation in the
                               United States of America is the owner of the copyright
                               subsisting in the work in suit – consideration of the
                               evidence and statutory provisions going to the question of
                               whether that corporation is the owner of the copyright
                               work in suit having regard to the application of the
                               domestic copyright law of Australia

                               COPYRIGHT – consideration of whether the applicant
                               is an exclusive licensee of the contended grantor of the
                               exclusive licence having regard to the integers of the term
                               “exclusive licensee” in s 10(1) of the Copyright Act 1968
                               (Cth)

                               COPYRIGHT – consideration of whether a work
                               described as the “Fuki current Death Head design” is a
                               derivative work and whether copyright subsists in it
                               independently of the “Membership Card image”

                               COPYRIGHT – consideration of whether the first
                               respondent has exercised any one of the relevant
                               exclusive rights of the copyright owner on the assumption
                               that ownership of the copyright as contended is made out

                               TRADE MARKS – consideration of whether the
                               applicant is an authorised user of the trade marks in suit
                               having regard to the integers of s 8 of the Trade Marks
                               Act 1995 (Cth)




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                             TRADE MARKS – consideration of whether the first
                             respondent has infringed the registered trade marks in suit
                             having regard to the elements of s 120(1) and s 120(2) of
                             the Trade Marks Act – consideration of the question of
                             damages and exemplary damages

                                  TRADE MARKS – consideration of a cross-claim by the
                                  first respondent for an order directing the Registrar of
                                  Trade Marks to remove the registered trade marks of
                                  Hells Angels Motorcycle Corporation of the United States
                                  from the Register

                                  INTELLECTUAL PROPERTY – consideration of
                                  whether the applicant has standing to bring the
                                  proceedings

   Legislation:                   Copyright Act 1968 (Cth), ss 10(1), 14(1)(a), 22(6),
                                  22(6A), 24, 29(1)(a), 29(3), 31(1)(b)(i), 31(1)(b)(iii), 32,
                                  33, 34, 36, 101(1A), 119, 210, 213(2), 213(4), 213(8),
                                  239
                                  Trade Marks Act 1995 (Cth), ss 7(3), 7(4), 7(5), 8(1),
                                  8(2), 8(3), 17(3), 26(1), 26(2), 92(3), 92(4)(b), 100(1)(c),
                                  120(1), 120(2)

                                  Australian Consumer Law, ss 18, 29

   Cases cited:                   Australian Performing Right Association Ltd v
                                  Canterbury-Bankstown League Club Ltd (1964) 81
                                  WN Pt (1) (NSW) 300
                                  Enzed Holdings Ltd v Wynthea Pty Ltd (1984) 4 FCR 450
                                  Ernest Turner Electrical Instruments Ltd v Performing
                                  Right Society Ltd [1943] Ch 167
                                  Google Inc. v Australian Competition and Consumer
                                  Commission (2013) 249 CLR 435
                                  Heidelberg Graphics Equipment Ltd v Andrew Knox &
                                  Associates Pty Ltd (1994) ATPR 41-326
                                  International Harvester Company of Australia Pty Ltd v
                                  Carrigan’s Hazeldene Pastoral Company (1958) 100
                                  CLR 644
                                  Jennings v Stephens [1936] Ch 469
                                  Lodestar Anstalt v Campari America LLC (2016) 244
                                  FCR 557
                                  Performing Right Society Ltd v Harlequin Record Shops
                                  Ltd [1979] 1 WLR 851
                                  Pioneer Kabushiki Kaishai v Registrar of Trade Marks
                                  (1977) 137 CLR 670
                                  Ramset Fasteners (Aust) Pty Ltd v Advanced Building
                                  Systems Pty Ltd (1999) 164 ALR 239
                                  Rank Film Production Ltd v Dodds [1983] 2 NSWLR 553




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                            Roadshow Films Pty Ltd v iiNet Limited (2012) 248
                            CLR 42
                            Telstra Corporation Limited v Australasian Performing
                            Right Association Limited (1997) 191 CLR 140
                            The Koursk [1924] P 140
                            The Shell Company of Australia Limited v Esso Standard
                            Oil (Australia) Limited (1963) 109 CLR 407
                            Thompson v Australian Capital Television Pty Ltd (1996)
                            186 CLR 574
                            University of New South Wales v Moorhouse (1975) 133
                            CLR 1
                            WEA International Inc. v Hanimex Corporation Ltd
                            (1987) 17 FCR 274
                            Winstone v Wurlitzer Automatic Phonograph Co of
                            Australia Pty Ltd [1946] VLR 338

  Date of hearing:                    25 September 2017, 26 September 2017, 27 September
                                      2017, 28 September 2017 and 29 September 2017

  Date of last submissions:           15 February 2018

  Registry:                           Queensland

  Division:                           General Division

  National Practice Area:             Intellectual Property

  Sub-area:                           Copyright and Industrial Designs

  Category:                           Catchwords

  Number of paragraphs:               552

  Counsel for the Applicant/Cross     Mr D Eliades
  Respondent:

  Solicitor for the Applicant/Cross   Solus IP Pty Ltd
  Respondent:

  Counsel for the First               Mr R Cobden SC with Ms E Bathurst
  Respondent/Cross Claimant:

  Solicitor for the First             Allens Linklaters
  Respondent/Cross Claimant:




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                                           ORDERS

                                                                             QUD 902 of 2015

  BETWEEN:                 HELLS ANGELS MOTORCYCLE CORPORATION
                           (AUSTRALIA) PTY LIMITED ACN 123 059 745
                           Applicant

  AND:                     REDBUBBLE LIMITED ACN 119 200 592
                           First Respondent

                           HELLS ANGELS MOTORCYCLE CORPORATION
                           Second Respondent


  AND BETWEEN:             REDBUBBLE LIMITED ACN 119 200 592
                           Cross-Claimant

  AND:                     HELLS ANGELS MOTORCYCLE CORPORATION
                           Cross-Respondent

                           HELLS ANGELS MOTORCYCLE CORPORATION
                           (AUSTRALIA) PTY LTD ACN 123 059 745
                           Other

  JUDGE:                   GREENWOOD J
  DATE OF ORDER:           15 MARCH 2019

 THE COURT ORDERS THAT:

 1.      The applicant submit to the Court within 10 days proposed orders giving effect to the
         reasons for judgment published today.
 2.      Costs are reserved for later determination.




 Note: Entry of orders is dealt with in Rule 39.32 of the Federal Court Rules 2011.




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                                REASONS FOR JUDGMENT

    GREENWOOD J:

    Background and introduction to the issues
1   In these proceedings, the applicant Hells Angels Motorcycle Corporation (Australia) Pty
    Limited (“HAMC Aust” or the “applicant”) takes issue with the conduct of the respondent,
    Redbubble Ltd (“Redbubble”) arising out of, put simply, the contended structure, method of
    operation, functionality and outcomes generated when persons (otherwise called “artists”), and
    consumers (otherwise called “buyers”) engage with Redbubble’s website ([Web]
    redbubble.com) (the “Redbubble website”).

2   The Redbubble website enables an artist (or for that matter, a non-artist who might simply be
    a person seeking to appropriate another person’s works or trade marks for commercial gain,
    subject to Redbubble’s contended protocols governing the operation of the website so as to
    manage the conduct of such persons), to upload an image, drawing, photograph, design, name,
    mark or sign or any other expression of creative (or non-creative) work to the website. The
    artist nominates the class of goods to which the work can be applied (selected from
    Redbubble’s pre-determined list of available products, for example, T-shirts, caps, mugs) and
    the website enables consumers to search, by tags or keywords, and transact so as to order and
    pay for, through the website, a selected article bearing the work.

3   The Redbubble website causes a third party fulfiller to be appointed (from a panel preselected
    by Redbubble) to fill the order by applying the image (or relevant subject matter) to, for
    example, a mug or a T-shirt.

4   The functionality of the Redbubble website also enables the despatch and delivery of the article
    with the work applied as ordered, to the buyer’s nominated address.

5   Redbubble says that it acts as the “agent of the artist” in enabling the transaction through its
    website. Redbubble says that in doing so, and in operating the Redbubble website generally,
    it is simply providing an open, online, electronic marketplace where artists and consumers can
    engage and transact with one another.

6   It will be necessary in these reasons to examine the evidence going to the structure,
    functionality and operation of the Redbubble website in some detail. That is especially so
    because Redbubble says that the entire functionality of its website is effected by software




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         located on servers in the United States of America. Redbubble says that the uploaded images
         are stored on servers in the United States and all commands giving effect to a step taken by an
         artist to, for example, upload an image or relevant subject matter to the site, or a consumer to
         transact, takes place in the United States and not in Australia.

7        HAMC Aust contends that by reason of the manner and method of operation of the Redbubble
         website, Redbubble has infringed the copyright said to be subsisting in two artistic works;
         infringed certain registered trade marks; and engaged in conduct in contravention of ss 18,
         29(1)(g) and 29(1)(h) of the Australian Consumer Law (the “ACL”). Apart from contentions
         of direct infringement, HAMC Aust says, in the alternative, that Redbubble has authorised
         infringements of the copyright in the relevant works by others (artists) and has engaged in a
         “common design” with artists in bringing about the infringement of copyright so as to render
         Redbubble and the artists joint tortfeasors.

8        As to the precise conduct said to constitute the copyright infringements, the applicant contends
         (as articulated more precisely in closing oral addresses) that the critical complaint (the “case”)
         is that Redbubble has engaged in a direct infringement of the copyright in the two works
         (s 36(1), Copyright Act 1968 (Cth) (the “Copyright Act” or the “1968 Act”) by, in Australia,
         “communicating the work to the public” within the meaning of s 31(1)(b)(iii) of the Copyright
         Act. That is said to follow because Redbubble is said to have made the relevant work in suit
         “available online” for the purposes of the definition of the term “communicate” in s 10(1) of
         the Copyright Act. Alternatively, Redbubble is said to have authorised the conduct of the artist
         in making the work available online by uploading an image or relevant subject matter and has
         thus authorised an infringement by the artist.

9        Redbubble contends that the applicant has failed to identify precisely, in terms of the
         technology, the point on the continuum when an infringing step occurs so as to test the
         authorisation principles against the infringement said to have been authorised.

10       HAMC Aust says that Redbubble and the artists are joint tortfeasors in the trade mark
         infringements. The applicant also says that Redbubble has authorised trade mark infringements
         by the artist.

11       It will, of course, be necessary to examine the precise statutory integers of the relevant conduct
         and the application of those integers to the facts.




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12      HAMC Aust is neither the owner of the copyright said to subsist in the two copyright works in
        suit, nor the registered owner in Australia of the relevant trade marks in suit.

13      HAMC Aust says that it derives its standing to sue as the exclusive licensee in Australia of the
        copyright owned by the second respondent, Hells Angels Motorcycle Corporation (US)
        (“HAMC US”). HAMC US is the registered owner in Australia of the trade marks in suit in
        these proceedings. HAMC Aust says that it is the authorised user in Australia of the relevant
        marks.

14      The rights of HAMC Aust in the copyright and the relevant trade marks are said to derive from
        an agreement dated 14 May 2010 between HAMC US and HAMC Aust in which the grant of
        rights is described as “an exclusive non-transferable licence” to use the marks and copyright
        subsisting in works substantially identified in the relevant trade marks. Redbubble contends
        that a proper analysis of the agreement, taken in conjunction with evidence of the way in which
        HAMC Aust engages with HAMC US concerning use of the copyright works (particularly
        having regard to the definition of the term “exclusive licensee” in s 10(1) of the Copyright Act),
        and the trade marks (having regard to the definition of “authorised user” and “authorised use”
        in s 8 of the Trade Marks Act 1995 (Cth) (“Trade Marks Act”), suggests that HAMC Aust is
        neither an exclusive licensee of the copyright nor an authorised user of the trade marks.

15      Redbubble says that the proceedings should be dismissed on that ground alone.

        The copyright works
16      As to the copyright, the works relied upon by the applicant are these.

17      First, an artistic work (in respect of which there is no challenge to the originality of the work)
        depicting a skull in profile wearing a motorcycle helmet adorned with exposed feathers in the
        form of a wing or headdress described as the “Membership Card image” or “Membership card”.
        The image is depicted below.




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18   The applicant says that the Membership Card image is a work commissioned by the “San
     Francisco Chapter” of the Hells Angels Club (as explained later in these reasons) on
     2 September 1954. The author is a man called “Sundown”. He is said to have been a resident
     of San Francisco at the time of authorship of the image. He is said to be Robert D. Kestner
     (also spelt “Kistner”). The applicant says that the work was “completed” in 1954. The
     applicant says that HAMC US is the owner of the copyright subsisting in the Membership Card
     image although the applicant accepts that there is no assignment (or no evidence of an
     assignment) in writing vesting the legal title to the copyright in HAMC US.

19   It will be necessary to examine the chain of title to the work starting with “Sundown” as the
     author of the work in 1954.

20   As to the question of whether copyright continues to subsist in the Membership Card image,
     issues arise in relation to s 34 of the Copyright Act. Section 34, as it stood prior to the
     commencement of the United States Free Trade Agreement Implementation Act 2004 (Cth)
     (the “Free Trade Implementation Act”) (which had the effect of, among other things, extending
     the term of a relevant work from 50 years to 70 years), provided:

            (1)     Subject to subsection (2), if the first publication of a literary, dramatic, musical
                    or artistic work is anonymous or pseudonymous, any copyright subsisting in
                    the work by virtue of this Part continues to subsist until the end of the period
                    of 50 years after the end of the calendar year in which the work was first
                    published.
            (2)     Subsection (1) does not apply in relation to a work if, at any time before the
                    end of the period referred to in that subsection, the identity of the author of the
                    work is generally known or can be ascertained by reasonable inquiry.
                                                                                     [emphasis added]




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21    As to s 34, the following questions arise.

22   The question of whether copyright subsists in an original artistic work published or unpublished
     and the term or duration of that subsistence falls to be determined by Part III of the Copyright
     Act having regard to, relevantly, ss 32, 33 and 34. However, s 210 of the Copyright Act,
     contained within Part XI, which addresses transitional matters, provides that notwithstanding
     anything in Part III, copyright does not subsist by virtue of that part in a work (relevantly here,
     an artistic work made in 1954) first published before the commencement date of the Copyright
     Act (which commenced on 1 May 1969) unless copyright subsisted in the work under the
     Copyright Act 1911 immediately before the commencement of the 1968 Act.

23   If copyright did so subsist, it continues to be governed by Part III.

24   The Free Trade Implementation Act commenced operation on 1 January 2005.                     Thus,
     31 December 2004 is a material date. Section 33 (which has effect “subject to s 34”; s 33(1)),
     prior to 1 January 2005, provided that copyright in an artistic work continued to subsist until
     the expiration of 50 years after the end of the calendar year in which the author of the work
     died. Section 34, however, provided prior to 1 January 2005, that if first publication of an
     artistic work occurred anonymously or pseudonymously, any copyright subsisting in the work
     by reason of Part III would continue to subsist until 50 years after the end of the calendar year
     in which the work was first published (on the apparent assumption that it would not be possible
     in respect of such a work to determine the date of death of the author and thus determine the
     term under the “end of the life of the author plus 50 years” rule (the “primary rule”)).

25   If Sundown’s work was first published anonymously or pseudonymously prior to 31 December
     1954, the subsistence of copyright in the work ended on 31 December 2004. However, even
     though a work might be published anonymously or pseudonymously, a circumstance might
     arise at some point in the period between the end of the calendar year of first publication and
     50 years, in which the identity of the author becomes generally known, in which event the
     primary rule would operate.

26   Another circumstance might be that even though the author is not generally known, his or her
     identity “can be ascertained by reasonable inquiry”. In that circumstance, the primary rule
     would also apply.

27   In either of those circumstances, s 34(2) has the effect of displacing the operation or application
     of s 34(1) with the result that the duration of the subsistence of any copyright falls to be




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      determined in accordance with s 33. From 1 January 2005, the term became, under the primary
       rule, the end of the calendar year in which the author of the artistic work died plus 70 years.

28     Assuming that s 34(1) “applied” (at a time prior to 1 January 2005) to the Sundown work,
       copyright ceased to subsist in the work at 31 December 2004 and did not therefore enjoy the
       benefit of the statutory changes on 1 January 2005. Questions of fact become: When was the
       Sundown work first published? Was it published anonymously or pseudonymously? In the
       relevant period contemplated by s 34(1), was the identity of the author generally known or
       could it have been ascertained by reasonable inquiry?

29     Redbubble says that the work was published in 1954 because reproductions of the work were
       supplied “to the public” between 9 September 1954 and 31 December 1954, for the purposes
       of s 29(1)(a) of the Copyright Act.

30     If first publication occurred in 1954 a question arises as to whether at any time in the period
       ending 31 December 2004 the identity of Sundown was generally known or could have been
       ascertained by reasonable inquiry. If so, s 34(1) as it stood had no application and the term of
       the copyright would not have expired on 31 December 2004. Redbubble says that Sundown’s
       identity was not generally known in the period contemplated by s 34(1) and his identity could
       not have been ascertained by reasonable inquiry. The applicant contends otherwise and says
       that s 34(1) has no application.

31     Other aspects of the factual matrix going to this issue are in contest.

32     The second copyright work is an artistic work described as the “current Death Head design”,
       the author of which is Mr John Makato Fukushima, known as “Fuki”.

33     In the pleading, the applicant describes the work as “enhancements to the winged skull image”
       appearing on the Membership Card: para 11A. It is said to have been made or “created” in
       1983 and first published in the United States in 1983. The author at the time of authorship was
       a United States citizen resident in the United States.

34     The applicant says that by agreement between HAMC US and Fuki, the copyright in the current
       Death Head design was to be owned by HAMC US. Mr Fukushima assigned the ownership of
       the copyright in the current Death Head design to HAMC US in writing on 16 September 2015.
       However, he inadvertently attached the wrong image to the assignment document. A fresh
       assignment was signed by him on 29 March 2017 correcting the attachment. Mr Fukushima’s
       current Death Head design is depicted below.




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35   Redbubble says that the applicant has not established any originality in the current Death Head
     design and it is true to say that in the closing address on behalf of the applicant, counsel
     effectively abandoned any reliance upon contentions of copyright subsistence in this work as a
     separate work.

36   However, the matter has not been abandoned by the applicant.

37   As to the trade marks in suit, the applicant relies upon the following trade marks registered in
     Australia in the name of HAMC US having regard to the classes in Schedule 1 to the Trade
     Mark Regulations in each case:

            (a)       Trade Mark 526530 registered in Class 16 for the following words/image:




            (b)       Trade Mark 723219 for the words “HELLS ANGELS” registered in Classes 14,
                      16, 25 and 26.
            (c)       Trade Mark 723463 registered in Classes 14, 16, 25 and 26 for the following
                      image:




            (d)       Trade Mark 1257992 for the words “HELLS ANGELS” registered in
                      Classes 14, 16, 25 and 26.




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           (e)   Trade Mark 1257993 for the following image registered in Classes 14, 16, 25
                    and 26:




38    Trade Mark Registrations 526530, 723463 and 1257993 contain a depiction of either the
      Membership Card image or the Fuki current Death Head design. Trade Marks 723219 and
      1257992 consist simply of the words “Hells Angels”.

39    As to Trade Mark 526530, it was registered with effect from 8 January 1990 in respect of
      printed matter; book binding material; photographs; printers type in Class 16 of Schedule 1 to
      the Trade Marks Regulations 1995 (the “Regulations”).

40    As to Trade Mark 723219, it was registered with effect from 2 December 1998 in respect of
      the following goods:

                    (i)       in Class 14 of Schedule 1 to the Regulations: “Jewellery, precious
                              stones, watches and clocks, rings, metal badges and belt buckles in this
                              class”;
                    (ii)      in Class 16 of Schedule 1 to the Regulations: “Printed matter including
                              magazines, pamphlets and brochures, labels in this class, flags in this
                              class, instructional and teaching material (except apparatus), playing
                              cards, stationery including pens and posters”;
                    (iii)     in Class 25 of Schedule 1 of the Regulations: “Clothing including
                              leather belts and jackets, footwear and headgear; headbands and
                              armbands not being made of leather and being goods in this class”;
                    (iv)      in Class 26 of Schedule 1 to the Regulations: “Badges and belt buckles
                              not being made of precious metal; embroidered and cloth material
                              badges for attachment to clothing and headgear”.

41    As to Trade Mark 723463, it was registered with effect from 5 December 1996 in respect of
      the following goods:




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                 (i)  in Class 14 of Schedule 1 to the Regulations: “Jewellery, precious
                            stones, watches and clocks, rings, metal badges and belt buckles in this
                            class”;
                    (ii)    in Class 16 of Schedule 1 to the Regulations: “Printed matter including
                            magazines, pamphlets and brochures, labels in this class, flags in this
                            class, instructional and teaching material (except apparatus), playing
                            cards, stationery including pens and posters”;
                    (iii)   in Class 25 of Schedule 1 to the Regulations: “Clothing including
                            leather belts and jackets, footwear and headgear”;
                    (iv)    in Class 26 of Schedule 1 to the Regulations: “Badges and belt buckles
                            not being of precious metal, embroidered and cloth material badges for
                            attachment to clothing and headgear, headbands and armbands not being
                            of leather”.

42    As to Trade Mark 1257992, it was registered with effect from 11 July 2008 in respect of the
      following goods:

                    (i)     in Class 14 of Schedule 1 to the Regulations: “Jewellery, goods in
                            precious metal, clocks and watches, earrings, keyrings, badges, chains,
                            pins”;
                    (ii)    in Class 16 of Schedule 1 to the Regulations:          “Printed matter,
                            newspapers, periodical publications, books, photographs, stationery and
                            adhesive materials (stationery); paper, cardboard, paper articles and
                            cardboard articles, bookbinding material, artists’ materials, paint
                            brushes, ordinary playing cards; printers’ type and clichés (stereotype);
                            all included in this class”;
                    (iii)   in Class 25 of Schedule 1 to the Regulations: “Articles of clothing,
                            footwear and headgear, including coats, jackets, trousers, overalls,
                            shirts, pullovers, sweaters, hats, vests, waistcoats, cardigans and belts
                            (for wear)”;
                    (iv)    in Class 26 of Schedule 1 to the Regulations: “Badges, belt clasps, lace
                            and embroidery, buttons, headwear ornaments, patches for repairing
                            textile articles, pins and needles”.




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43   As to Trade Mark 1257993, it was registered with effect from 11 July 2008 in respect of the
     following goods:

                    (i)     in Class 14 of Schedule 1 to the Regulations: “Jewellery, goods in
                            precious metal, clocks and watches, earrings, keyrings, badges, chains,
                            pins”;
                    (ii)    in Class 16 of Schedule 1 to the Regulations:          “Printed matter,
                            newspapers, periodical publications, books, photographs, stationery and
                            adhesive materials (stationery); paper, cardboard, paper articles and
                            cardboard articles, bookbinding material, artists’ materials, paint
                            brushes, ordinary playing cards; printers’ type and clichés (stereotype);
                            all included in this class”;
                    (iii)   in Class 25 of Schedule 1 to the Regulations: “Articles of clothing,
                            footwear and headgear, including coats, jackets, trousers, overalls,
                            shirts, pullovers, sweaters, hats, vests, waistcoats, cardigans and belts
                            (for wear)”;
                    (iv)    in Class 26 of Schedule 1 to the Regulations: “Badges, belt clasps, lace
                            and embroidery, buttons, headwear ornaments, patches for repairing
                            textile articles, pins and needles”.

     The contended infringements
44   As to the contended infringements of the trade marks by Redbubble, the applicant relies upon
     four examples of artists uploading images to the Redbubble website and offering for sale
     products to which the uploaded image might be applied. In three of the four examples,
     transactions occurred in which the trade mark was applied “to goods”. The four examples
     relied upon by the applicant are set out below:




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      Example 1 – a Unisex T-shirt Hells Angels MC Virginia




      Example 2 – a poster described as “Angel with Angel”




      Example 3 – a T-shirt described as 1st Hells Angel T November 2015




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      Example 4 – a T-shirt identified as Hells Angels – Death before Dishonour Design




45    Clearer examples of the images in Examples 3 and 4 are set out below:




46    Example 1 is described as “E1” in Attachment E to the applicant’s third further amended
      statement of claim (“FASOC”). Example 2 is “E4” in the FASOC. Example 3 is “E5” in the
      FASOC and Example 4 is an image described and depicted at para 29A(a) of the FASOC.




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47   As to the statutory integers of s 120 of the Trade Marks Act, the applicant says that Redbubble
       has, by reason of its operation of the Redbubble website having regard to the functionality of
       the site, engaged in the conduct of using, as a trade mark, a sign (each of the previous four
       examples) that is substantially identical with or deceptively similar to the relevant trade mark(s)
       in relation to goods or goods of the same description in respect of which the relevant trade mark
       is registered. Examples 1 and 2 are said to infringe all five trade marks in suit. Example 3 is
       said to infringe Trade Marks 723463 and 1257993. Example 4 is said to infringe Trade
       Marks 723219, 723463, 1257992 and 1257993.

48     Otherwise, Redbubble and the artist are said to be joint tortfeasors because they are engaged in
       a common design to use a sign which is substantially identical or deceptively similar to the
       identified registered trade marks, as a trade mark, in trade, in relation to goods or goods of the
       same description for which the relevant mark is registered.

49     As to “use of a trade mark”, by Redbubble, the applicant places emphasis upon s 7(4) and s 7(5)
       of the Trade Marks Act which is in these terms:

               (4)    In this Act:
                      use of a trade mark in relation to goods means use of the trade mark upon,
                      or in physical or other relation to, the goods (including second-hand goods).
               (5)    In this Act:
                      use of a trade mark in relation to services means use of the trade mark in
                      physical or other relation to the services.

50     As to use of a sign, as a trade mark, as expressly required by s 120, s 17 of the Trade Marks
       Act provides that a trade mark is a sign used, or intended to be used, to distinguish the goods
       or services dealt with or provided in the course of trade by a person from goods or services so
       dealt with or provided by any other person. In other words, the “infringer” must be using the
       relevant sign as a badge of origin of goods or services.

51     As to sales of products transacted through the Redbubble website (and data concerning the
       number of views concerning the four examples mentioned earlier), the details are these:

            Example              Sales        Views
        Example 1                        2         304
        Example 2                        4       1,724
        Example 3                        1         767
        Example 4                        0          11




                                                                                                 Ex. 2
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52    As to each of these examples, the following matters should be noted, based on the evidence of
       Mr James Toy, Redbubble’s assistant general counsel based in San Francisco.

       Some aspects of the uploading of images and transactions concerning the four examples
53     The image at Example 1 was uploaded by a person named De Ann Troen whose username on
       the Redbubble website was “photroen”. When signing up to the Redbubble website, Ms Troen
       gave, as her address, an address in Virginia in the United States of America. Ms Troen
       uploaded the artwork to the Redbubble website on 21 September 2014 and gave it a title
       “7825”.

54     The Redbubble “Content Team” on 30 December 2014 took steps to “Moderate” the artwork
       as a result of a letter from the applicant’s solicitor, Mr Bolam, to Redbubble dated 24 December
       2014 (received on 29 December 2014). By “moderated”, Mr Toy means that as a result of
       Mr Bolam’s letter, steps were taken to “remove or disable access to the webpage on the
       Redbubble website where the artwork was listed and through which products bearing the
       artwork could be purchased”: para 21, Mr Toy’s affidavit, 27 July 2017.

55     The artwork was never reinstated to the website.

56     While the artwork remained on the site in the period 21 September 2014 to 30 December 2014,
       two users purchased a product bearing the artwork through the website.

57     Mr Gavin Hansen ordered a T-shirt bearing the artwork on 18 November 2014. Mr Hansen
       provided a shipping address to Redbubble in Currumbin, Queensland, 4223. The T-shirt with
       the artwork applied was manufactured by a third party fulfiller called “SSI Digital Print
       Services” in Denver in the United States. The shipping company, UPS, delivered the T-shirt
       to Mr Hansen’s nominated address.

58     A user named Steve Sawyer ordered a T-shirt bearing the artwork on 18 November 2014.
       Mr Sawyer provided a shipping address in Lincolnshire, England. The T-shirt with the artwork
       applied was manufactured by a fulfiller called “T-Shirt & Sons” in the United Kingdom. A
       supply company called “Whistl” delivered the T-shirt to Mr Sawyer’s nominated address.

59     The image at Example 2 was uploaded by a person named Mel Hok whose username on the
       Redbubble website was “LavaMel”. When signing up to the Redbubble website, Ms Hok
       provided as her address, an address in West Yorkshire, England. Ms Hok uploaded the artwork
       to the site on 17 November 2009 and gave it a title “Angel with Angel”. The Redbubble




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     Content Team moderated the artwork on 30 December 2014 as a result of the letter from
      Mr Bolam dated 24 December 2014. The artwork was never reinstated. Mr Toy says that
      during the period that the artwork remained on the website between 17 November 2009 and
      30 December 2014, four users purchased a product bearing the artwork through the Redbubble
      website.

60    On 30 November 2009, a user named Karin Lawrence ordered a matted print bearing the
      artwork.   Ms Lawrence provided to Redbubble, as her shipping address, an address in
      Sutton-in-Ashfield, England. The matted print was manufactured by a third party fulfiller
      called “Horsham Colour” in Australia. The shipping company, Australia Post, delivered the
      matted print from Horsham Colour directly to Ms Lawrence. Ms Lawrence also ordered a
      framed print bearing the artwork on 30 November 2009. The framed print was manufactured
      by a third party fulfiller called “Prodigi” in the United Kingdom. The shipping company,
      Whistl, delivered the framed print from Prodigi directly to Ms Lawrence.

61    On 22 September 2011, a user named Shannon Faherty ordered a photographic print bearing
      the artwork.   Ms Faherty provided to Redbubble, as a shipping address, an address in
      California, USA. The photographic print was manufactured by a third party fulfiller called
      “Bayphoto” in California, USA. The shipping company, USPS, delivered the photographic
      print from Bayphoto directly to Ms Faherty.

62    On 5 December 2014, Gavin Hansen ordered a poster bearing the artwork. Mr Hansen
      provided as his shipping address, an address in Currumbin, Queensland, 4223. The T-shirt was
      manufactured by a third party fulfiller called “HC Pro” in Horsham, Australia. The shipping
      company, Australia Post, delivered the poster from HC Pro directly to Mr Hansen.

63    As to Example 3, the person who uploaded the artwork to the website is a user named Becks
      Boyd, whose username on the website was “Becks Boyd”. When signing up to the Redbubble
      website, Ms Boyd provided, as her address, an address in Addlestone, United Kingdom.
      Ms Boyd uploaded the artwork to the Redbubble website on 4 August 2015 and gave it a title
      “Hells Angel”. The Redbubble Content Team moderated the artwork on 25 November 2015.
      The artwork was never reinstated. During the period that the artwork remained on the
      Redbubble website between 4 August and 25 November 2015, one user purchased a product
      bearing the artwork through the website. The user was Gavin Hansen who ordered a T-shirt
      bearing the artwork on 9 November 2015. Mr Hansen provided his shipping address as an
      address at Currumbin, Queensland, 4223. The T-shirt was manufactured by a third party




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     fulfiller called “SSI Digital Print Services” in Denver in the United States. The shipping
      companies, UPS and Australasian Mail Service, delivered the T-shirt from SSI Digital Print
      Services directly to Mr Hansen.

64    As to the fourth example, the artwork was uploaded to the website by a user named Pandora
      Kelly whose username on the site was “OriginalApparel”. When signing up to the website,
      Ms Kelly provided, as her address, an address in Winterton, United Kingdom. Ms Kelly
      uploaded the artwork to the website on 31 March 2015 and gave it a title “Hells Angels – Death
      Before Dishonour”. The Redbubble Content Team moderated the artwork on 3 April 2015.
      The artwork was never reinstated. While the artwork remained on the website between
      31 March and 3 April 2015, no person purchased a product bearing the artwork through the
      Redbubble website.

65    Mr Gavin Hansen is a trainee trade mark officer of the applicant.            His role includes
      “monitoring, predominantly online, and identifying uses of signs which might be considered
      deceptively similar to those HAMC AUS is entitled to use under the authority of the trade mark
      owner Hells Angels Motorcycle Corporation, the second respondent in the proceeding”:
      para 2, affidavit Gavin Hansen, 4 April 2017.

      Other background matters
66    The applicant contends that a proper examination of the functionality of the Redbubble website
      and the sequence of steps involved in effecting a transaction between an artist and a buyer
      renders Redbubble the seller. In other words, the applicant says that Redbubble is not simply
      providing an “internet service” to artists and buyers and nor is it merely establishing an
      electronic market. Rather, Redbubble, through the functionality of the website, takes the order,
      issues the invoice, effects payment, derives revenue as a result of the transaction, arranges for
      the order to be fulfilled and arranges for postage and delivery of the relevant article to the
      buyer. Moreover, the applicant says that throughout various parts of the process, Redbubble
      undertakes these “services” in and by reference to the Redbubble trade marks. The applicant
      says that goods bear a swing tag or other reference to Redbubble and these factors are indicia
      of Redbubble being the relevant “seller” of the goods bearing the impugned marks.

67    Redbubble contends that it is not “using” the marks as suggested and nor are the integers of
      s 120 of the Trade Marks Act made out.




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68   It also says that because the functions effected through the Redbubble website are effected by
       routines on the servers in the United States, there is no relevant conduct occurring “in
       Australia”. Redbubble also says that although s 120 of the Trade Marks Act does not contain
       the words “in Australia” (unlike s 36(1) of the Copyright Act), the entire “territorial” structure
       established by the Trade Marks Act for national registration and use of trade marks suggests
       that the Parliament did not intend the proscription of infringing conduct to apply to something
       done outside Australia (extra-territorially) even though conduct outside Australia might
       concern a trade mark registered in Australia.

69     Redbubble says that the infringing conduct must occur “in Australia”.

70     Apart from all of these issues (including the proposition that no relevant conduct occurs in
       Australia due to the location of the servers and the place of execution of commands), Redbubble
       says, so far as direct infringement or authorisation is concerned, that the website is an online
       electronic open marketplace where artists and consumers engage. Redbubble says that it does
       not determine the content of that which is uploaded; it has agreements in place with artists to
       address the importance of intellectual property rights; and it takes steps to “moderate” the site
       and remove material about which complaints are made concerning intellectual property issues
       where there seems to be a basis for concern.

71     Apart from all of these issues, Redbubble also has a cross-claim for revocation of the registered
       trade marks on the ground of non-use. I will address the content and detail of that matter as a
       separate question.

       Ownership of the copyright in the Membership Card image
72     For the purpose of addressing this issue, I accept that the image appearing on the Membership
       Card was drawn or made by a man called Sundown in or about September 1954 in San
       Francisco.

73     In relation to the question of ownership of the copyright in the Membership Card image, it
       should be noted that the applicant does not rely upon, as proof of ownership, the registration
       of the image entitled “Hells Angels Membership Card (1954)” in or with the United States
       Copyright Office bearing Registration Visual Work Number VAu001214935 or the amended
       registration.

74     The relevant matters are these.




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75   Mr Ralph “Sonny” Barger is a United States citizen born in Modesto, California in 1938. At
      the time of his declaration in these proceedings on 29 March 2017 he was residing in
      Livermore, California. He has been a member of the “Hells Angels Motorcycle Club” (the
      “Club”) continuously since 1957.

76    The Club is comprised of “a group of motorcycle enthusiasts”.

77    Mr Barger founded the Hells Angels Oakland “Charter” of the Club in 1957 (the “Oakland
      Charter”). As an officer of the Oakland Charter, Mr Barger was a member of the governing
      Board made up of “officers” of the Hells Angels Charters in California. He was a member of
      the Board of Directors of “Hells Angels, Frisco Inc”. He was a member of the Board of that
      company and also “its successor corporations”, as he puts it, “for many years”. He was a
      member of the Cave Creek Arizona Charter for many years. He is currently a member of the
      Oakland Charter.

78    Mr Barger says that he is the person most knowledgeable about the creation and evolution of
      the logos, brands and trade marks used by the various Hells Angels charters and the role of the
      relevant corporation charged with the responsibility of managing the intellectual property
      developed or created by the Charters or members of the Club.

79    Mr Barger says that the first Hells Angels Motorcycle “club” was founded in March 1948 in
      the Fontana/Bernardino, California area. One of the founders was William Charles Graves, a
      Second World War Veteran. Mr Barger says that it is a myth that the founders of that club
      were part of the 303rd Hells Angels Bomber B17 Group from WWII. He says that a First World
      War fighter squadron apparently used the name “Hells Angels”. The “Berdoo club” began
      using, as the name of the club, “Hells Angels” in its various dealings from 1948.

80    Initially, the various Hells Angels “clubs” in California were “only loosely affiliated”. In the
      1950s, the Californian clubs comprising Berdoo, Frisco “So. Cal [Southern California]” and
      Oakland, joined into one “brotherhood called the Hells Angels Motorcycle Club”; the “Club”
      as earlier mentioned and defined.

81    After the Club formed, individual clubs became Charters of the Club. Officers of what were
      now the various “Charters’ began meeting as a Board of Directors of the Club. Mr Barger
      participated in these meetings. Decisions of the Board of the Club bound the Charters. All
      Charters had to approve the admission of a new Charter. Guidelines were established about




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     how insignia could be used. “Death Head” designs began to emerge and “were always used to
      signify membership in a [Charter] and the [Club]”.

82    The first Charter outside California was established in Omaha, Nebraska. The second was
      established in Lowell, Massachusetts.

83    In 1948, the Berdoo members used a small design for its membership insignia consisting of a
      skull in profile, a helmet and two wings. It came to be called the “Original Death Head”: see
      the image at para 12 of Mr Barger’s declaration. It was used only “between and among
      members as an indicia of membership in the [Berdoo] club”.

84    In 1948, Berdoo club members began using an insignia that consisted of an “upper rocker” (a
      semi-circle of the words “Hells Angels”), the Original Death Head in the centre, and a “bottom
      rocker” (a semi-circle of the word Berdoo). This configuration was known as the “original
      patch”. It was sewn onto the back of jackets. It too was only used between and among members
      as an indication of membership in the Charter.

85    In 1953 or 1954, Mr Graves organised the formation of a San Francisco Charter called “Hells
      Angels Frisco” (the “Frisco Charter”). In 1955, the Frisco Charter restructured with 13
      members including Mr Frank Sadilek as President. Mr Barger says that at about this time, a
      modified version of the Original Death Head was created, also relatively small in size: see the
      image at para 21 of Mr Barger’s declaration. It came to be known as the Modified Original
      Death Head. It was created by a member of the Frisco Charter for use as an indicia of
      membership of the Frisco Charter.

86    Mr Gordon Grow is a United States citizen who resides in Oakland, California. He says he has
      been a member of the Hells Angels Motorcycle Club continuously since 1967. He was initially
      a member of the Frisco Charter. In 1985, he transferred to the Oakland Charter and has been
      a member of that Charter since then. He says that he was an officer of the Californian non-profit
      corporation that the Club formed to own and manage intellectual property of the Club and
      Charters. He says the company is called “Hells Angels Motorcycle Corporation” which he
      calls the “Corporation”. I will return to Mr Barger’s evidence on that topic later in these
      reasons.

87    Mr Grow says that he is the most knowledgeable person about, and familiar with, the historical
      archives and records of the San Francisco and Oakland Charters, and of the Corporation.
      Mr Grow sets out in his declaration the sources of his information.




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88   Mr Grow says that in the 1950s the “So. Cal.” Charter used a single wing, side-facing, Death
      Head. The Berdoo and Frisco Charters used a double wing Death Head as their membership
      insignia, often displayed as a patch on the back of vests or jackets with an upper and lower
      rocker as explained by Mr Barger.

89    Mr Grow says that before 1954 there was no Membership Card.

90    Mr Grow says that he personally located in the Club archives, minutes from the Frisco Charter
      meetings of members held in September 1954. Mr Grow had been told about a September
      1954 meeting by Mr Warren Gettler, a Frisco Charter member who was at the meetings.
      Mr Gettler has since died. Mr Grow refers to the minutes of the meeting of 9 September 1954.
      The minutes reflect a roll call of members present, and the guests present. The 2 September
      1954 minute notes that a group of Berdoo members would arrive “Saturday and a party would
      be held in their honour at Thornton’s Beach”. The 9 September1954 minute notes the party
      having been held. It also notes that:

             It was decided that Sundown was to receive $2.50 for artwork on our club cards – and
             that he would be allowed three clean, unvoided cards for display purposes in his
             business.

91    It seems likely that the artwork had been done by the time of the meeting on 9 September 1954.
      The members seemed to be in a position to assess the artwork and decide that Sundown ought
      to receive payment (although nominal) for it. Membership Cards may have been prepared.

92    Mr Phil Torre gave evidence. He was cross-examined as was Mr Barger.

93    Mr Torre is a United States citizen who resides in Santa Rosa, California. He was born in 1934.
      He says that he was a member of the Hells Angels Motorcycle Club continuously from 1953
      or 1954 until he left the Club to look after his mother (although he remained a member of the
      Frisco Charter). He says that the Frisco Charter was formed in 1953 or 1954. He says that
      during his time as a Club member, he has learned a great deal about the history and activities
      of the Club especially from his own personal experiences. He says that before 1954 there was
      no Membership Card for the Club. He says that members of the Frisco Charter “frequently
      hung out and had meetings at Rialto pool hall on the north east corner of 7th and Market Street,
      San Francisco, California during the years 1953 and 1954 and later”. He says that he personally
      also “hung out there”.

94    Mr Torre says: “We got to know a tattoo artist who also hung out in that pool hall who went
      by the name Sundown”. Mr Torre says that “we knew he could draw” which, no doubt, is a




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     reference to those members who had a practice of hanging out at the pool hall. Mr Torre says
      that he and other members had ideas about how they wanted the Membership Card to look.
      Mr Torre says that the Frisco Charter decided to hire Sundown to help them put their ideas
      about a Membership Card into a graphic form that “could be printed for each Charter member”.
      Mr Torre says that Sundown provided technical illustration services that would “allow the
      membership card to be reproduced for and on behalf of the Club”. Mr Torre says that Sundown
      did the work at the direction, supervision and expense of the Hells Angels Frisco which seems
      to be another reference to the Frisco Charter.

95    Mr Torre saw the “rough sketches that Sundown created”.

96    Mr Torre says that he and some members made comments. Sundown made changes to the
      rough sketches. The Frisco Charter approved the final design in the form at [17] of these
      reasons. Mr Torre says that the Frisco Charter was to own all relevant rights in the card. He
      says that Sundown was a tattoo artist whose place of business was near the Rialto pool hall
      earlier mentioned. He says that Sundown’s shop was in the same building as the pool hall
      “where many of us hung out”. He says that he recalls that Sundown’s real name was “Bob”.
      Mr Torre says this at paras 16-18 of his declaration:

             16.     Listings in Polk’s San Francisco City Directory, published in 1953, identified
                     the pool hall as “Rialto Billiards” with the address of 1138a Market Street,
                     San Francisco, CA. A page of the City Directory is attached hereto as
                     Exhibit [PT 2]. Rialto Billiards is where we met Sundown.
             17.     Sundown’s tattoo shop was located in the same building as Rialto Billiards.
                     Contained within Polk’s San Francisco City Directory 1953 attached to this
                     declaration as [PT 2], is identified “Kestner, Robt D. Tattooing” listing an
                     address of 1138 Market Street, San Francisco, California. Robert D. Kestner
                     is also listed as Robert D. Kistner, also as having an address of 1138 Market
                     Street, San Francisco, California Polk’s San Francisco City Directory 1953
                     [p 2, Ex PT2].
             18.     Based upon personal knowledge, experience, and review of Exhibit PT2,
                     Polk’s San Francisco City Directory 1953, I can confidently testify that
                     Sundown was the pseudonym for the person named “Bob”, listed as Robert D.
                     Kestner, who operated the tattoo shop in the same building as Rialto Billiards,
                     and that the Sundown whom the Hells Angels Frisco hired to do the illustration
                     for the Membership Card was named Robert Kestner or Robert Kistner.

97    Mr Torre gave evidence that when he joined the Frisco Charter in 1953 or 1954 there were
      about eight or 10 members. Generally there were weekly meetings. There was no Membership
      Card when he joined. Mr Torre ultimately did receive a Membership Card. When he gave
      evidence, he had with him a card he had received in 1961. Mr Torre was asked to agree with
      the proposition put by Redbubble’s counsel that everyone who was a member of the Frisco




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     Charter got a Membership Card in 1954. Rather than expressly embrace that proposition,
      Mr Torre said that no-one received a card until they became a member and in his case, “Frank”
      as President, signed his card. He was asked whether he could remember when he got his first
      card and he answered “55”. He seemed to say that he first joined the Club in 1954, and in 1955
      he got his card.

98    Mr Torre made the point that he was trying hard to do the best he could to recall the events.
      However, it should be remembered that Mr Torre was born in 1934 and at the time of his giving
      evidence, he was 83 years of age. Nevertheless, his recollection of some things seemed to be
      quite clear.

99    Mr Torre said that he was present at the Thornton’s Beach party when the Berdoo members
      visited in September 1954. Mr Torre was asked if he could recall whether the members might
      have received their Membership Cards at that party. He seemed to reject that proposition
      (although not directly) by again saying and making the point that “you did not get a card until
      you became a member”. Perhaps Mr Torre was thinking that some persons who were not (or
      may not have been) members may have been present at the Thornton’s Beach party or perhaps
      that “party” was not a forum for issuing the Membership Cards.

100   Mr Torre was asked whether, for those persons who were already members when the card was
      designed, they all got their cards at once. Mr Torre seemed to then say that he got his card “in
      the latter part of 54”.

101   I will return to some aspects of Mr Torre’s evidence on this topic later in these reasons.

102   Returning to Mr Barger’s evidence, Mr Barger refers to the Membership Card image (depicted
      at para 29 of his declaration in the same terms as the image at [17] of these reasons). He says
      that the card also recorded the member’s details and the member’s Charter affiliation.

103   Mr Barger says that the Club began to develop internationally in 1961 with a Charter in
      Auckland, New Zealand. In 1969, a London Charter was admitted. Other Charters in the
      United States were admitted. Today there are more than 250 Charters in Europe. At the end
      of the 1970s, Australian Charters were admitted. Against the background of growth in Charter
      admissions, the Club started to get ready to incorporate. On 6 August 1966, Club members
      voted to create a non-profit corporation. On that day, Mr Barger was elected Chairman of the
      Board of the still unincorporated association (that is, the Club).




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104  The primary purpose of the new corporation was, he says, to be to own, licence and protect the
       Club’s intellectual property.

105    Several years elapsed but on 2 September 1970, the Frisco Charter incorporated a non-profit
       corporation called “Hells Angels of San Francisco Inc.” (“HA San Francisco Inc”).

106    From then, Club members began to call HA San Francisco Inc, the “Corporation”. He says
       that members of Charters agreed that the Corporation would manage and enforce all of the
       Club’s intellectual property. He says that the Corporation began to “enforce” rights in relation
       to Hells Angels insignia, internationally.

107    In 1971 or 1972, a lawyer in Los Angeles incorporated “the Hells Angels Motorcycle Club
       Inc.” (the “1972 Corporation”) as a “for profit” corporation. That entity applied for a side-
       view Death Head image together with the words “Hells Angels” as a trade mark. Mr Barger
       gave evidence that both steps were a mistake which the Club “straightened out”. The 1972
       Corporation was dissolved and the trade mark registration was assigned to HA San Francisco
       Inc in 1975.

108    On 4 May 1973, HA San Francisco Inc changed its name to “Hells Angels Frisco Inc.”
       (“HA Frisco Inc”) and on 3 October 1981 the Club resolved to change the name again to “Hells
       Angels of the United States Inc.” (“HAUS Inc”) with Mr Barger elected as Chairman. The
       name changed again to “Hells Angels Motorcycle Club Inc.” and again to “Hells Angels
       Motorcycle Corporation” which is the current name of the Corporation. Mr Barger asserts that
       although there have been a succession of name changes, the Corporation, by its current name,
       is the entity “which owns all [Hells Angels] intellectual property”.

109    Mr Barger says that the mechanism by which that result is so, arises in the following way.

110    Around October 1981, “Club members” and “Club Charters” which had participated in creating
       Hells Angels intellectual property “agreed” that the non-profit entity then called HAUS Inc
       “would own all copyrights and trade marks and other intellectual property and all intellectual
       property of the Charters”, including the Membership Card image. Mr Barger says that “by an
       oral agreement, which was fully and legally binding on all the Charters and members at that
       time”, all of the intellectual property subject matter just described was “assigned into
       [HAUS Inc]”. Mr Barger says that the Club decided to have a non-profit corporation own all
       of the intellectual property (as earlier described) so that “no private individual or company




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     would own the Club’s intellectual property”. The company would be used and managed for
      the benefit of “Club Charters and members” and not for gain.

111   As to the ownership of the copyright subsisting (or said to subsist) in the Membership Card
      image, the position for the purposes of Australian law is clear. Notwithstanding United States
      copyright law in relation to “works for hire”, Mr Cobden SC for Redbubble and Mr Eliades for
      the applicant, agree (and conducted this issue at trial on the footing) that for the purposes of
      Australian copyright law there must be an assignment in writing vesting the ownership of the
      copyright (originating in the author, Sundown) in the entity HAMC US: s 239 of the Copyright
      Act; no such assignment is asserted or in evidence.

112   It may be that on proper analysis, the members of the San Francisco Charter on or about
      September 1954 became the beneficial owners of the copyright subsisting in the Membership
      Card image. It may also be that by force of certain oral agreements, the continuing members
      of the San Francisco Charter decided to confer whatever interest they enjoyed in Sundown’s
      work, upon HAMC US. Perhaps they hold the legal title on trust for HAMC US. However,
      HAMC US is not the owner of the legal title to the copyright in the work for the purposes of
      Australian domestic copyright law. Accordingly, the applicant’s title can rise no higher than
      that of HAMC US (putting to one side entirely the question of whether the applicant is properly
      characterised as an exclusive licensee of HAMC US in respect of any copyright that that
      corporation does own).

113   I am not satisfied that the second respondent is the owner of the copyright in the Membership
      Card image for the purposes of Australian copyright law.

      The Fuki current Death Head design
114   It seems reasonably clear from the applicant’s written submissions and certainly from the oral
      submissions that very little emphasis or weight (or analysis) has been placed upon the Fuki
      work as a source of rights said to have been infringed. However, the applicant has not
      abandoned reliance upon the Fuki work and thus it is necessary to address the topic.

115   Mr Barger says that in 1983 “as part of standardising the brand”, the Fuki Death Head design
      was created in digital form. The objective of this “standardisation process” was to “help
      eliminate natural variations in patches that resulted from them [their] being hand-made”.
      Mr Fukushima gave a declaration of 2 February 2016 in which he says that he “created the
      design described as the ‘Fuki Death Head’ or ‘Death Head (Side View)’ as a derivative work,




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     intended to up-date a pre-existing copyrighted work owned by HAMC”. He says that his work
      is “based upon and derived from the ‘Death Head’ design” in the “Hells Angels Membership
      Card [image]”.

116   Mr Fukushima identifies that work by displaying the Membership Card image at para 7.

117   Mr Fukushima then explains that from the moment of creation of his derivative work, he
      intended HAMC to have the sole and exclusive rights that might subsist in the work. He says
      that in 2015 in order to perfect HAMC’s “beneficial ownership in the Work to legal ownership
      of the Work” by vesting the legal title in HAMC, he executed a written assignment in favour
      of that corporation. However, the 2015 assignment attached an incorrect illustration of the
      Fuki Death Head. Mr Fukushima confused a very similar drawing by Mr Barger called the
      “Barger Larger Death Head”, with his drawing. The only real point of distinction between the
      two is that Mr Fukushima’s drawing has nine “feather points” on the bottom section and not
      eight. A fresh assignment was executed by Mr Fukushima on 29 March 2017 to correct the
      error.

118   There are four things to note about Mr Fukushima’s evidence and that of Mr Barger.

119   First, Mr Fukushima gives no evidence about the skill, effort or work deployed by him in
      bringing his image into existence.

120   Second, he describes it as a “derivative work”, “based upon and derived from” the Membership
      Card image.

121   Third, he says his work was simply to “update” the earlier Membership Card image.

122   Fourth, Mr Barger says that the process involved was a standardisation exercise to avoid
      natural variations in hand-made patches.

123   I am not satisfied that any copyright has been demonstrated to subsist in Mr Fukushima’s work.
      Mr Fukushima’s work is simply a derivative standardised version of the earlier Membership
      Card image. There is no independent copyright subsisting in Mr Fukushima’s work and all
      rights in that work derive from whatever rights subsist in the work from which it derives,
      namely, the Membership Card image.

124   Recognising the difficulties in demonstrating ownership of the copyright said to subsist in the
      Membership Card image (and, derivatively, the Fuki current Death Head design), the applicant
      sought to rely upon s 213 of the Copyright Act. That section provides that s 35(5) does not




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      apply in relation to works made in pursuance of an agreement made before the commencement
      of the Copyright Act (1 May 1969): s 213(2). Where a work is excluded from the operation
      of s 35(5) by s 213(2), s 35(2) has effect (rendering the author of the artistic work the owner),
      subject to ss 213(4) to 213(8): s 213(3).

125   Section 213(5) is in familiar terms and provides:

             213       Ownership of copyright
                       …
                       (5)    Where, in the case of a work being a photograph, portrait or
                              engraving:
                              (a)    a person made, for valuable consideration, an agreement with
                                     another person for the taking of the photograph, the painting
                                     or drawing of the portrait or the making of the engraving by
                                     the other person; and
                              (b)    the work was made in pursuance of the agreement;
                             the first-mentioned person is the owner of any copyright subsisting in
                             the work by virtue of Part III.
                                                                                 [emphasis added]

126   The question of whether the drawing made by Sundown in September 1954 bears the
      characteristics comprehended by the statutory language of an agreement for the painting or
      “drawing of the portrait” by Sundown is seriously open to doubt.

127   The subject matter of the drawing is a profile or side-view of a human skull (described as a
      Death Head) wearing a helmet adorned with feathers or headdress. The applicant says that the
      Membership Card image is “a portrait” and the agreement made between the Frisco Chapter
      and Sundown in 1954 was an agreement made for the “drawing of the portrait” and that the
      Frisco Chapter members are the owners of the copyright in the image.

128   The claim that the subject matter of the Sundown work is a portrait was not pleaded.

129   However, it was first raised in closing submissions.

130   The respondent says that it would have called expert evidence about the topic of whether the
      subject matter of the drawing is properly characterised as a portrait. Questions might arise
      about whether the drawing can be regarded as something in the nature of a grotesque caricature
      of “a person”.

131   I doubt very much that it can be so regarded.




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132   The drawing is a side-view of a human skull (any and every human skull) in a state best
      described as a Death Head. A “portrait” is understood as a “representation of a person or
      animal, especially of the face, made by drawing, painting or photography”: Oxford English
      Reference Dictionary, Revised 2nd Ed.

133   A particular representation of a person or animal might be an exaggeration of the features of
      that person or animal but nevertheless it would arguably remain a representation of a particular
      person (or animal). In this case, there is no particular person or animal represented by the
      image. It is an image of a skull as an anatomical feature of a human, wearing a helmet and
      adorned by particular feather points sometimes called a headdress. No doubt, expert evidence
      might have been called about this topic. I accept that the respondent may have elected to call
      evidence on this issue and was deprived of an opportunity to do so, as it contends, by the
      lateness of the point.

134   I am not willing to allow the applicant to run the point at this late stage. I have very little doubt,
      in any event, that the point has no merit but that question would have been determined upon
      proper evidence which would almost certainly have involved some expert evidence about the
      nature of a “portrait” for the purposes of the Copyright Act and whether Sundown’s work
      engages that concept.

135   If the work is to be regarded as a portrait, it would mean that the members of the Frisco Charter
      in 1954 would have become the owners of the copyright and presumably the copyright would
      have been held by the members of that Charter “for the time being”, over time. If that were so,
      the difficulty remains of demonstrating whether the ownership of the copyright in the portrait
      subsisting in the Frisco Charter members ever became vested in HAMC US.

      First publication of the Membership Card issue
136   Notwithstanding that HAMC US treats the Membership Card image as “unpublished” for the
      purposes of United States copyright law, the parties again agree that the question of whether
      the work is a published work falls to be determined according to Australian domestic copyright
      law: Enzed Holdings Ltd v Wynthea Pty Ltd (1984) 4 FCR 450 at 458, Sheppard, Morling and
      Wilcox JJ.

137   However, s 210 of the Copyright Act applies to the Sundown work as if, for the purposes of
      determining whether copyright subsisted under the Copyright Act 1911 (Imp), the work was
      first published in Australia: Reg 10, Copyright (International Protection) Regulations 1969




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     (Cth). Redbubble says that the Membership Card endorsed with the Sundown work was first
      published in 1954. Section 29(1)(a) provides that an artistic work or an edition of such a work,
      “shall be deemed to have been published if, but only if, reproductions of the work or edition
      have been supplied (whether by sale or otherwise) to the public”.

138   Sundown’s “exhibition” of the work, as an example of his work or skill, is expressly excluded
      by s 29(3) of the Act.

139   Redbubble relies upon “supply” of reproductions other than by sale, “to the public” (s 29(1)(a))
      in the period 9 September 1954 to 31 December 1954 by distribution of the card to all members
      of the Club that commissioned the work, that is Hells Angels Frisco. I accept that the
      Membership Card was established as a badge of membership of the Hells Angels Frisco Club;
      that it was endorsed with the Sundown work; that it was, over time, issued (distributed) to
      members as a badge or indicia of membership of persons accepted as “admitted” to membership
      by the relevant Chapter as like-minded persons sharing an enthusiasm for motorcycles.

140   I am not satisfied on the evidence that the Membership Card was first issued to members in the
      period 9 September 1954 to 31 December 1954. It may have been issued in that period, but it
      may not. It could easily, on the evidence, have been sometime in 1955. Some cards may have
      been given to the small number of members of the Frisco Club in that period which seem to be
      around about eight to 10 or so members when Mr Torre joined in 1954 or 1955, but it is not
      clear. I am satisfied that the Membership Card was probably (more likely than not) issued to
      members of the Frisco Club at some time in 1955. The Membership Card was relatively widely
      used by members as a badge of membership by 1957 as it was issued to each member of four
      or five Charters then in existence amounting to a distribution to at least 48 members but
      possibly as many as 75 (being the best evidence of the range of possible members of the four
      or five Charters).

141   Is the distribution of a Membership Card to each member of a club of like-minded motorcycle
      enthusiasts a supply of reproductions of the work to the public?

142   At least so far as distribution by 1957 to either 48 or possibly as many as 75 members (at the
      outer boundary of the four or five Charters is concerned), I do not accept that issuing a
      Membership Card with the Sundown image endorsed upon it is a supply of reproductions of
      the work to the public.




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143  Redbubble places great emphasis upon the observations of Dawson and Gaudron JJ in Telstra
      Corporation Limited v Australasian Performing Right Association Limited (1997) 191
      CLR 140 at 156-157 (“Telstra v APRA”); Toohey J agreeing at 158; McHugh J agreeing at 174
      and Kirby J agreeing at 202-203. Those observations go to the question of the scope of the
      concept of transmissions or distributions “to the public” and the notion of things occurring “in
      public”. The discussion by Dawson and Gaudron JJ of the concept of “to the public” and “in
      public” concerned a particular statutory setting and circumstances very different to those
      presented by the question of the character to be attributed to issuing a Membership Card to a
      relatively small number of members of a club, in this case, made up of motorcycle enthusiasts.

144   Telstra v APRA was concerned with the conduct of Telstra in the operation of its
      telecommunications network in Australia. APRA owned the copyright in the music and lyrics
      for various songs. Telstra engaged in the provision, in various ways, of music to telephone
      users placed on hold (a music-on-hold activity). APRA contended that Telstra’s music-on-hold
      activity engaged an exercise of APRA’s exclusive rights in the works, that is, to perform the
      work in public; to broadcast the work; and, to cause the work to be transmitted to subscribers
      to a diffusion service: s 31(1)(a)(iii), (iv) and (v) of the Copyright Act. The three ways Telstra
      provided music-on-hold were these.

145   First, where a person made a telephone call to a Telstra service centre and was placed on hold,
      music would be heard by the caller.

146   Second, where a person called a governmental or business organisation to which Telstra
      provided a transmission service, music-on-hold would be heard by a waiting caller.

147   Third, where a person made a call to a subscriber to Telstra’s “CustomNet” service and the
      subscriber’s line was busy, the call would be diverted to a music-on-hold facility at Telstra’s
      nearest telephone exchange.

148   Each of those three situations might arise either where the caller uses a landline (or
      “conventional telephone”) or where the caller uses a mobile telephone. It is not necessary to
      examine in these reasons the detail of the reasoning Dawson and Gaudron JJ (and those Justices
      agreeing with their Honours) on all of the issues raised by that litigation. The matters of
      relevant principle for present purposes arose in the context of whether, by providing
      music-on-hold to callers using a mobile telephone, Telstra engaged in a “broadcast” of the
      works in suit, and that question engaged whether Telstra had made a transmission by wireless




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     telegraphy “to the public”. There was no doubt that Telstra had made a transmission by
      wireless telegraphy and thus the “only issue” (Dawson and Gaudron JJ at 153) was whether
      the transmission was “to the public”.

149   In that statutory context, Dawson and Gaudron JJ examined some of the notions developed in
      the jurisprudence about the words “to the public” and the notion of a “relationship” between a
      copyright owner and “the public”. The concept of the “copyright owner’s public” (a possessive
      notion) evolved in cases concerned with a distinction between a performance of a work “in
      public” on the one hand and a private or domestic performance on the other hand. The notion
      of transmitting (or supplying in the case of s 29(1)(a)) something (a work) “to the public”
      suggests a “broader concept” than something done “in public”. Dawson and Gaudron JJ
      observed at 155 that in the case of music-on-hold which might be heard when the caller is in a
      private or domestic setting, the transmission might nevertheless be “to the public”. Dawson
      and Gaudron JJ also observed at 155 that when thinking about a transmission to a “limited class
      of persons”, the cases addressing whether a performance is “in public” recognise that “the
      relationship of the audience to the owner of the copyright is significant” [emphasis added]:
      Dawson and Gaudron JJ at 155.

150   Their Honours observe that this recognition led to the notion of the “copyright owner’s public”.
      Whether an act occurred “in public” was to be considered in relation to the owner of the
      copyright. If the audience in question might properly be regarded as “the owner’s public” or
      part of “his [or her] public”, with the result that the doing of the impugned act before that
      audience transgresses upon the audience reserved to the owner, an infringement arises:
      Jennings v Stephens [1936] Ch 469 at 485, Greene LJ.

151   The question then became, according to a line of authority, is the audience, one which the
      owner of the copyright could fairly consider a part of his [or her] public? (Dawson and
      Gaudron JJ at 156) and the cases cited by their Honours: Ernest Turner Electrical Instruments
      Ltd v Performing Right Society Ltd [1943] Ch 167 at 171, 172-173, 175-176; Performing Right
      Society Ltd v Harlequin Record Shops Ltd [1979] 1 WLR 851 at 857; Australian Performing
      Right Association Ltd v Canterbury-Bankstown League Club Ltd (1964) 81 WN Pt (1) (NSW)
      300 at 305-306; Rank Film Production Ltd v Dodds [1983] 2 NSWLR 553 at 559.

152   In Performing Right Society Ltd v Harlequin Record Shops Ltd (supra) at 857,
      Browne-Wilkinson J made this observation in the context of assessing the notion of whether




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     the owner of the copyright could fairly consider the relevant audience a “part of his [or her]
      audience”:

               [T]he authorities show that it is also important to see whether the performance is given
               to an audience for performances to which the composer would expect to receive a fee:
               this is what I understood Lord Greene M.R. to have meant by the “owner’s public” in
               Jennings v Stephens [1936] Ch 469 at 485 and Performing Right Society Ltd v Gillette
               Industries Ltd [1943] Ch 167, 173.
                                                                                    [emphasis added]

153   In the Australian case of Rank v Dodds (supra), the transmission of films to television sets in
      motel rooms (and the playing of those films by a guest in his or her room) was held (at 559) to
      “easily envisage” the notion that the motel guest, in his or her room in those circumstances,
      was “part of the copyright owner’s public”. The “critical matter” was that the movie was
      presented to the guest in his or her capacity as a guest: Rath J at 559. As to that example,
      Dawson and Gaudron JJ in Telstra v APRA at 156-157 observe that “the number of guests
      playing films in their rooms may not have been large but the motel was open to the public”.

154   Applying all of these principles, Dawson and Gaudron JJ observed in Telstra v APRA that those
      members of the public who chose to call a relevant number on their mobile phone may have
      been relatively small, but the music-on-hold facility was available “to members of the public
      generally”. Their Honours also said this at 157:

               Lying behind the concept of the copyright owner’s public is recognition of the fact that
               where a work is performed in a commercial setting, the occasion is unlikely to be
               private or domestic and the audience is more appropriately to be seen as a section of
               the public.

155   In the case of the Membership Card image, Sundown was content to be paid what seems to be
      a nominal fee of $2.50 for “our artwork on the club cards” and he was content to see the image
      used on a card signifying a person’s membership of the Club. There can be little doubt that
      Sundown did not “expect to receive a fee” from the “audience” to whom the card was given.
      The members of the Club were not in any sense, it seems to me, “a part of Sundown’s audience”
      in the sense that that term is understood in the authorities. Moreover, it seems clear enough
      that the work was made for the purpose of adorning the Club Membership card with an
      acceptable properly drawn image for the limited purpose of members holding a card affirming
      their membership of the Club. The work is not one made, performed or given in a commercial
      setting. Also, Sundown’s “commercial interest” in the work was exhausted by the payment of
      $2.50.




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156   The setting is very much in the nature of a private or domestic setting.

157   It follows that I do not accept that the Membership Card image was published by supplying
      cards bearing the image to members in 1955 or by 1957. When it was “published”, for the
      purposes of Australian copyright law, is not at all clear on the evidence. There are now a
      sufficient number of members of the various Chapters that the Membership Card is very likely
      to have been published for the purposes of Australian copyright law. Section 29(1)(a) of the
      Copyright Act, of course, is concerned with the circumstances (if, but only if) when, relevantly,
      an artistic work is “deemed” to have been published.

158   As to the question of whether the identity of Sundown was at any time between September
      1954 and 31 December 2004 “generally known”, it seems clear enough that he was generally
      known by and to Mr Torre and at least some small number of other Frisco Charter members as
      “Sundown”. The evidence does not reveal whether his identity was generally known in the
      sense of whether he was generally known to all the members of the Frisco Charter and also to
      those persons coming and going from his tattoo shop (his customers) so that, although he used
      the “name” or “pseudonym” of “Sundown”, his identity was generally known to be, Robert
      (Bob) D. Kestner (sometimes spelt Kistner).

159   However, I am satisfied that his identity could have been ascertained by reasonable inquiry in
      September 1954 or at least within a reasonable period from September 1954 (a year or two or
      perhaps over a longer period). That follows because Mr Torre and other members knew him.
      They saw the draft image he drew. They commented upon it. They “hung out” in his daily
      environs. They spoke to him. Mr Torre could so easily have said to him, at any point in these
      engagements, “Hey, Sundown, what’s your real name? We need to know”. Is there any doubt
      that he would have received an answer from “Sundown” to that question? I think not.

160   Although I have concluded that the applicant has not established that HAMC US is the owner
      of the copyright subsisting in the Membership Card image and that the Fuki current Death Head
      design is truly a derivative work, I will nevertheless examine the question of whether the
      applicant is properly characterised as an exclusive licensee of the second respondent for the
      purposes of the Copyright Act and whether (assuming copyright subsisted in HAMC US) an
      infringement of copyright arises out of the conduct of the respondent as pleaded and contended.




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     Mr Kovalev’s role
161   Mr Kovalev is the “Chief Technology Officer” for the Redbubble group of companies, that is,
      Redbubble Limited, the first respondent; Redbubble Inc. (“Redbubble USA”); Redbubble UK
      Limited (“Redbubble UK”) described as a non-operating entity incorporated in England and
      Wales; and Redbubble Europe GmbH which he describes as a non-operating entity
      incorporated in Germany.

162   These companies are the Redbubble group of companies referred to by Mr Kovalev in his
      evidence.

163   The Head Office for Redbubble Limited is located in Melbourne. Mr Kovalev gives, as his
      address, a business premises address in Collins Street, Melbourne. Mr Kovalev has been in
      continuous employment with Redbubble since 12 December 2015 as the Chief Technology
      Officer. He is a member of Redbubble’s executive leadership team and he is responsible for
      overseeing all technology matters including: the management and maintenance of Redbubble’s
      technology assets including the Redbubble website and the technology infrastructure
      supporting it; software engineering and development activities; and the management of
      Redbubble’s technology staff.      He holds a Bachelor of Science degree in Computer
      Engineering and a Master of Science in Computer Science from Georgia Institute of
      Technology. Mr Kovalev sets out in his affidavit of 28 July 2017 other aspects of his
      background skills which are not necessary to recite in these reasons.

      Martin Hosking and the business model deployed by Redbubble
164   As to the background matters concerning the “business model” deployed by Redbubble and the
      role of the various Redbubble entities, the evidence of Mr Martin Hosking should be noted
      before returning to Mr Kovalev’s evidence concerning the functionality of the Redbubble
      website.

165   Mr Hosking is the Managing Director (“MD”) and Chief Executive Officer (“CEO”) of
      Redbubble Limited. He has been the MD and CEO since June 2010. He is on the Board of
      Redbubble USA and Redbubble UK. Mr Hosking was one of the founders of the Redbubble
      business in 2006 (as a proprietary limited company) together with his co-founders, Peter Styles
      and Paul Vanzella. The business model adopted by the founders is described by Mr Hosking
      as based on the “idea of an online marketplace” where “artists and designers would be the
      primary customers”. The founders decided to “combine” their “new concept” with the




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     technology they had already developed for a “‘print-on-demand’ personalization service for
      customers who wanted to purchase a product with an image or word they had created”. The
      “online marketplace” combined with the “personalization service” technology would enable
      artists to “upload and sell their designs”: Hosking, affidavit, 28 July 2017, paras 7, 12, 16-18.

166   The Redbubble website was launched on 2 February 2007. It has operated as the “primary
      platform” for the Redbubble business model “ever since”. The domain name was acquired by
      the first respondent in 2006 as the “primary brand and domain” for the business model.
      Mr Hosking gave evidence that although Redbubble operates under the URL redbubble.com,
      there are “separate sites” for users in, for example, Germany, France and Spain. The German
      site is redbubble.de (a German language site). There is also a site redbubble.com.au. If a user
      or consumer types that site description into an internet search engine, that site will “redirect”
      the inquirer to redbubble.com: T, p 295, lns 35-47; 296, lns 1-10. Mr Hosking says that the
      Redbubble website, from the outset, enabled artists to: sell directly to customers; maintain the
      copyright in their work; regulate their own margins; and choose which products would be sold
      bearing their artworks. Mr Hosking accepts that the Redbubble business model limits the artist
      to selecting products identified by Redbubble to which the artist’s work might be applied. It
      does not enable an artist to select “any product”, use a third party manufacturer of choice and
      sell through the Redbubble website: T, p 297, lns 17-23.

167   When the business commenced, arrangements were made with only one fulfiller to discharge
      the role of a fulfiller (explained later in these reasons) under the model. Mr Hosking says that
      it quickly became clear that fulfillers in the United States would be needed. Expansion meant
      that other entities were needed. Moreover, operations could no longer be conducted solely
      from Melbourne in Australia. Redbubble USA was incorporated in 2007 as a subsidiary of
      Redbubble. Since then, Redbubble USA “has been primarily responsible for worldwide sales,
      marketing and logistics operations”. Although Redbubble UK was incorporated as a subsidiary
      to undertake that role in Europe, it has never done so. Redbubble USA performs that role in
      relation to Europe, as well.

168   In 2010, Redbubble “overhauled the look and feel” of the website. Some of the changes
      allowed users to refine searches of the site by multiple criteria including product type, colour
      and category. The layout of search results was altered. New product styles were added. The
      ability of artists to upload their works was improved along with the capacity to track sales.
      Also, artists were provided with an opportunity to market their artwork on social media.




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169  In 2009, Redbubble decided to restructure its outsourced infrastructure arrangements. From
      2006 to 2009, the Redbubble website operated on servers physically located in Australia, in
      Melbourne, at an IT facility “hosted” by a third party. In late 2009, Redbubble commenced a
      process by which all information including artists’ accounts and images uploaded by them to
      the site were “transferred electronically to different hard drives and CPUs physically located
      in the United States of America [USA]”. Mr Hosking says that this step was necessary because
      the majority of Redbubble’s website customers, both artists and end-customers, were located
      in the USA. Mr Hosking says that the location of the customers made it more “cost effective”
      to utilise servers located in the USA and it also meant that the protocols governing “Google”
      would recognise the Redbubble website as a USA site which “improved our rankings from US
      customers in search results”.

170   In mid-2012, Redbubble adopted the following logo:




171   The logo and the name “Redbubble” have been registered in Australia as trade marks by
      Redbubble Limited. The registrations are these:

        Trade Mark          Trade Mark           Priority Date       Goods Class       Services Class
         Number
          1118057            RedBubble               9 June 2006     25, 28               35, 40, 42
          1175669            Redbubble              11 May 2007        16                     35
          1529389            Redbubble          4 December 2012        16                  35, 40
          1529392            Redbubble          4 December 2012        25                  42, 35
          1529395            Redbubble          4 December 2012  9, 14, 15, 16,               35
                                                                 18, 19, 20, 21,
                                                                 24, 26, 27, 28
            1474232       The logo at [170]     13 February 2012   16, 25, 28             35, 40, 42
            1529481       The logo at [170]     4 December 2012 9, 14,15, 16, 18,             35
                                                                 19, 20, 21, 24,
                                                                 25, 26, 27, 28


172   The specification of the goods and services for which each of the following trade marks of
      Redbubble Limited is registered include these goods and services:

      (1)     Trade Mark 1118057 for the word “RedBubble”:




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         (a)   Class 25 Jackets (clothing); T-shirts; aprons (clothing) hoods (clothing) and
               other clothing;
         (b)   Class 28 Jigsaw puzzles;
         (c)   Class 35 Advertising services provided over the Internet;
         (d)   Class 40 T-shirt printing; photo printing; framing of pictures; framing of works
               of art; picture framing; photographic printing; printing; textile printing;
         (e)   Class 42 Clothing and fashion designing; clothing design services.

   (2)    Trade Mark 1474232 for the Redbubble logo:
          (a)   Class 16 Works of creative expression, namely photographs, paintings and
                printed matter;
          (b)   Class 25 Jackets (clothing); T-shirts; aprons (clothing) hoods (clothing) and
                other clothing;
          (c)   Class 28 Jigsaw puzzles;
          (d)   Class 35 The provision of business services to facilitate creative expression;
          (e)   Class 40 T-shirt printing; photo printing; framing of pictures; framing of works
                of art; picture framing; photographic printing; printing; textile printing;
          (f)   Class 42 Clothing and fashion designing; clothing design services.

   (3)    Trade Mark 1529395 for the word “Redbubble”:
          (a)   Class 9 Cases, covers and skins for mobile phones and smart phones, mobile
                phone and smart phone accessories, computer accessories, covers and
                accessories for tablet and hand-held computing devices;
          (b)   Class 14 Watches and Clocks, jewellery, metal ornaments;
          (c)   Class 15 Guitars and guitar accessories, musical keyboards and keyboard
                accessories;
          (d)   Class 16 Works of creative expression, namely greeting cards, photographs,
                paintings and printed matter; decorative stickers, sticker albums, transfers,
                bumper stickers, decals, posters, cards;
          (e)   Class 18 Travelling bags, wallets and wallet accessories, purses and purse
                accessories, handbags;
          (f)   Class 19 Floor, facing, wall, ceiling and roof tiles;
          (g)   Class 20 Soft furnishings including cushions, mirrors, pillows;
          (h)   Class 21 Drinking mugs for beverages, combs, brushes, glassware, dishes,
                drinking cups;
          (i)   Class 24 Tea towels, Towels, bed covers, textile wall covers;
          (j)   Class 26 Badges and buttons;
          (k)   Class 27 Wallpaper and wallpaper accessories;
          (l)   Class 28 Jigsaw puzzles and sporting goods, Skateboards and skateboard
                accessories, surfboards and surfboard accessories;
          (m)   Class 35 The provision of business services to facilitate creative expression.

   (4)    Trade Mark 1529481 for the Redbubble logo:




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            (a)  Class 9 Cases, covers and skins for mobile phones and smart phones, mobile
                 phone and smart phone accessories, computer accessories, covers and
                 accessories for tablet and hand-held computing devices;
            (b)  Class 14 Watches and Clocks, jewellery, metal ornaments;
            (c)  Class 15 Guitars and guitar accessories, musical keyboards and keyboard
                 accessories;
            (d)  Class 16 Works of creative expression, namely greeting cards, photographs,
                 paintings and printed matter; decorative stickers, sticker albums, transfers,
                 bumper stickers, decals, posters, cards;
            (e)  Class 18 Travelling bags, wallets and wallet accessories, purses and purse
                 accessories, handbags;
            (f)  Class 19 Floor, facing, wall, ceiling and roof tiles;
            (g)  Class 20 Soft furnishings including cushions, mirrors, pillows;
            (h)  Class 21 Drinking mugs for beverages, combs, brushes, glassware, dishes,
                 drinking cups;
            (i)  Class 24 Tea towels, Towels, bed covers, textile wall covers;
            (j)  Class 25 Footwear, sneakers, basketball sneakers, belts;
            (k)  Class 26 Badges and buttons;
            (l)  Class 27 Wallpaper and wallpaper accessories;
            (m)  Class 28 Jigsaw puzzles and sporting goods, Skateboards and skateboard
                 accessories, surfboards and surfboard accessories;
            (n)  Class 35 The provision of business services to facilitate creative expression.
173   As to these trade mark registrations, Mr Hosking accepts that Redbubble has registered its
      name and its logo in a range of goods or product categories and for a range of services. For
      example, Trade Mark 1474232 (the logo) is necessarily (by reason of the filing) asserted to be
      a trade mark used or intended to be used to distinguish goods (in this example, Class 25 jackets,
      T-shirts, aprons, clothing for sports, headbands, hoods (among other nominated goods)) and/or
      services (for example, business services to facilitate creative expression), “dealt with or
      provided” in the course of trade, by the owner of the trade mark, Redbubble, from goods and/or
      services so dealt with or provided by some other person: T, p 280, lns 1-33; s 17, Trade Marks
      Act. As the Schedule at [171] shows, the trade mark “Redbubble” (1529395 is registered in 12
      separate goods classes and the logo trade mark at [170] (1529481) is registered in 13 separate
      goods classes.

174   Redbubble says (in Confidential Document MH-1 to Mr Hosking’s affidavit) that Redbubble
      provides “a fulfilment engine which produces physical items on demand for customers”.
      Mr Hosking says that Redbubble provides the “fulfilment engine” but the products are
      produced on demand for customers by third party fulfillers, not Redbubble:             T, p 281,
      lns 11-13. Mr Hosking says that Redbubble acts as the “agent” of (“on behalf of”) the artist in




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     making the arrangements with fulfillers: T, p 281, lns 21-23. Also, Redbubble sets the
      minimum price for the product being sold which cannot be a price lower than the price arranged
      with the fulfiller otherwise Redbubble would be losing on each transaction:          T, p 281,
      lns 25-32.

175   Mr Hosking accepts that the “clothing tag” depicted below is a tag attached to a T-shirt as
      delivered, as purchased by Dr Brent Coker, as explained in Dr Coker’s affidavit of 1 August
      2017: paras 5.3.29 to 5.3.33, Dr Coker’s report; T, p 283, lns 15-36.




176   Mr Hosking was taken to a page of the Redbubble website viewed by Mr Gavin Hansen (as
      explained in Mr Hansen’s affidavit of 4 April 2017) which depicts the image (Example 1) at
      [44] of these reasons. Mr Hosking accepts that above the image, on that page, is the Redbubble
      logo and that one of the 16 “tags” is “Hells Angels” along with “Hells Angels of Virginia”
      (among others). In this example, the artist has chosen “Hells Angels of Virginia”.

177   Mr Hosking accepts that Annexure GH-2 to Mr Hansen’s affidavit is an order confirmation
      sent by Redbubble to Mr Hansen confirming the order of 1 Unisex T-shirt bearing the image.

178   Mr Hosking accepts that GH-3 is a message from Redbubble (also depicting the image) to the
      buyer (Mr Hansen), marked with “Redbubble” and the Redbubble logo, confirming that:
      “Your order has been completed and the shipping company will [be delivering] this very
      instant”.




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179  Mr Hosking accepts that GH-4 (pp 18-20) displays the same image but on this occasion
      displayed on a T-shirt which has a tag attached to the T-shirt and on the tag are the words
      “Redbubble”, as shown in GH-4: T, p 285, lns 1-13.

180   Mr Hosking accepts that GH-5 (a printout of a search result of the Redbubble website by
      Mr Hansen on 31 March 2017 which shows that his order was manufactured and shipped on
      18 November 2014), shows another reproduction of the image under the words: “Designed by
      photroen, Portsmouth, United States”: T, p 258, lns 15-16. Mr Hosking accepts that the same
      sequence of steps (where the tag is “Hells Angels”), supported by the relevant screenshots or
      printouts, had occurred concerning the image (Example 2) at [44] of these reasons.
      Mr Hosking accepts that the same position prevails concerning the image (Example 3) at [44]
      of these reasons.

181   Mr Hosking accepts that, in all these examples, at each stage of the process in the purchase of
      the article bearing the image, there is a clear marking of the communication with the Redbubble
      trade marks.

182   Redbubble listed on the Australian Securities Exchange on 16 May 2016.

183   As at the date of the trial, Redbubble had appointed 15 fulfillers to apply the work of artists to
      relevant products. The particular step processes are explained by Mr Kovalev and described
      later in these reasons.

184   Mr Hosking says that at the time of developing the new business plan in 2006, one of the
      identified “risks” was that customers (that is, “artists”) could use the Redbubble “marketplace”
      (website) to infringe copyright or upload illegal material.            I assume that Mr Hosking,
      understandably enough, had in mind a risk to which Redbubble would be exposed (which
      would need to be mitigated), rather than risks to which the copyright owners would become
      exposed by reason of the Redbubble business model. The risk to Redbubble would be mitigated
      by extracting an acknowledgement from the artists that they would not upload infringing
      material and that they would indemnify Redbubble for copyright infringement or other illegal
      activity. As to its general methodological position, Mr Hosking says this at para 55 of his
      affidavit:

              Given that the Respondent provides a service to users through the Redbubble Website
              and does not create any artistic content or manufacture any products, the Respondent
              considers itself to be a service provider. Accordingly, in 2011, the Respondent adopted
              a notice and takedown process in line with the US Digital Millennium Copyright Act




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             (DMCA).
                                                                             [emphasis added]

185   Mr Hosking accepts that search results of the website put to him contained the following
      information.

186   First, the image at Example 3 ([44] of these reasons), was uploaded on 4 August 2015. It
      resulted in one sale and 767 views. It was subject to “Proactive Moderation” on 25 November
      2015 approximately three months after the date of first uploading: T, p 290, lns 25-47;
      T, p 291, lns 1-11.

187   Second, as to Example 2 ([44] of these reasons), the work was created on 17 November 2009.
      There were total sales of four items. The number of views was 1,724. The image was taken
      down from the website on 30 December 2014, a period of just over five years later: T, p 291,
      lns 13-47, T, p 292, lns 1-17.

188   Third, as to Example 1 ([44] of these reasons), it was uploaded on 21 September 2014. There
      were two sales and 304 views. The image was “moderated” on 30 December 2014.

189   Fourth, as to Example 4 ([44] of these reasons), it was uploaded on 31 March 2015 and
      moderated on 3 April 2015. There were 11 views and no sales.

190   Fifth, all four images were tagged “Hells Angels”.

191   Mr Hosking explained that Redbubble had decided not to adopt a policy of “blocking” the use
      of certain tags such as “Hells Angels”. Mr Hosking says that there are many legitimate uses to
      which a tag can be put. He says that any word “can be used in a whole series of contexts in
      relation to creative content”. Also, electing to block a tag “would mean that nothing could be
      found through the tag”. Mr Hosking gives the example of the brand name “Trump” which, if
      blocked, would mean that nothing would be found under the tag “Trump” and therefore no
      creative image or words using “Trump” as a matter of political criticism, rather than as a trade
      mark, would be possible. Mr Hosking did not accept that there could be “no legitimate use” of
      the term “Hells Angels” so as to warrant blocking the term. In his view, there could be
      “hundreds” or “thousands” of legitimate uses (by which he means other than as a trade mark
      use or perhaps a copyright use). Mr Hosking took a similar position in relation to another
      example put to him concerning the term “Rolex”. Mr Hosking accepts, however, that there
      would also be “a lot of illegitimate uses” of such terms (the Rolex example, in particular).
      Since Mr Hosking recognised the difficulty created by the use of terms that constitute names




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     or marks that could be either legitimate or illegitimate uses in particular contexts, Mr Hosking
      was asked whether he considered that a “better process” would be to block use of a particular
      name or mark as a tag and then consider applications by artists, one by one, to use the name,
      term or mark, legitimately. Mr Hosking gave this evidence at T, p 294, lns 10-12 (openly
      rather than confidentially):

              [T]he internet is based around user-generated content. User-generated content is
              uploaded. The amount of work and images which are added to Redbubble every day
              [is significant]. We have 11 million images on the site.
                                                                                 [emphasis added]

192   Mr Hosking accepted that an image uploaded to the website has a “particular URL” and that if
      an image is moderated and made the subject of a “takedown notice”, it remains “quite possible”
      for someone to upload “exactly the same image shortly after, on a different URL”: T, p 294,
      lns 17-23.

193   Mr Hosking also accepts that the “content team” may possibly find themselves taking down
      the same offending image either from the same or different artists who upload the image.
      However, Mr Hosking says that with increasingly sophisticated tools, Redbubble is getting
      better at identifying “repeat offenders”. Mr Hosking says that Redbubble does “take down a
      great deal of content which has been identified to us which is problematic and that [content] is
      taken down proactively by us in response to the request by the brand-holders or rights holders”:
      T, p 294, lns 28-31. Nevertheless, Mr Hosking accepted that the “Angel with Angel” image
      (Example 2 at [44]) remained on the website for over five years.

194   This exchange occurred at T, p 294, lns 45-46 and T, p 295, lns 1-6:

              Mr Eliades:    You would accept, wouldn’t you that if I were an artist and I uploaded
                             an image that was copying a very-well known brand -
              Mr Hosking:    Yes
              Mr Eliades:    - and I sought to apply it to quite a number of products, including
                             phone case covers and pillows and artwork, but the owner or the rights
                             owners or the rights holders were not aware of that image on the
                             Redbubble website, you would accept that that image could stay on
                             the website indefinitely until the rights holders made a complaint?
              Mr Hosking:    That’s right. Until we were aware of the trademark or the copyright
                             which – we can’t know what the complaint is until a complaint is
                             made.
                                                                                 [emphasis added]




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195  Mr Hosking says that the focus for Redbubble was, at the outset, and remains, best expressed
      in the “mantra”: “We stand for artists”. In 2014, in furtherance of its support for artists and
      designers, it established the “Redbubble Residency Program” by which a select group of artists
      take up residence in the Melbourne office for six months (and more recently in the San
      Francisco office) to work on their designs.

196   As to the evidence of Mr Hosking, I generally accept his evidence subject to the observations
      made later in these reasons from [405] as to whether the proper characterisation of the business
      model deployed through the functionality of the Redbubble website, having regard to all of the
      transactional features of the website and Redbubble’s engagement in those features, is simply
      one of facilitating an online marketplace in which Redbubble provides personalisation services
      to artists in the way he describes. The applicant contends that when account is taken of all of
      the things Redbubble does through the website, it is acting as a seller of goods bearing the
      relevant artworks or images. Subject to conclusions about those matters, I accept his evidence.

197   It is now necessary to examine how the business model is deployed through the particular
      functionality of the website.

      The functionality of the Redbubble website and Mr Kovalev’s evidence about that topic
198   Mr Kovalev explains that the domain name redbubble.com is registered in the name of the first
      respondent. Mr Kovalev accepts that redbubble.com is an “asset” of the first respondent:
      T, p 214, lns 16-33.

199   Mr Kovalev says that the day-to-day management of the Redbubble website (including aspects
      of its design and updates) is carried out by Redbubble USA which is based in San Francisco.
      Redbubble USA is also responsible for marketing activities and the management of “third party
      fulfillers” and “shippers”.

200   Mr Kovalev says that the Redbubble website is “a global online marketplace facilitating
      transactions between independent artists and customers looking for distinctive products”. He
      says that independent artists are individuals who produce art and designs on their own and not
      as part of any organisation. He says that the aim of the Redbubble website is to provide “a
      forum where “independent artists” can upload their creative works and offer them for sale on
      a wide variety of products”. He explains that when a customer places an order through the
      website, a product is then produced on demand by one of a network of third party fulfillers.
      Mr Kovalev then explains a sequence of activities. These activities are said to take place from




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     the “Redbubble group’s side of the transactions, in a completely automated fashion with no, or
      virtually no, human intervention on the part of the Redbubble group”.

201   The activities are these.

202   The signing up of artists (and where applicable, customers); the indexing of artworks; receipt
      of orders; facilitation of transactions; communications with suppliers relating to transactions;
      and all despatch and billing, is controlled by the Redbubble group’s software system.
      Mr Kovalev says that all of these activities are, for the most part, “completely automated”,
      “with very little human intervention”: T, p 207, lns 23-32. These software systems are
      described as a suite of various “bespoke applications written by Redbubble group staff and
      contractors”.

203   These applications are executed on servers located in the United States of America.

204   The suite of programs making up the applications which execute on these servers in the United
      States are described by Mr Kovalev as the “Redbubble Software”.             That term means:
      applications described as Imagehaus and Magickraum which perform the imaging functions
      described in Mr Kovalev’s evidence mentioned later in these reasons; and software called
      Redbubble which is an application used for the signing up of artists; indexing artworks and
      searching for titles and tags in relation to those artworks; receipting orders from customers;
      facilitating transactions; and facilitating communications with suppliers. Mr Kovalev gives
      evidence, mentioned later in these reasons, about all of those matters concerning the Redbubble
      application.

205   As to the way in which an artist might engage with the Redbubble website, Mr Kovalev gives
      the following evidence.

      Artists
206   Third parties who wish to offer their artwork for sale on the Redbubble website must first “sign
      up for an account”. The process for signing up for an account requires artists engaging with
      the website to click the “Get Started Now for Free” button on the “selling page” of the website.
      The artist then enters an “account name” which will feature at the end of the Uniform Resource
      Locator (“URL”) [www].redbubble.com/people/[account name], together with the artist’s
      email address and a password. The artist then is required to click the button “Sign Up Now!”
      Immediately above that button is a disclaimer statement that reads “By clicking Sign Up Now,




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     you agree to our User Agreement”. I will return to aspects of the Redbubble User Agreement
      later in these reasons.

207   Mr Kovalev says that artists engaging with the Redbubble website may be located anywhere
      in the world.

208   Only once an artist has created an account on the site and accepted the terms of the Redbubble
      User Agreement, is the artist able to upload an artwork to the site through the enabling
      functionality of the site. As to uploading an artwork, an artist must click the “Add New Work”
      button located at the bottom right-hand corner of the “account landing page”. The artist must
      then click the “UPLOAD TO ALL PRODUCTS” button on the “upload page”. The artist must
      then “browse their computer through the pop-up window on the Redbubble Website and select
      a high resolution image for the upload”. Mr Kovalev says that the pop-up window is presented
      to the artist after the artist has pressed the “upload to all products” button: T, p 209, lns 1-3.
      Having pressed that button and having engaged the pop-up window, the words “open” appear.
      The pop-up window, in Mr Kovalev’s example in evidence, is generated by the user’s browser
      (internet explorer) which presents the “open” button. Once the user clicks “open”, that step
      commences the process for uploading an image. However, Mr Kovalev accepts that “you only
      get to that point of the browser by going through the Redbubble [website] pages [as described
      earlier]”: T, p 209, lns 15-28.

209   The website enables artists to upload images to the site in a number of different ways depending
      upon the device they are using. Artists can upload images from a computer, laptop, tablet or
      smart phone.

210   Mr Kovalev says that even though an artist may be located in Australia, the images selected by
      the artist for uploading to the site “may be stored outside of Australia, for example on a cloud
      storage service”. When the artist clicks “open” and takes the step to upload the artwork, the
      image is uploaded to one of Redbubble’s servers. Mr Kovalev says that “cloud services” allow
      artists to store data in third party data centres that may be located far from the artist. As to the
      term “cloud computing”, Mr Kovalev attaches 20 pages drawn from a Wikipedia entry for
      “cloud computing” which he says explains the elements of that term. Thus, Mr Kovalev
      embraces the Wikipedia description of the elements of that term.

211   In simple terms, cloud computing is a shorthand description for a sequence of links between
      computers, networks of computers and servers which enable storage and access to data. Every




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      device so linked has a unique number which identifies the device, computer, server etc. It is
       sufficient to simply quote this section of the Wikipedia entry embraced by Mr Kovalev:

               Cloud computing is a new form of Internet-based computing that provides shared
               computer processing resources and data to computers and other devices on demand. It
               is a model for enabling ubiquitous, on-demand access to a shared pool of configurable
               computing resources (e.g., computer networks, servers, storage, applications and
               services), which can be rapidly provisioned and released with minimal management
               effort. Basically, Cloud computing allows the users and enterprises with various
               capabilities to store and process their data in either privately owned cloud, or on a
               third-party server in order to make data accessing mechanisms much more easy and
               reliable. Data centres … may be located far from the user – ranging in distance from
               access to a city to across the world. Cloud computing relies on sharing of resources to
               achieve coherence and economy of scale, similar to a utility (like the electricity grid)
               over an electricity network.

212    Mr Kovalev gives an example of cloud computing in these terms:

               Example: A Sydney-based artist could upload an image of their artwork from their
               Cloud service. The image is stored by the Cloud service on a server located in
               California.

213    Mr Kovalev says that Redbubble USA does not have “any visibility over where images
       uploaded by Artists have been sourced from”. By this I assume that Mr Kovalev means that
       staff of Redbubble USA do not know the source of an image uploaded by a user, wherever that
       user may be located in the world.

214    Mr Kovalev says that images uploaded to the Redbubble website by artists in the way he
       describes are automatically saved to a server operated by “Amazon Web Services” called the
       “S3 Service”. The server, so operated, is located physically in North Virginia in the United
       States of America (the “AWS Server”).

       AWS Server
215    Mr Kovalev explains that the “Redbubble Software” (Mr Kovalev’s term as earlier mentioned)
       consisting of the suite of programs executing on servers located in the US, causes copies of the
       original image stored on the AWS Server to be “displayed” on the Redbubble website in
       “different sizes”. Mr Kovalev says that the “original image” uploaded by the artist according
       to the process earlier explained is “never displayed on the Redbubble website”. The Redbubble
       Software used to create a copy of an image is source code written by employees of the
       respondent Redbubble and is “executed” on servers located in the United States. Mr Kovalev
       accepts that before an artist’s “original image” is automatically saved to the AWS Server, the
       “process [of uploading] requires the artist to interact with the features of the Redbubble website
       [that is], with the buttons on the Redbubble website”: T, p 210, lns 1-5.




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216  Mr Kovalev accepts that if an artist engages with the Redbubble website (redbubble.com) so
      as to upload a work, the artist will be confronted with buttons to click (or not) located on the
      Redbubble website and unless the artist goes through that process (of responding to those
      buttons), the artist “cannot get [his or her] artwork displayed on the Redbubble website”:
      T, p 210, lns 38-46; T, p 211, lns 1-2.

      Further steps by artists
217   Mr Kovalev says that at any time after an artist has uploaded his or her artwork or image, the
      artist is able to select which products he or she would like to offer to consumers for sale and
      purchase as products to which the artwork or image might be applied, by selecting possible
      products from a list of available products as determined by Redbubble. The artist makes a
      selection by “enabling” or “disabling” products from the list of available products. An artist
      can also edit the way in which an artwork is applied to each product by, for example, altering
      the orientation of the image or selecting a background colour for the image. If an artist does
      not specify any products to which their artwork might be applied for sale, users will not be able
      to purchase a product bearing that artwork and the artwork will not “show up” in response to
      searches of the Redbubble website by consumer users. Mr Kovalev says that the sale of any
      artwork applied to any particular product is entirely at the discretion of the artist.

218   Once an artist has uploaded an artwork to the site, the artist may also select a title for the
      artwork; write a description of the artwork; select one or more “tags” for the artwork; and select
      the relevant “media category” (or categories) which accurately describes their work. The
      categories are photography; design and illustration; painting and mixed media; drawing; and
      digital art. The artist may also select a “default view” of the artwork which can either be the
      artwork alone or an image of the artwork as applied to any one of the available products (as an
      illustration); decide if the artwork is available to be viewed by the public; and specify whether
      the artwork contains any “mature content”.

219   As to the selection of one or more “tags”, tags are key words to which searches of the
      Redbubble website will respond. For example, if the artwork is an image of an “ocean pool”,
      the artist might create tags for that work consisting of “ocean”, “pool” and “water”.

220   Once the artist has uploaded their artwork and worked through all of the things described at
      [215] to [219] of these reasons, the artist can make the artwork available for sale by clicking
      the button “Save Changes” on the “artwork landing page” and by entering their payment
      details. Immediately above that button is a disclaimer in these terms:




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              When a product is sold through the website the sale is between you and the customer
              – Redbubble acts as your agent in this process. In order to act as your agent, we need
              your explicit permission.
                                                                                  [emphasis added]

221   Just below the disclaimer, there is a “check box” next to the words: “Yes and I agree to the
      Redbubble User Agreement”. The words “User Agreement” are hyperlinked to a full text copy
      of the User Agreement. Artists must agree to the Redbubble User Agreement before they can
      complete their profile. They cannot deselect the check box.

222   If an artist experiences technical difficulty in uploading an artwork to the Redbubble website,
      they can find solutions on the “Common Uploader Problems” page found in the “Help Centre”
      of the website. If problems persist other steps are suggested on the website. Alternatively, an
      artist can contact Redbubble’s “Artist Experience team” by taking steps through the website
      by clicking particular prompts and buttons. The Artist Experience team established by
      Redbubble consists of four people located in the San Francisco office and one person in the
      Melbourne office. In engaging with an artist in addressing any such problems the Artist
      Experience team seeks an explanation from the artist of the problem; asks for details about the
      web browser used by the artist when uploading and details of firewalls; details of the artist’s
      ISP; the method of connection; the country from which the artist is seeking to upload the
      artwork; and the artist’s internet protocol address (“IP address”).

223   In all of these things, Redbubble’s team seeks to help and facilitate the successful uploading of
      the work to the site.

      The terms
224   As to the terms upon which artists make their work available for sale, Mr Kovalev says this.

225   The retail price charged to customers for the physical product featuring an artwork uploaded
      by an artist is made up of a Fulfiller Fee; a Redbubble Fee; a Creator Margin; and any relevant
      sales tax. The Fulfiller Fee and the Redbubble Fee are referred to in this methodology as the
      Base Amount. These terms are central to the pricing methodology about which Mr Kovalev
      gave evidence. The Creator Margin is the artist’s selected margin being a percentage mark-up
      of the Base Amount. The website contains a default Creator Margin of 20% but artists can
      choose any percentage mark-up of the Base Amount in the range 0% to 100%.

226   As to the Base Amount for each product type on the website, it is made up of the Redbubble
      Fee and the Fulfiller Fee. Mr Kovalev says that the Redbubble Fee is a service fee that




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      Redbubble charges for “hosting” the marketplace and “facilitating the transaction” between the
       artist and the buyer of the product bearing the work. The phrase “facilitating the transaction”
       includes putting orders through to fulfillers (and Mr Kovalev accepts that artists do not organise
       the fulfillers): T, p 215, lns 27-33. The Redbubble Fee includes the cost of delivery to the
       customer’s nominated address: T, 215, lns 45-47. As to the relationship between the artist and
       Redbubble, Mr Kovalev does not agree that the artist provides the artwork and Redbubble
       provides the products and services although he does accept that the artist certainly provides the
       artwork and then the fulfiller manufacturers the product, and that is the product sold to the
       customer: T, p 216, lns 7-25. The Fulfiller Fee is the “manufacturing fee” charged by the
       relevant third party fulfiller whose job is to apply the artwork to the relevant product. The
       retail price charged to a customer is the Base Amount made up, as described, plus the Creator
       Margin selected by the consumer.

       Consumers as users and customers
227    Mr Kovalev gives the following evidence concerning the mechanisms by which a consumer
       might become a customer of a product bearing an artist’s artwork, through the website.

228    Customers can purchase products through the Redbubble website with or without creating an
       account. If a customer wishes to create an account, he or she can do so by clicking the “Sign
       Up For Free” button and then signing up for an account much in the same manner as artists do
       as earlier described. When a customer signs up, the customer must also agree to the Redbubble
       User Agreement.

229    When a customer performs a search on the Redbubble website, the Redbubble Software will
       “trawl the Redbubble Website for tags and titles that match the search terms”. The Redbubble
       Software creates an “inverted index” which Mr Kovalev explains as operating in this way:
       “instead of storing information as ‘artwork [that] has these keywords’, it stores information as
       ‘keyword matches [to] these artworks’”. The inverted index enables “fast lookups”. The
       “keywords” are generated from the “tags” and “titles” chosen by the artists. The description
       an artist provides when uploading their artwork is not used to generate results in response to
       keyword searches. Mr Kovalev says that Redbubble does not select or generate any of its own
       keywords. The Redbubble Software will only match tags or titles containing the exact word
       or words which are used in the search term entered by a customer. Mr Kovalev gives this
       example:

               Example: A customer searches the tag “elephant”. The software will return results




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              for all artworks that have the tag “elephant”, or contain the word “elephant” in their
              title.

230   As the Redbubble Software matches tags or titles as determined by the customer, results are
      displayed in order of relevance to the search terms used. The Redbubble Software determines
      the “Most Relevant” works by producing a sorted list of artworks which matches the search
      terms. The sorted list is then “re-ranked” based on “business metrics” such as “sales, homepage
      feature and product compatibility”. For example, if a user performs a search for “elephant
      T-shirts”, the software will only display works if they are available for application to a T-shirt.
      Mr Kovalev illustrates this general principle of re-ranking in this way:

              Example: If two items in the initial list of results have the same score in terms of their
              match with the search term, but the second ranked item has had more sales than the
              first ranked item, the items will be re-ranked, and the second ranked item will move to
              first position in the results set.

231   Mr Kovalev says that customers also have the option of sorting the results by “Top Selling”
      which will rank the products in order of the most recent sales, or sorting by “Recent” which
      will rank the artworks in descending order based on the date of upload by the artist. The
      Redbubble Software can also generate “related searches” that might be relevant to the customer
      on the basis of the keyword they have selected in their search. For example, if a user enters
      the keyword “bulldog” in a search, the Redbubble Software will return all artworks where an
      artist has used the word “bulldog” in the title or as a tag, but also identify other tags used by
      other artists who have chosen the word “bulldog” as a tag for their artwork and list the most
      commonly used other keywords in order of frequency as a related search. Mr Kovalev gives
      the following example:

              High quality Bulldog inspired T-Shirts, Posters, Mugs and more by independent artists
              as designers from around the world.
              Related searches: French Bulldog, Pet, Puppy, Cute, Animal, Dogs, Frenchie, Funny,
              French, Pets, and Love Gifts & Merchandise.
              All orders are custom made and most ship worldwide within 24 hours.
              Search results and related search terms are automatically generated from information
              provided by users.

      Placing an order
232   As to placing an order through the Redbubble website, Mr Kovalev says this.

233   If a customer wants to purchase a product featuring an artwork uploaded by an artist, the
      customer must: select an artwork/product featuring an artwork from the search results page;




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      select the size and/or type of the product and click “Add To Cart”; click “View Cart” and
      confirm the quantity of the product; select their “Shipping Option” and then click “Checkout”;
      choose to pay by PayPal or credit card; enter the shipping address and PayPal or credit card
      details; and then click “Pay”. Immediately above the “Pay” button is a disclaimer that reads:

              By clicking pay, I agree to Redbubble’s User Agreement.

234   The words “User Agreement” are hyperlinked to a full copy of the User Agreement.

235   Upon clicking “Pay”, the customer will be redirected to a confirmation page setting out the
      details of the customer’s order, including an estimated delivery date. Shortly after clicking
      “Pay”, the customer will receive a confirmation email from [aboutmyorder@redbubble.com],
      setting out the details of the order and providing an order tracking number. Mr Kovalev says
      that this is an automatically generated email sent from the AWS Server to the customer via a
      third party email service called Sendgrid. Just as in the case of the artists, buyers must interact
      with features of the Redbubble website before their order is processed (T, p 211, lns 20-23)
      ultimately clicking the “Pay” button feature on the Redbubble website to go through the process
      of buying the product to which the artwork is applied: T, p 211, lns 32-45.

      Fulfilling an order
236   Mr Kovalev says that the mechanism by which a customer’s order is fulfilled, is this.

237   Customer payments are processed by third party payment processors on servers that are not
      owned or otherwise used by the Redbubble group. Upon confirmation of a customer payment,
      a job is created on the AWS Server which generates what Mr Kovalev calls the “digital assets”
      required to fulfil the customer’s order. The digital assets include the customer’s address; the
      order number; the product type and style; the quantity ordered; the shipping method; and a
      “content file” containing “a copy of the image file for the artwork uploaded by the Artist, or a
      URL link to that file”. Mr Kovalev says that the Redbubble Software sends “a special URL”
      to third party fulfillers which the fulfiller uses to download the “digital assets”. For a small
      number of fulfillers, the digital asset files are sent by the Redbubble Software to the fulfillers
      “FTP server”. The term “FTP” stands for “File Transfer Protocol” which is a standard network
      protocol used for the transfer of computer files from a server to a client.

238   No company within the Redbubble group manufactures, warehouses, despatches, receives or
      distributes any physical products ordered using the process just described. Third party fulfillers
      receive orders placed by customers through the Redbubble website. They are responsible for




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      the production and delivery of products to customers. The customer’s address might be
      anywhere in the world. There are, presently, 15 third party fulfillers filling orders placed
      through the Redbubble website and those fulfillers are located in: the United States of America;
      United Kingdom; Australia; Belgium; Hong Kong; and the Netherlands.

239   When a third party fulfiller is notified of a new order, the third party fulfiller will proceed to
      manufacture the ordered product. This involves printing the relevant artwork onto the product
      or otherwise producing or manufacturing the product. The third party fulfiller is automatically
      chosen by the Redbubble Software based on the product type and the customer’s nominated
      delivery address. Once the product has been manufactured, the software used by the third party
      fulfiller will send an “API request” to the Redbubble Software when the order is ready for
      shipment. The term “API” stands for “Application Programming Interface” and is a set of
      “protocols and tools for building software and applications”. An API request is a request to a
      “resource” on a server which is “exposed via an API”. Mr Kovalev gives this example:

              Example: When an individual downloads an application to their smart phone, enters
              their registration details on the application and presses “Register”, this is usually
              executed via an API request.

240   When the Redbubble Software receives the API request, it will automatically generate an email
      containing order details as well as the shipping details. This email is then sent to the customer
      via Sendgrid. Once the customer receives the final product, the transaction is then regarded as
      “concluded”.

241   The process of fulfilling an order commences on the Redbubble website by the customer
      completing a purchase by clicking the “Pay” button on the website. When that button is
      clicked, either an image of the artist’s work is sent to the fulfiller or a link to the image, stored
      on the AWS Server, is sent to the fulfiller enabling access to the image: T, p 212, lns 13-23.
      The mechanism is put this way by Mr Kovalev: software running on the Redbubble server,
      that is, on the AWS Server, causes the image or a link to the image to be sent to the fulfiller
      and that result is brought about by software commands executing on the Redbubble website
      which tell the software executing on the AWS Server to now send an image or a link: T, p 212,
      lns 25-37. He says that clicking the button “Pay” activates “the rest of the chain”: T, p 217,
      lns 6-7. As to the process or mechanism by which an artist’s original image is automatically
      stored on the AWS Server, Mr Kovalev says that software operating on the Redbubble website
      (upon the relevant commands or clicks) “initiates a process” of engaging with software on the
      AWS Server so as to save, automatically, the images to the AWS Server. A “copy” of the




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     original image is displayed on the website: T, p 217, lns 23-45. That copy is made possible
      by the Redbubble software executed on servers in the United States: T, p 218, lns 9, 20-36.
      However, Mr Kovalev also says that the image (which is a copy of the original image),
      displayed on the Redbubble website, is “stored” on a “back end server” for the website “as is
      the case with any image on a website”, and storage on that “back end server” is part of the
      Amazon Web Services provided in the United States: T, p 220, lns 21-33.

      Redbubble’s relationship with fulfillers
242   As to the relationship between Redbubble and the third party fulfillers, Mr Kovalev says this.

243   Third party fulfillers issue invoices to Redbubble USA on a monthly basis. Those invoices
      relate to the entire month’s volume of products manufactured by that fulfiller. The Fulfiller
      Fee charged by third party fulfillers varies depending upon the types of products provided. The
      Fulfiller Fee is comprised of: a product cost (which is described as a “blank” product cost of
      the relevant item pre-printing); printing costs; fulfilment costs (including packaging); and the
      margin set by the third party fulfiller. Redbubble USA arranges for “tags, stickers and other
      promotional material” to be provided to third party fulfillers to “deliver with shipments to
      customers”. Mr Kovalev describes these tags, stickers and other promotional material as the
      “packaging materials”. Mr Kovalev says that Redbubble USA does not manufacture the
      packaging materials or deliver the packaging materials to third party fulfillers. The packaging
      materials are manufactured by packaging companies in China and the United States of America
      and are delivered directly by those manufacturers to the third party fulfillers in large batches.
      Nevertheless, these “packaging materials” are attached to the products as an essential element
      of the business model, at the direction of Redbubble. The packaging materials, typically, are
      those illustrated at Annexure VK-22 of Mr Kovalev’s affidavit of 28 July 2017 and they are
      set out below.




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      Confidential statistics
244   Mr Kovalev also gives evidence of statistics as at 26 July 2017 relating to the number of
      artworks displayed on the Redbubble website; the number of artists who have accounts on the
      Redbubble website; the approximate number of new artworks uploaded each day; the
      approximate number of orders placed by customers each day; the approximate number of new
      artists who sign up to the Redbubble website each day; and the number of sales made to date
      by the top selling artist. All of this information is described as confidential. Accordingly, the
      relevant statistics are set out in a redacted schedule to these reasons. It is not necessary to




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      publish an un-redacted version of the Schedule to the parties because they already have the
       information available to them.

       The Redbubble User Agreement
245    It now necessary to note the following provisions from the User Agreement.

              Introduction
              …
              To make this online destination for creativity available, it is essential all Redbubble
              users respect the intellectual property rights of others, including copyright and
              trademarks. You must only upload content you have created yourself and have
              permission to use and authorize others to use. If you are a customer or browser, please
              respect the copyright and trademarks of all the works you see or buy on Redbubble.
              Respecting other people’s intellectual property is an essential principle of Redbubble’s
              community.
              …
              Our service
              Redbubble provides a range of services (the “Redbubble service”) which, amongst
              other things, enable you to publish, sell, discuss and purchase art; interact with other
              members; and receive the benefits of Redbubble’s facilitation of product fulfilment,
              including payment processing, customer services, third party product manufacturing.
              In addition, Redbubble will arrange for the deliver[y] of the physical product to your
              customer. …
              Any [artist’s] content that you upload into the portfolio section of your account is
              described as your “art”. Your art may be viewed by all users of the website once you
              elect to publish it. You may order a physical product based on your own art or you
              may offer your art for sale as part of the sale of a physical product. If you or a customer
              decide to place an order, then Redbubble will forward your instructions to third parties
              who will manufacture and ship the physical product in the form specified by you or
              the customer (“the product”).
              Members
              You can become a registered member (“member”) of the website by setting up a
              password protected account. You will be required to select a username and password
              when registering to become a member. You must become a member before placing
              any content on the website, including writing any comments in forums or reviews. In
              its sole discretion, Redbubble may refuse any username that it decides is inappropriate
              and/or refuse any person from becoming a member.
              Putting content on the Redbubble site
              You keep the copyright in any content you submit or upload to the website. In order
              to receive the Redbubble services you grant Redbubble a non-exclusive royalty free
              licence to use and archive the content in accordance with or as reasonably
              contemplated by this agreement.
              When you submit or upload content on the website you represent and warrant that:
                     you own all copyright in the content, or if you are not the owner, that you have




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              permission to use the content, and that you have all of the rights required to
              display, reproduce and sell the content;
             the content you upload will not infringe the intellectual property rights or other
              rights of any person or entity, including copyright, moral rights, trade mark,
              patent or rights of privacy or publicity;
             your use of the website will comply with all applicable law, rules and
              regulations;
             the content does not contain material that defames or vilifies any person,
              people, races, religion or religious group and is not obscene, or pornographic,
              indecent, harassing, threatening, harmful, invasive of privacy or publicity
              rights, abusive, inflammatory or otherwise objectionable;
             the content does not include malicious code, including but not limited to
              viruses, trojan horses [and a range of synonyms for those things], or other
              computer programming routines that may damage [and other synonyms] any
              system, program, data or personal information; and
             the content is not misleading and deceptive and does not offer or disseminate
              fraudulent goods, services, schemes or promotions.
      Redbubble reserves the right to review and if in its sole discretion deemed necessary,
      remove any content from the website and/or cancel your account, because that content
      breaches your agreement with us and/or any applicable laws or otherwise. You agree
      to indemnify Redbubble in respect of any direct or indirect damage caused due to your
      breach of one or more of these warranties.
      Offering your art for sale on a physical product
      Any member may offer their art for sale on a physical product on the website by
      appointing Redbubble to facilitate the transaction on the terms set out in the Services
      Agreement in Appendix A. By agreeing to the terms of this user agreement you
      expressly agree to the terms of the Services Agreement in Appendix A, which will
      apply from the date on which you offer your first art for sale on a physical product and
      your continued use of the website will constitute ongoing agreement to the terms
      therein as updated from time to time.
      Intellectual Property Rights and license
      By submitting listings to Redbubble, you grant Redbubble a non-exclusive, worldwide,
      royalty free, sublicense able and transferable license to use, reproduce, distribute,
      prepare derivative works of and display the content of such listings in connection with
      Redbubble’s (and its successors’ and affiliates’) services and business in facilitating
      the sale of your product, including without limitation for promoting and redistributing
      part or all of the Redbubble site (and derivative works thereof) in any media formats
      through any media channels. You also hereby grant each user of the Redbubble site a
      non-exclusive license to access your content through the site, and to use, reproduce,
      distribute, and display such content as permitted through the functionality of the site
      and under this User Agreement. The above licenses terminate within a commercially
      reasonable time after you remove or delete your listings from the Redbubble site.
      …
      Indemnity
      You agree to indemnify, defend and hold us, our officers, directors, employees, agents




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               and representatives harmless, as well as, all third parties [undertaking all fulfilling
               activities] … harmless, from and against any and all claims, damages, losses, liabilities
               … or other expenses that arise directly or indirectly out of or from: your breach of any
               clause of this agreement; any allegation that any materials that you submit to us or
               transmit to the website infringe or otherwise violate the copyright, trademark, trade
               secret or other intellectual property or other rights of any third party; and/or your
               activities in connection with the website.
                                                                                     [emphasis added]

  246   Appendix A to the Services Agreement contains these provisions which should be noted:

               You wish to use Redbubble’s services to facilitate marketing and sale of your art on a
               physical product and to arrange for manufacture of the physical product (your product)
               once an order has been made through [.redbubble.com] (“the website”). Redbubble
               will provide these services on the terms set out in this Services Agreement.
               Additionally, Redbubble will provide for delivery of such products to the customer.
               1.      Services
               1.1     Redbubble, acting as independent contractor under your instructions will
                       market to and obtain orders from customers for the purchase of your products
                       over the website and on instruction from you, Redbubble will arrange for third
                       parties to fulfil those orders by facilitating payment for and manufacture of
                       your products (“Services”). Redbubble will then arrange for the delivery of
                       your products as per the customer’s instructions.
                       …
               2.      License and standing instructions
               2.1     You grant Redbubble a non-exclusive royalty free license to use your
                       intellectual property relating to your products for the purpose of enabling us
                       to carry out the Services.
               2.2     You hereby instruct Redbubble to facilitate the sale of your product which
                       includes payment, processing and arranging for manufacturing your
                       product(s) in respect of the orders placed by the customers via the website and
                       Redbubble will facilitate such payment, and manufacturing in accordance with
                       reasonable business practices unless you otherwise instruct prior to the
                       placement of that order by a customer.
                       …
               3.      Sale of your products
               3.1     The retail price charged to customers who purchase your product is made up
                       of the manufacturing fee charged by the third party manufacturer, Redbubble’s
                       fee for hosting the marketplace and facilitating the transaction (the
                       manufacturing fee and Redbubble’s fee are referred to collectively and
                       inclusive of tax, as the “base amount”), your creator margin (“your margin”),
                       and any relevant sales tax (such as Sales Tax, GST, VAT, etc) that Redbubble
                       and/or you (as the case may be) are liable to account for to the appropriate tax
                       authorities. Shipping charges will also be added to the retail price. When
                       making each individual work available for sale you are able to select any
                       percentage markup you wish, greater than or equal to zero, above the base
                       amount but below the automated upper limit set by Redbubble (subject to
                       change from time to time). The percentage markup selected by you on the




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                     website for each of your products is used to calculate the dollar value of your
                     margin for each sale.
             6.      Indemnity
             6.1     You hereby indemnify and will Redbubble indemnified from and against all
                     claims [synonyms] … of any nature whatsoever … arising from … any breach
                     or non-performance of your obligations under this Services Agreement or
                     arising out of your wilful act, neglect or default in the performance of such
                     obligations.
                                                                                  [emphasis added]

247   As to Mr Kovalev’s evidence, I generally accept his evidence concerning the functionality of
      the Redbubble website again subject to the observations later in these reasons from [405]
      concerning the proper characterisation of Redbubble’s engaged role in the transactional
      features of the activities enabled by and through the website.

      James Toy and the moderation protocols
248   Mr James Toy is the Assistant General Counsel for the Redbubble group of companies. He is
      employed by Redbubble Inc. and works in the San Francisco office of Redbubble. He is
      involved in intellectual property issues and other legal matters concerning the Redbubble group
      of companies (which he calls “Redbubble”).            He advises on the elements of the User
      Agreement. He advises on the content of the Redbubble “IP/Publicity Rights Policy” (the
      “IP Policy”) adopted by Redbubble on its website. He works with and advises the team of
      Redbubble employees who are primarily responsible for administering the IP Policy. That
      team is called the “Content Team”. He advises on the application of “certain aspects” of the
      Redbubble “Content & Suspension Policy” (the “Suspension Policy”). He says that the
      IP Policy together with the User Agreement, the Suspension Policy and another document
      called the “Community Guidelines” are designed to discourage and prevent the infringement
      or contravention of intellectual property and similar rights by “Uploaders”. These policy
      documents are all available on the Redbubble website in English, German, French and Spanish.

249   In his affidavit evidence of 27 July 2017, Mr Toy describes the members of the Content Team
      and the roles they perform. It is not necessary to note those matters in these reasons except to
      say that the Content Team was then made up of 10 individuals some of whom are IP Operations
      Co-ordinators, Content Administrators, a Controversial Content Co-ordinator, a Senior Content
      Analyst and a Content Team Manager.

250   Mr Toy explains that when complaints from rights owners or authorised representatives of
      rights owners are made to Redbubble, consideration is given to those complaints and decisions




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     are made about whether the Redbubble “Notice and Takedown Procedures” will be invoked.
      The IP Policy sets out the procedures to be followed if a rights owner considers that artwork
      on the Redbubble website infringes his or her intellectual property rights or similar rights and
      seeks to have Redbubble “moderate” the artwork. As mentioned at [54] of these reasons, by
      the term “Moderate”, Mr Toy means taking steps to “remove or disable access to the webpage
      on the Redbubble website where the artwork is listed and through which products bearing the
      artwork can be purchased”.

251   The IP Policy requires a complainant to provide the following information: a description of
      the intellectual property right said to have been infringed; identification of the artwork said to
      infringe; a statement that the complainant is either the owner or otherwise authorised to act on
      behalf of the owner; a statement that the complainant has a good faith belief that the artworks
      have not been authorised by the rights owner or his or her agent; relevant details of the
      complainant; and an electronic or physical signature to the complaint.

252   This process is described as a complainant submitting a “Takedown Notice” to Redbubble.

253   The Takedown Notice procedure is invoked by sending the notice to [dmca@redbubble.com].
      Mr Toy says that Takedown Notices are received through a management tool called Zendesk
      and routed to a queue to be viewed by a member of the Content Team. Generally, the review
      will take place within one business day of receiving the Takedown Notice. The member of the
      Content Team determines whether it complies with the IP Policy and contains the relevant
      information. Mr Toy says that if that is so, the Content Team member will moderate the
      artwork said to have been identified. Mr Toy says that the Content Team member “will not
      investigate whether the Rights Owner actually owns the rights, whether the rights are actually
      enforceable, or whether the relevant artwork(s) actually infringe or otherwise interfere with
      those rights”.

254   When the work is moderated, the Content Team member sends an email to the complainant
      confirming that moderation has occurred. If the Takedown Notice does not comply with the
      IP Policy, the Team Member will seek “additional information or clarification”. Where a
      Takedown Notice includes unusual elements such as threatening language, the Content Team
      member will escalate the Takedown Notice to the “Legal Team”. Mr Toy or another member
      of the Legal Team will advise the Content Team member on the best method of proceeding.




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255  The IP Policy also sets out a procedure (a “Counter Notice”) that an uploader can follow if they
       consider that their artwork was moderated as a result of a mistake or misidentification and the
       artist wants Redbubble to reinstate the work. Mr Toy says that that type of procedure is
       consistent with the relevant elements of the United States Digital Millennium Copyright Act
       (the “DMCA”). Mr Toy describes the various steps the uploader would take to invoke that
       process. Mr Toy says that if the Content Team member considers it unlikely that the artwork
       was moderated due to a mistake or misidentification, the member will promptly advise the
       uploader by email that the Counter Notice will not be progressed. If the Content Team member
       considers that the Counter Notice is appropriate, the Counter Notice will be brought to the
       attention of Mr Toy or a member of the Legal Team who will then decide whether the Counter
       Notice should be processed.

256    If the Legal Team decides it should not be processed, the uploader will be so advised. If the
       Legal Team decides that it is to be processed, the Legal Team member will send an email to
       the uploader and to the complainant.

257    The IP Policy also states that Redbubble may reinstate an artwork if the complainant does not
       commence legal proceedings in the United States. Mr Toy’s reference to the United States has
       the particular context of the DMCA in mind. Mr Toy says that, to the best of his knowledge,
       a rights owner has never commenced legal proceedings outside the United States against an
       uploader.

258    Apart from the Takedown Notice and Counter Notice provisions, Mr Toy says that other steps
       taken by Redbubble to discourage infringements of intellectual property rights are these. On a
       weekly basis, the Content Team endeavours to review the accounts and account histories of all
       uploaders who have had an artwork moderated in the previous week. Depending upon the
       number and nature of artworks uploaded by the uploader which have been moderated, and the
       current contents of the artist’s account on the Redbubble website, the Content Team will take
       one of a number of actions. A warning might be sent to the uploader. The account of the
       uploader might be restricted indefinitely with a “restriction notice” being sent to the uploader
       by email. During that period, none of the artworks in the artist’s account will be visible to the
       public on the Redbubble website “as if all of the artworks had been moderated”. Redbubble
       might suspend or delete the account and in either case, none of the artworks in the account will
       be visible to the public on the Redbubble website.




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259  Alternatively, Redbubble might continue to monitor the uploader without restricting or
      suspending or deleting the artist’s account. Content Team members are expected to assess each
      uploader on a case-by-case basis.

260   Outside this weekly process, checks of this kind might be carried out if a rights owner
      complains to Redbubble that a particular infringer is a “repeat infringer”. Alternatively, a
      member of the Content Team or the Legal Team might consider that a particular uploader is,
      or may be, what Mr Toy describes as a “Scaled Abuser”.

261   In addition, Redbubble operates a number of “anti-fraud software applications” to identify and
      automatically suspend or delete uploader accounts on the website that are “suspicious”.

262   Apart from all of these processes, Mr Toy says that Redbubble operates a program of
      “Proactive Moderation”. He says that Redbubble offers to collaborate with certain rights
      owners to develop guidelines under which Redbubble will search its website on behalf of those
      owners for artworks that those owners consider to be infringing, and moderate them
      proactively.

263   Mr Toy says that this proactive moderation “essentially involves Redbubble in assisting the
      Rights Owners to enforce [their] intellectual property, at no cost to the Rights Owner”. Mr Toy
      says that this process of proactive moderation is offered to rights owners in circumstances
      where those owners have “legitimate difficulties” with the Takedown Notice procedure, and
      that might occur where such an owner “needs to submit frequent Takedown Notices identifying
      numerous allegedly infringing artworks on a daily basis” or where the rights owner does not
      understand how the Takedown Notice procedure works and the owner “is becoming
      increasingly frustrated, despite repeated attempts by members of the Content Team or Legal
      Team to assist”. Proactive moderation might also be offered where the rights owner has
      threatened imminent legal action. Whatever the reason might be for engaging the offer process,
      Mr Toy seeks to speak with the rights owner by telephone at least, to explain the process and
      offer proactive moderation. He says that proactive moderation is not offered in exchange for
      a release from liability. He says this:

              Rather, it is a genuine attempt to assist the rights owner in circumstances where
              Redbubble does not consider that it has any liability or legal responsibility for any
              alleged infringements, but shares an interest with the Rights Owner in preventing
              Uploaders from uploading infringing material to the Redbubble Website to the extent
              feasible for Redbubble to do so.




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264   The Proactive Moderation Guidelines involve the provision to Redbubble of depictions of the
      content in which the rights owners claim to have enforceable rights such as trade marks
      (whether word marks or logos) and copyright protected images (or other works) and guidance
      being given by the rights owner about the nature and degree of similarity that needs to exist
      between the owner’s works and artwork appearing on the website about which complaint is
      made. Mr Toy says that the Content Team in conjunction with the Legal Team formulates a
      list of “search terms” and other “filtering criteria” considered to be the most effective tools for
      finding artworks on the website that might comprise or contain protected works of the owner.

265   The search terms are intended to be broad enough to capture as many potentially infringing
      artworks as possible but not so broad as to capture a large number of works not likely to be
      related to the works of the relevant owner. Redbubble does not want to generate too many
      “false positives” which will frustrate searches of the site.

266   Redbubble may update the search terms based on consultations with the rights owner. Once
      the search terms have been determined (including as a result of consultation with the rights
      owner), the Content Team will begin searching the website using the “filtering criteria”
      adopted, according to a particular date range thought to be relevant in the particular
      circumstances. If a rights owner wants a single “site sweep” in the date range 2006 (when
      Redbubble first established the website) to the present day, the Content Team will conduct that
      search but will not do so again unless requested by the rights owner. If, however, the rights
      owner has requested Redbubble to conduct “regular policing” the Content Team will perform
      these single “site sweeps” on a regular basis with each site sweep commencing from the date
      of the last sweep. The regular policing might be “daily, weekly or somewhere in between”.

267   In some cases, Redbubble undertakes regular site sweeps even though a rights owner has not
      requested it to do so. If the Content Team believes that an artwork is “similar enough” to any
      of the content claimed by a rights owner to be protected works, the Content Team will moderate
      the uploader’s artwork and follow the procedure earlier described. If the Content Team does
      not consider the artist’s work to be “similar enough” to the works of the rights owner, the
      artwork will not be moderated.

268   Mr Toy says that in his experience there is a level of collaboration between a rights owner and
      Redbubble that is optimal for ensuring that Redbubble is able to effectively assist a rights owner
      to enforce its rights. Mr Toy says that in this process it is helpful when a rights owner shares
      its “feedback and concerns”, “on a regular basis”. He says that Redbubble takes this feedback




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      seriously and will, for example, amend the Proactive Moderation Guidelines and investigate
      complaints of possible repeat infringers. The Legal Team encourages rights owners to use
      direct email addresses which enables contact with a member of the Legal Team directly and
      quickly. Mr Toy sets out in his affidavit a list of rights owners for whom Redbubble is currently
      undertaking proactive moderation. The table identifies the steps being taken (either single “site
      sweep” or “regular policing”), and the date when Redbubble commenced proactive moderation
      on behalf of the rights owners.

269   Mr Toy says that Redbubble has considered whether automatically preventing artists from
      using words which are trade mark protected, as “tags”, would be an appropriate way of
      preventing intellectual property infringement and other unlawful conduct on the Redbubble
      website. He says that adopting such an approach would be “easier, cheaper and require less
      effort than adopting the proactive measures” he describes in his affidavit. He says that the
      proactive measures, as described, are “labour-intensive and expensive”. He then says this:

             However:
             (a)     Redbubble considers that a broadly applied policy of banning certain
                     trademarks as tags would have the undesirable and disproportionate effect of
                     preventing artists from using such words in legitimate, non-infringing ways
                     and contexts. For example, in Australia and the United States there are a
                     number of registered trademarks for the words GREY GARDENS, but those
                     words also have a common descriptive use in the English language. Redbubble
                     is able to apply a more precise approach by collaborating with a Rights Owner,
                     understanding what the Rights Owner considers to be infringing and then
                     conducting targeted searches of the Redbubble Website. This limits the impact
                     on legitimate artworks, including artworks that the Rights Owner itself may
                     not consider to be infringing.
             (b)     A search of the Redbubble Website captures an artwork if the search term
                     matches a title or tag created by the Uploader who uploaded the artwork. If
                     Redbubble bans Uploaders from using a trademarked word as a title or tag but
                     an Uploader uploads an artwork that comprises or contains the trademark,
                     neither Redbubble nor the Rights Owner will be able to find the artwork by
                     using the trademark as a search term when searching the Redbubble Website.
                                                                                 [emphasis added]

270   Mr Toy also gives evidence about the notion of “Proactive Policing” and the development of
      “Proactive Moderation Guidelines” for Hells Angels having regard to the rights in particular
      works put to Redbubble by the solicitors for the applicant in a letter dated 20 March 2015.
      Mr Toy says that on 23 March 2015 the Content Team performed a single site sweep using the
      Hells Angels Guidelines and particular search terms. He says that on 26 March 2015, the
      Content Team commenced “regular policing” which he says Redbubble has undertaken every




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     Thursday since that date. Mr Toy decided to adopt a frequency search of once each week due
      to the fact that Hells Angels was complaining about alleged infringements that were not
      occurring “regularly”. Mr Toy says it became apparent from 23 November 2015 that some
      artworks were not being identified in these weekly site sweeps because uploaders had created
      titles and tags “Hells Angel” rather than “Hells Angels”. Accordingly, the following search
      terms were also adopted: “Hell Angels”; “Hell Angel”; “Hels Angels”; “Hels Angel”; and
      “Hells Angel”. Mr Toy says in his affidavit of 27 July 2017 that the Content Team has
      continued to proactively moderate according to these searches since 20 March 2015. He says
      that Redbubble has moderated 48 artworks uploaded to the website as a result of these
      moderation activities “without first receiving any complaint from Hells Angels or any other
      person” about a specific artwork in particular.

271   Mr Toy also says that Hells Angels has refused to engage with Redbubble in relation to the
      development of the “Hells Angels Guidelines” and the “Hells Angels Search Terms” and thus
      the Guidelines have remained as they were as at 20 March 2015 and the Search Terms have
      remained as they were as at 25 November 2015.

272   As to these moderation protocols generally, including Takedown Notices, the Suspension
      Policy, Proactive Moderation and Proactive Policing and the related steps Redbubble says it
      takes to discourage infringement of the rights of Rights Owners subsisting in particular works,
      Mr Toy was taken in cross-examination to a series of so-called well-known marks and designs
      (which, from time to time, have been uploaded by “artists” to the Redbubble website), so as to
      test with Mr Toy working examples of moderation of those uploaded marks and designs.
      Mr Bolam gave evidence that he conducted a search of the Redbubble website on 16 October
      2015 using the search box and using, as a search term, each of the following terms: Louis
      Vuitton, YSL, Versace, Burberry, Rolex, Bradman, Michael Jordan, Usain Bolt, Adidas, The
      Wiggles, Peppa Pig, Disney, Vegemite, VB, Fosters, Starbucks, Rolling Stones, INXS, Cold
      Chisel and Harley Davidson.

273   The results of the search are set out in a table, Attachment F, to the applicant’s pleading. The
      table shows the search term (Column 1); the image or device on the Redbubble website thrown
      up by that search (Column 2); the relevant registered trade mark of the corporation or person
      corresponding to the uploaded image on the website based on Mr Bolam’s search (also on
      16 October 2015), of the database of Australian registered trade marks maintained by
      IP Australia (Column 3). Column 3 also shows the registered trade mark number.




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274  There is a high degree of correlation (that is, substantial similarity or identicality) between the
       website image found in response to the search term and the proprietor’s registered trade mark.

275    This correlation, and the schedule arising out of Mr Bolam’s exercise, is not relied upon by the
       applicant as some sort of “similar fact” evidence to prove contended infringement of the trade
       marks in suit or an infringement of copyright. This topic, and these examples, are engaged for
       the purpose of testing whether moderation protocols adopted by Redbubble have, in fact, any
       practical utility. The applicant’s ultimate proposition is that even though an uploaded artwork
       might be moderated by Redbubble under its protocols, the fact is that the artwork can simply
       be uploaded again virtually immediately under a new URL thus rendering moderation, for all
       practical purposes, of little utility as a contended mechanism for controlling infringements or
       guarding against “repeat infringers” (or “Scaled Abuser” to use Mr Toy’s term).

276    Thus, the applicant says that a “better system” needs to be developed by Redbubble to
       discourage repeat infringers and deal with the problem of infringement of the rights of Rights
       Owners. Such a mechanism might be a form of “blocking”.

277    Mr Toy addresses Mr Bolam’s table (Attachment F) in his affidavit of 27 July 2017 and in oral
       evidence. He notes that on 20 June 2016, Mr Bolam sent a letter to Redbubble’s solicitors
       enclosing screenshots of the Redbubble website showing each relevant URL and the “Uploader
       user name” for each search result tabulated in Attachment F. Mr Toy attaches a table to his
       affidavit (JNT-47) which shows these things: an item number for each search (Column 1); the
       artwork identified by Mr Bolam enclosed with his letter of 20 June 2016 (being the
       Attachment F search results of 16 October 2015) (Column 2); the URL on the Redbubble
       website for each search result by Mr Bolam (Column 3); the uploader username of each result
       (Column 4); and the “status”, as at 26 July 2017, of each artwork revealed by each of
       Mr Bolam’s artwork search results of 16 October 2015 (Column 5).

278    As to Column 5, Mr Toy says that each artwork as at 26 July 2017 was either moderated as a
       result of a specific complaint; otherwise subject to restriction, suspension or deletion from the
       uploader’s account; moderated due to Proactive Moderation; no longer on the website as a
       result of the Content Team restricting, suspending or deleting the uploader’s account; no longer
       on the site due to deletion by the artist; or the artwork remaining on the website.

279    On 22 August 2017, Mr Bolam conducted another search of the Redbubble website using the
       same search terms he used on 16 October 2015 as described at [272] of these reasons so as to




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      locate an image or device (if uploaded), on the website (sometimes displayed as illustrated on
      a product), substantially similar to or identical with the registered trade marks in Column 3 of
      Attachment F. Mr Bolam prepared another table (PTB-55) by taking Attachment F and adding
      a new Column 4 showing whether there was an image or device substantially similar to or
      identical with each of the relevant trade marks, on the Redbubble website, at that date, and if
      so, Column 4 also shows the URL for the image on the site. Mr Bolam made screenshots of
      the searches.

280   Annexure PTB-55 shows that of the 72 images or devices revealed on the website (by use of
      Mr Bolam’s search terms) as a result of Mr Bolam’s further search on 22 August 2017, which
      correlate with the relevant registered trade mark shown in Attachment F (that is, uploaded
      images either substantially similar or identical to the registered trade marks), 32 “offending”
      (substantially correlating) artworks were on the website again. Where again present on the
      site, Column 4 also gives the relevant URL for the artwork.

281   That exercise by Mr Bolam resulted in a document being put to Mr Toy called a “Comparison
      of Sampling Search Results” which shows the search term (Column 1); the image revealed on
      16 October 2015 being the earlier Attachment F images revealed by the earlier searches
      (Column 2); the registered trade marks (Column 3); the status of the Column 2 images as at
      26 July 2017 according to Mr Toy at JNT-47 (Column 4), and references to the presence or
      otherwise of uploaded images on the website revealed by Mr Bolam’s further search on
      22 August 2017 (Column 5), being substantially similar to or identical with the registered trade
      marks.

282   For example, the entry below from p 2 of the Comparison document shows the Versace image
      from 16 October 2015 (Column 2), the Versace registered trade mark (Column 3); Mr Toy’s
      comment as at 26 July 2017 that the account of the uploader is “Inactive” and was deleted on
      7 December 2015 (Column 4); and the result of Mr Bolam’s search on 22 August 2017
      showing the presence or re-appearance again on the site of the image on that date.




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 283   Another example is set out below from p 3 of the document showing the same elements.




 284   Other examples are these:




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285   Mr Toy accepts that even though the uploaded artwork at the relevant URL (T, p 239,
      lns 42-46) is taken down on a particular date (in the example discussed with him, the takedown
      date was 13 May 2016), the same image could reappear on the Redbubble website under a
      different URL at a later date, after the takedown date: T, p 240, lns 1-9; T, p 242, lns 21-31;
      T, p 244, lns 37-46.

286   Mr Toy accepts that should a person cause a moderated image to reappear on the website on a
      different URL by uploading the image to a different URL, one of the ways a rights holder would
      seek to remove the image is to again invoke the complaint protocol. Another way is taking up
      Redbubble’s proactive moderation protocol: T, p 243, lns 1-16.

287   Mr Toy accepts that should the image be uploaded to a new URL, it will stay on the site until
      taken down at the request of the rights holder or proactively moderated by Redbubble:
      T, p 244, lns 41-46.

288   Mr Toy says that Redbubble “cannot prevent someone from uploading an image to the website”
      and Redbubble does not “pre-screen images”, T, p 245, lns 7-9.

289   Mr Toy was taken to a letter dated 21 October 2015 from the lawyers for Rolex SA, Ashurst,
      to Redbubble asserting trade mark rights in “Rolex” and a “Crown” device. The lawyers draw
      Redbubble’s attention to the results of searches of the Redbubble website relating to use of the




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     mark and the Crown device. A Takedown Notice is enclosed in the letter. The Notice identifies
      31 URLs said to be examples of unauthorised use of the trade marks, each URL deriving from
      the foundation redbubble.com. Undertakings are sought in the letter. Redbubble responded on
      27 October 2015 and said that content at a particular URL had been removed. On 10 November
      2015, Ashurst against wrote to Redbubble taking up issues concerning the failure to give the
      undertakings and drawing Redbubble’s attention to content (images) at five additional URLs.

290   The point of these exchanges is that Mr Toy accepts that one reason why Redbubble could not
      give the undertakings sought by Rolex concerning the many URLs is that “there could be
      further infringements or uploads infringing the artwork or intellectual property of Rolex”.
      Moreover, Mr Toy accepts that if the URLs mentioned in the letter of 10 November 2015 were
      taken down, “there could be no guarantee that the artwork in these URLs would not reappear a
      week later, for example”: T, p 250, lns 1-9.

291   Mr Toy accepts that even though the Rolex marks had been moderated on 21 and 22 October
      2015, artwork substantially similar to the marks had reappeared on 20 August 2017. It seems,
      however, that those images were not present on the site on 22 August 2017.

292   Mr Toy says that after these exchanges with Ashurst, discussions took place which engaged
      Redbubble in further proactive attempts to isolate infringing uses of the Rolex marks.

293   As to the evidence of Mr Toy, I generally accept his evidence subject to observations which
      follow from [405] in relation to the utility of moderation and those aspects of the evidence
      relating to the apparent difficulties in ensuring that images to which objection has been taken
      are not so readily uploaded to the website again, notwithstanding earlier moderation.

      The evidence of Mr Peter Bolam
294   The applicant relies upon affidavit evidence of Mr Bolam. There is no need in these reasons
      to expressly address aspects of his evidence (apart from those aspects already addressed) which
      I accept, subject to the analysis in these reasons of the question of whether the applicant is
      properly characterised as an exclusive licensee of the copyright in suit or an exclusive licensee
      and authorised user of the trade marks in suit. I will separately address the factual issues in
      relation to the non-use cross-claim by Redbubble. Mr Bolam’s affidavit of 23 August 2017
      attaches a number of document relating to search results conducted on 20 August 2017 and
      21 August 2017. It also attaches particular correspondence in relation to demands made upon




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     Redbubble by the lawyers for Rolex SA. These are factual matters recited by Mr Bolam which
      I accept as accurately reflecting that which is described.

      Mr Gavin Hansen
295   Mr Hansen describes himself as the “trainee trade mark officer” of HAMC Aust. He has
      provided an affidavit sworn on 4 April 2017 and a further affidavit sworn 16 June 2017.

296   In each affidavit, he says that he resides at an address in the State of Queensland. He says that
      he works under the supervision of the Director of the applicant, Mr Mark Nelms. He says that
      he joined the “Hells Angels Motorcycle Club” in July 2013 and became a full member on
      20 September 2014. Mr Hansen has been in this role for about three and a half years as at the
      date of the trial. Mr Hansen accepts that Mr Nelms has been absent from Australia for about
      the last two and a half years: T, p 145, lns 46-47. He says he has constant phone calls and
      constant email communication with him: T, p 146, lns 1-3. His role as trainee trade mark
      officer includes monitoring (predominantly online), and identifying uses of signs which might
      be considered deceptively similar to those HAMC Aust is, as he puts it, “entitled to use under
      the authority of the trade mark owner [HAMC US]”.

297   Mr Hansen says that he is required to “monitor” the registration of the Australian Trade Mark
      Portfolio which HAMC Aust is entitled to use. Mr Hansen’s approach is that when something
      is questionable, or where he thinks the “wrong thing” has been done, he gets further advice
      from Mr Nelms in addition to forming his own view: T, p 146, lns 20-22; lns 27-28 and
      lns 31-32. As to monitoring, Mr Hansen says that “the whole membership always keeps an
      eye out for everything in the marketplace, online, physical sales, retail, everything”: T, p 146,
      lns 37-38. Mr Hansen accepts that it is “fairly common knowledge” amongst the members that
      there is a lot of unauthorised material on the internet: T, p 147, lns 1-2.

298   As to monitoring and investigation, Mr Hansen acts with the authority of HAMC Aust, with
      the permission and under the supervision of Mr Nelms. Mr Hansen says that it is part of his
      role “to make sure our images are not misused”: T, p 150, lns 35-39. All of the examples of
      purchases by Mr Hansen occurred in that way. Mr Hansen says that he also monitors eBay,
      YouTube, Etsy and Alibaba.

299   Although Mr Hansen also often searches sites under the tag “Harley Davidson”, he does not
      just confine himself to searching under the tag “Hells Angels”. He accepts that having Hells




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     Angels as a tag for searching the site assists in finding Hells Angels images and then taking
      them down: T, p 152, lns 25-29.

300   Mr Hansen says that on or about 18 November 2014, he conducted a search (that is, a computer
      search) using the search engine “Google” by conducting a search using the term “Redbubble”.
      That search provided a response which identified the Redbubble website (that is,
      redbubble.com). He says that he selected that site and was taken to the “Homepage” on the
      website. Mr Hansen says that he was aware of Redbubble and had been to the website before
      18 November 2014 as a matter of “curiosity” but “didn’t investigate it fully”: T, p 148,
      lns 16-17; ln 29. He gives this evidence.

301   The Homepage has a centrally visible search box or search field which allows a search of the
      Redbubble website for products. He proceeded to type into the search box the words “Hells
      Angels”. He then clicked the “Search” button. The search results “resulted in numerous
      images over a number of pages, many of which did not appear to have any apparent connection
      with Hells Angels whatsoever”, although some did reveal a connection. Mr Hansen says that
      it was quite apparent to him that none of the images he saw on the site were “licensed by the
      Club”: T, p 149, lns 14-22. Amongst the results was a “Unisex T-shirt” with an image which
      consisted of a black T-shirt bearing an image on the front which Mr Hansen says he has come
      to know as Australian registered trade mark 526530 (and the device shown in registered trade
      mark 723463) comprising three features which he describes but which are readily apparent in
      the image Example 1, [44] of these reasons. Mr Hansen annexes the relevant page of the
      website he viewed, as GH-1, except that it did not then have the words: “This work has been
      suspended. Only you can view this page”, on the page.

302   Mr Hansen says that using the functions on the Redbubble website he purchased the Hells
      Angels Virginia T-shirt for $31.43 using his credit card and inserting his name, mobile phone
      number, email address and his shipping and billing address. He says that immediately after
      that step he received an email from Redbubble confirming his order and advising that the order
      was in production. A copy of that email is annexed as GH-2 and it contains a small version of
      the image at Example 1, [44] of these reasons.

303   On 19 November 2014, he received an email (GH-3) from Redbubble advising that his Order
      Number 4848736 had been completed and shipped and that email also displayed a reproduction
      of the image at Example 1, [44] of these reasons. Mr Hansen received the physical Hells
      Angels Virginia T-shirt at his Currumbin shipping address and at GH-4 he annexes three




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     images of the physical product he received. The images show both sides of the swing tag
      attached to the article. There is no need to display the swing tags or the article in these reasons.
      It is sufficient to note that the two swing tags are in the same terms as the top two swing tags
      shown at [243] of these reasons except that one of the swing tags also has a sticker marked
      “7825 by photroen” with the site “photroen.redbubble.com” underneath.

304   Mr Hansen says that he conducted a search of the website on 28 March 2017 and the search
      result identified that his order was manufactured and shipped on 18 November 2014 and
      delivered on 18 December 2014.

305   On 5 December 2014, Mr Hansen conducted a further search of the Redbubble website using
      the Google engine and once again inserted the words “Hells Angels” in the search box and
      clicked the Search button. The search results revealed numerous images over a number of
      pages and amongst the results was a poster entitled “Angel with Angel” which displays the
      image depicted as Example 2, [44] of these reasons. The image on the poster includes a back
      view of a jacket worn by the adult bearing an image Mr Hansen says he has come to know as
      the image appearing in registered trade mark 526530 (and the device depicted in registered
      trade mark 723463).

306   Mr Hansen annexes as GH-6, a copy of the page he viewed showing the poster except that the
      page did not have the words: “This work has been suspended. Only you can view this page”,
      on the page.

307   Using the functions available on the website, Mr Hansen purchased the “Angel with Angel”
      poster for $16.63 using his credit card and inserting all the required information. Immediately
      after doing so, he received an email confirming his order. The email reproduced the image:
      GH-7. On or about 8 December 2014, he received another email from Redbubble advising that
      the order was in production and that email reproduced a copy of the image for the poster: GH-8.

308   On or about 7 January 2015, Redbubble posted the “Angel with Angel” poster to his Currumbin
      address from Horsham, Victoria. At GH-9, Mr Hansen attaches images of the poster as
      delivered with the postage packaging depicted. On 31 March 2017, he searched the Redbubble
      website and the search result revealed that his order was manufactured and shipped on
      7 December 2014 and delivered on 7 January 2015.

309   On or about 9 November 2015, he again conducted a search of the Redbubble website as he
      had done before except that on this occasion he says that he used, in the search box, the term




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      “Hells Angel” rather than “Hells Angels”. Again, the search results produced “numerous
      images over a number of pages” and one result was an artwork using the title “Hells Angel”
      and which offered the artwork on T-shirts which he describes as the “Becks Boyd T-shirt”
      being a T-shirt bearing the image shown as Example 3, [44] of these reasons.

310   The relevant page revealed by that search result is annexed as GH-11 except that when searched
      the page did not reveal the words: “This work has been suspended. Only you can view this
      page”.

311   Mr Hansen says that using the functions on the website he purchased the Becks Boyd T-shirt
      for $23.94 using his credit card and provided all of the required information. Immediately after
      doing so he received a confirmation email annexed at GH-12 advising that the order was in
      production. The email reproduced a copy of the artwork in question. Mr Hansen annexes at
      GH-13 a copy of the Redbubble purchase order identifying the product by reference to the title
      “Hells Angel” and also containing a small reproduction of the image. Mr Hansen says that he
      was able to go to the Redbubble website and use it to check on the progress of his order, the
      results of which also appear in GH-13.

312   Mr Hansen says that his role does not engage him in any “ongoing communications” with
      Redbubble about what steps it might take to assist HAMC Aust in blocking further images said
      to offend its rights and that is so because he “can’t interfere with everyone that’s working on
      their current roles”: T, p 150, lns 32-33; T, p 157, lns 26-29. Mr Hansen also accepts that if
      an artist tagged a subject matter clearly not associated with Hells Angels (such as a vase of
      flowers), with the tag “Hells Angels”, he would probably not be concerned by that: T, p 153,
      lns 14-16. Mr Hansen accepts that a number of images put to him using the term “Hells
      Angels” (particularly some cartoons; Exhibit 2) did not engage, so far as he was concerned,
      breaches of any trade mark rights of the applicant: T, p 154 and p 155.

313   In the second affidavit of Mr Hansen (16 June 2017), he says that in March 2015 on behalf of
      HAMC Aust he ordered 35 black T-shirts from “Print ‘n Wear Pty Ltd”. Mr Hansen annexures
      illustrations of the images applied to those T-shirts as contended examples of the trade marks
      in suit. I will return to these issues in dealing with the cross-claim. As to elements of his role,
      however, Mr Hansen says that it was part of his job to order T-shirts such as these. The
      applicant’s “regular graphic artist” was responsible for the design. In doing this part of his job,
      he does not send examples of a design to anyone in HAMC US: T, p 156, lns 1-2. If
      Mr Hansen finds something anywhere online, for retail, that “suggests it’s manufactured in the




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      United States”, he makes that apparent to HAMC US by sending an email to the nominated
      HAMC US “rep”, “Rodney”. The rep usually acknowledges receipt of the email: T, p 156,
      lns 5-28.

314   Mr Hansen has also engaged to some extent with Ms Brooke Oliver, HAMC US’s lawyer
      concerning “monitoring products and just making them aware of it” (being a reference to his
      earlier reference to articles being offered online, by retail, apparently manufactured in the
      United States). Mr Hansen says that any exchanges with Ms Oliver are not in respect of
      “seeking permission or approval for any particular design [he might] choose to use”. He says
      that the designs the applicant uses, or each Chapter users, in Australia, “is completely up to
      us”: T, p 156, lns 39-46. Mr Hansen accepts that the “quality or style of the products” is
      “completely up to” Mr Hansen and the “quality and the images, in regards to design”, is up to
      him in respect of “anything that’s manufactured”: T, p 157, lns 1-10.

315   Mr Hansen says that a Charter may occasionally want to have T-shirts for a particular purpose
      (such as a motorcycle run), but if so, it has to be done “through the right channel”, by going to
      him: T, p 158, lns 10-21. Mr Hansen says that there is no-one else in Australia, other than
      him, who is in a position to make decisions about trade mark matters: T, p 157, lns 31-33. Nor
      is there anyone in Australia who deals with companies for the purpose of discussing how
      guidelines might be implemented to discourage (or decrease) the number of unwanted images
      on the Redbubble website (or perhaps other relevant websites): T, p 157, lns 42-44.

316   Mr Hansen was asked whether there was any “limitation” upon what was “completely up to
      him”, as he puts it, in that regard. In answer, he said this at T, p 158, lns 35-38:

              Mr Hansen:     No. In that it’s not completely up to me. I will go through the design
                             process with a graphic artist and then I will take it to the membership
                             who want that T-shirt for their approval or to see if they want any
                             changes. But it’s only the members who get to make that decision.
                                                                                  [emphasis added]

317   As to the evidence of Mr Hansen, I accept his evidence taking into account the wider
      explanation of aspects of his affidavit evidence given in cross-examination and briefly in
      re-examination.

      Mr Mark Nelms
318   Mr Nelms is the sole Director of the applicant, HAMC Aust, although, oddly enough, he has
      not been physically present in Australia since Christmas Day 2013 when he left to live in Dubai.




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     He now lives in Slovenia. Mr Nelms says that he “probably” does not regard himself as an
      Australian resident: T, p 168, lns 36-37.

319   Mr Nelms says that he joined the Hells Angels Motorcycle Club (the “Club”) in 1999 and
      became a full member in 2001. He became the official trade mark officer for Australia in
      January 2005, when it was an unincorporated body. He was voted into the position by the
      members.

320   On 8 December 2006, the applicant was incorporated and Mr Nelms has been a director since
      incorporation. Initially, he was the sole shareholder. He was also the Company Secretary. At
      the date of the trial, he was the sole director although there have been other directors from time
      to time. Mr Nelms became the sole Director of the applicant again on 29 January 2013.
      Mr Nelms says that in late 2006, the right to incorporate a company with Hells Angels in its
      name derived from permission given by the Hells Angels Motorcycle Club, in Australia,
      although there apparently was correspondence “back and forth” with HAMC US about that:
      T, p 167, lns 1-20.   Mr Nelms, however, was uncertain about these matters:             T, p 167,
      lns 19-20.

321   Mr Nelms was the sole shareholder until 31 January 2016 in the applicant. He now holds 33
      of the 100 issued shares.

322   In his evidence, Mr Nelms seeks to explain the history of HAMC Aust and its predecessors
      being the various Hells Angels Chapters in Australia and the activities of those Chapters
      especially, as he puts it, as the “licensees” of certain rights and privileges granted by
      HAMC US.       This explanation concerns matters in a period before the incorporation of
      HAMC Aust and before Mr Nelms joined the Club in 1999 and before his full membership of
      the Club in 2001. He says that parts of his narrative are based upon inquiries and discussions
      with members of the Club in the various Chapters around Australia across the period of his 17
      year association with the Club and the Chapters. He particularly refers to a member called
      “Ball Bearing”, a former Melbourne member and an original founding member in 1975. He
      also refers to “Slim Spires”, a former Sydney member and also an original founding member
      in 1975. Mr Nelms can speak from his own knowledge for the period of his membership, and
      to the extent that he relies upon statements made to him by others as founding members or
      otherwise, I simply take that part of the narrative as something said to him rather than
      necessarily evidence of the truth of the fact of the content.




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323   As to the trade marks, Mr Nelms says that HAMC Aust has been, and continues to be,
      “authorised by HAMC US to use the trade marks”, in Australia, identified in Attachment A to
      the applicant’s SFASOC that is, the registered trade marks in suit owned by HAMC US.
      Mr Nelms then goes on to set out the history which is said to lead to that result. He says that
      HAMC US has granted, that is, taken steps to establish or approve Charters in 47 countries.
      Mr Nelms says that groups of motorcycle enthusiasts have met together in Australia since the
      1960s known as “Hells Angels”. Members have had informal contact from time to time with
      members of the Hells Angels Motorcycle Club in the

324   In about August 1975, a majority of members of the then Hells Angels organisation in Australia
      wished to become part of the recognised United States Hells Angels organisation as it existed
      at that time which was also developing in different countries. As a result, the Club in Australia
      began to be overseen by members of the Californian Chapter of the United States Hells Angels
      organisation. There were two Chapters granted Charters in 1975. One was in Sydney and the
      other was in Melbourne. Since that time, the number of Chapters has increased to 10 with three
      Chapters in Melbourne, two in Sydney, three in Adelaide and one in each of Darwin and
      Brisbane. Mr Helms was asked how many members there might have been over the last 40
      years. He said he honestly could not say although it was “more than in the dozens, that’s for
      sure”: T, p 172, lns 5-6. These remarks seemed to be addressed to the number of members of
      the Hells Angels Sydney Charter.

325   In 1987, the Sydney Chapter was licensed to use certain registered and unregistered trade marks
      by HAMC US. Mr Nelms says that a copy of that licence is the document at PTB-48 to the
      affidavit of Mr Bolam sworn 30 March 2017.

326   That licence is made between a Californian corporation called Hells Angels Motorcycle
      Corporation and a body described as “Hells Angels Sydney”. The document recites that the
      purpose of the licence agreement is to “meet the legal requirements that a trademark owner
      exercise legitimate control over the use of its marks and vigilantly defend, under the laws of
      the United States of America, its trademark rights”. It also recites that because “each chapter
      is a separate and independent legal entity, a licence agreement is necessary to [ensure] the
      integrity of the trademarks”. The relevant trade marks are set out in Exhibit A to that agreement
      and there are 10 identified trade marks and some common law trade marks. It is not clear how
      that list of marks might reconcile with, for example, the trade marks set out at [37] of these
      reasons.




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327   In any event, the “licensee” is described as “an authorised, but legally independent, chartered
       organisation comprised of members belonging to the collective organization”. The licensee
       acknowledges the ownership of the marks in the grantor (HAMC) and agrees that it will do
       nothing inconsistent with such ownership and that all use of the relevant marks by the licensee
       shall inure to the benefit of HAMC. The licensee agrees to assist HAMC in protecting the
       marks. The grant is described, however, as a non-exclusive, non-transferable licence to use the
       marks.

328    Mr Nelms says that the various Chapters in Australia operate their charters under the guidance
       and direction of HAMC Aust. He says that HAMC Aust, through the various Charters, has
       held many and various private and public functions and events, an example of which is a “run”
       by Charter members in which they engage in an outing on public roads wearing clothing and
       accessories bearing the registered marks. The national run is held once a year. All Charter
       members come together for it. The event is hosted by a different Chapter each year. There are
       also local runs and memorial runs; anniversary parties for each Chapter every year; and rock
       concerts organised by the Chapters. There are also many motorcycle shows, tattoo shows and
       motoring events organised by the Chapters. Many of these events are publicised in lifestyle
       magazines and the mass media including national radio and television channels.

329    HAMC Aust also produces books, CDs, DVDs, audio-visual recordings and calendars
       available for sale to the public through the various Chapters and through events and websites.
       As to these matters, Mr Nelms says this at para 22 of his affidavit evidence:

                22.   I am aware [that] the following are examples of this merchandise produced
                      over the years:
                      (a)    A CD entitled ‘Hells Angels MC presents Larrie Cook & The
                             Bluesmasters at the Brisbane Club House’;
                      (b)    A video recording of ‘Darwin River Rocks 98’ together with a
                             promotional poster;
                      (c)    A 2004 HAMC AUS Brisbane Calendar;
                      (d)    A perpetual calendar;
                      (e)    Pages of the publication entitled ‘Hell’s Angel’ by Sonny Barger; and
                      (f)    Cassette and CD recordings.

330    As to Item 22(a), Mr Nelms says the CD was sold to the public and either Hells Angels or Hells
       Angels MC, together with a picture of the “Death-Head” was on the cover. This occurred




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      “something like” “more than” 10 years ago. The numbers sold was “in the hundred”: T, p 170,
      lns 38-46; T, p 171, lns 1-6.

331   As to Item 22(c), it too was produced for the public, had upon it Hells Angels or Hells
      Angels MC and a “Death-Head”: T, p 171, lns 8-14. Mr Nelms says that at least some of the
      items at para 22(a) to (f) had the Fuki Death Head endorsed on them: T, p 171, lns 19-21.

332   Mr Nelms gives evidence about his understanding of matters relevant to the contended
      exclusive licence.

      Exclusive licence and authorised user issues
333   As to this topic, Mr Nelms says these things.

334   As already mentioned, “Hells Angels Sydney” was appointed on 1 July 1987 as a non-exclusive
      licensee of particular trade marks. Mr Nelms says that HAMC Aust is the exclusive licensee,
      in Australia, of HAMC US, in respect of the registered trade marks in Australia of HAMC US,
      and any copyright subsisting in artistic works depicted in those trade marks. He describes these
      rights collectively as the “HAMC IP rights”. These rights are said to arise under an agreement
      dated 14 May 2010.

335   This agreement is said to supersede the 1987 licence.

336   The agreement, bearing the heading “Exclusive Licence Agreement”, recites that the parties
      acknowledge that:

              A.     HAMC [US] is the owner of the trademarks, service marks and collective
                     membership marks, together with all the goodwill therein (“Marks”) used by
                     the Hells Angels Motorcycle Club for membership, goods and services. The
                     Marks licensed hereunder include those listed in Exhibit A (“Core Marks”) and
                     those listed in Exhibit B (“Affiliate Marks”), which exhibits may be amended
                     from time to time;
              B.     Licensee maintains and administers the Marks for use by the charters of the
                     Hells Angels Motorcycle Club within Australia (“Jurisdiction”); and
              C.     HAMC [US] is the owner of any and all copyrights subsisting in the Marks.

337   The “Core Marks” include the word mark “Hells Angels” and the devices shown at [37] (a),
      (c) and (e) of these reasons. The agreement provides that the parties “intending that their rights
      shall be enforceable under the laws of the United States and/or under the laws of the
      Jurisdiction”, agree as follows:

              1.     Grant. HAMC [US] hereby grants to Licensee an exclusive non-transferable




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                       licence within the Jurisdiction for use of the Marks, subject to the limitations
                       and responsibilities contained herein.
             2.        Copyright.     HAMC [US] hereby grants to Licensee an exclusive
                       non-transferable licence within the Jurisdiction of all rights to the copyrights
                       in the Marks under the Copyright Act 1968 (Cth).
             3.        Ownership. All the use of the Marks made under the laws of the Jurisdiction
                       shall indicate HAMC [US] as the owner thereof.
             4.        Manner of Use. Licensee agrees that use of the Marks shall remain consistent
                       with the standards and restrictions adopted and promulgated by HAMC [US]
                       and the Hells Angels Motorcycle Club, adhering to the following policies:
                       a.      Core Marks. The Core Marks shall be used primarily to indicate
                               membership in the Hells Angels Motorcycle Club, and their use to
                               indicate the source or approval of goods sold or services rendered to
                               the public shall be strictly limited.
                       b.      Affiliate Marks. The Affiliate Marks may be used on goods sold or
                               services rendered to the public, to indicate source or approval of the
                               Hells Angels Motorcycle Club.
             …

338   As to the form of use, the agreement provides that the marks shall be used by the licensee in
      substantially the same form in which they have been registered in the United States Patent and
      Trademark Office. The licensee agrees to adopt and use the appropriate trade mark notice “R”
      for registered marks and “TM” for non-registered trade marks and “SM” for non-registered
      service marks.

339   As to enforcement, the agreement says this:

             6.        Enforcement. HAMC [US] and Licensee shall cooperate as necessary to
                       enforce their respective rights in the Marks, and to defend the Marks against
                       conflicting claims asserted by third parties. Licensee will be diligent in
                       policing use of the Marks within the Jurisdiction, at its own expense. In the
                       event the Licensee learns:
                       a.      of any existing or pre-existing trademark or copyright infringement or
                               threatened trade-mark or copyright infringement of any of the Marks,
                               licensed under this agreement;
                       b.      of any common law passing off by reason of imitation of get up or
                               otherwise; or
                       c.      that any third party alleges or claims that any of the Marks in this
                               agreement are liable to cause deception or confusion to the public,
                       Licensee shall immediately notify HAMC [US] in writing giving particulars of
                       the infringement. Licensee is entitled to engage in or institute all infringement
                       proceedings within the Jurisdiction, in relation to any perceived infringement
                       of the trade mark rights in the Marks under the Trade Marks Act 1995 and/or
                       any infringement of the rights in copyright in the Marks under the Copyright
                       Act 1968 notwithstanding that such perceived infringements, may have




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                     occurred prior to the date of this agreement, and whether or not those
                     infringement activities have ceased as at the date of this agreement.
                     HAMC [US] may at its own election join as a party in any such proceeding,
                     and HAMC [US] shall be the real party in interest in [any] trademark or
                     copyright suit involving the Marks.
                …

340   As to reporting, the agreement says this:

                8.   Reporting. In order that HAMC [US] be assured that the Marks are being
                     properly used by Licensee and be informed of the extent of the Marks’ use in
                     commerce, upon reasonable request from HAMC [US], Licensee will report
                     the details of the Marks’ usage and provide specimens or facsimiles of such
                     usage.

341   The exclusive licence recites that it will remain in effect so long as there are active Charters of
      the Hells Angels Motorcycle Club in Australia.

342   As to the trade marks which are said to fall within the scope of the Exclusive Licence
      Agreement, Mr Nelms refers to the trade marks recited at para 41 of Mr Bolam’s affidavit of
      30 March 2017 which, in turn, is cross-referenced to Attachment A to the SFASOC. The
      portfolio of marks in question are those trade marks recited at [37] of these reasons. As to the
      trade marks, Mr Nelms says that the “use of the registered trade marks is and has always been
      under the control of HAMC USA since at least my joining the Hells Angels Club in 1999”.
      This observation was admitted into evidence but, of course, it is entirely conclusionary and
      cannot be, by itself, probative of the conclusion. It rises no higher than his assertion of his
      belief as to the topic, although, of course, he has been the trade mark officer of HAMC Aust
      for 10 years. Mr Nelms gives some examples of the activities of the applicant which are these:
      to collect membership fees from the various Chapters; to pay expenses including printing and
      related costs of items bearing the registered trade marks of HAMC US such as jackets, T-shirts
      and posters; to sell merchandise to members of HAMC Aust and some specific merchandise to
      the public such as calendars and take steps to protect “HAMC IP rights”.

343   Mr Nelms says that he has had discussions with long-standing members of the Hells Angels
      Club since becoming a member in 1999, about the “uniformity of the uses of the registered
      marks”. He says that uniformity of use of the registered marks “has been a priority to
      HAMC USA and its predecessors since the late 1950s and certainly since the introduction of
      the Fuki Death Head in 1983”. Mr Nelms refers to the declaration of Mr Barger about that
      matter.




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344   Mr Nelms also says that for some years, since at least 2011, he has been aware, by reason of
       his role as the trade mark officer of HAMC Aust, of the role of the “authorised user” under the
       Trade Marks Act. He says he is also aware of the nature of that role through his involvement
       in various enforcement actions taken by HAMC Aust, commenced since 2006. He says that as
       the Director of HAMC Aust, he provided, in 2011, a report to HAMC US on “relevant activities
       in relation to the use of the registered marks in Australia by HAMC Aust which were authorised
       by HAMC USA”. He says that the topics upon which he reported to HAMC US included these
       matters:

              (a)     the requirements of the Trade Marks Act in terms of control and identifies the
                      financial control [HAMC US] exercises by [HAMC Aust’s] reporting of
                      revenue from memberships and revenue from sales of goods bearing the
                      marks;
              (b)     the progress of various infringement claims HAMC Aus was making and the
                      various stages of prosecuting they had reached;
              (c)     changes in the procedures for providing objections to the Australian Customs
                      [authorities]; and
              (d)     the position of Internet Service Providers in Australia and the notice
                      requirements.

345    Mr Nelms refers to the 2011 Report to HAMC US which is a four page document and the 2014
       Report which is also a four page document.

346    In the 2011 Report, Mr Nelms notes that although the Exclusive Licence Agreement establishes
       HAMC Aust as the licensee, HAMC Aust is required to demonstrate that the terms of control
       are actually being implemented and that steps are being taken to maintain control of the trade
       marks. Mr Nelms refers to an obligation HAMC Aust has to regularly document and report
       upon particular matters including use of the trade marks and financial reporting.               He
       cross-references these obligations to s 8 of the Trade Marks Act 1995. He reports upon
       investigations being undertaken by HAMC Aust (including trap purchases) of potential
       infringements by 31 different organisations. He reports upon the progress of matters. He
       reports upon Customs regulations and various notifications under those regulations and he
       reports upon concerns in relation to the conduct of internet service providers.

347    The 2014 Report provides a report about infringement concerns relating to seven entities.

348    Mr Nelms says that in 2014, HAMC Aust commenced proceedings against Eyegasm Brands
       Pty Ltd (“Eyegasm”) in the Federal Circuit Court of Australia in respect of alleged
       infringements of an HAMC US word mark used on a particular T-shirt design sold by the




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     respondent. The 2014 Report refers to the Eyegasm proceeding which was settled and
      discontinued on or about 10 June 2014. He says that that matter was discontinued because
      HAMC US directed HAMC Aust to discontinue it as HAMC US had settled a claim against
      the party who had supplied the respondent in the Eyegasm proceeding with the T-shirt bearing
      the relevant design. That settlement in the United States was said to be a “whole of world”
      settlement.

349   The Australian Eyegasm proceeding was discontinued by HAMC Aust without reimbursement
      of the costs of the proceeding or any amount being received by HAMC Aust by way of
      compensatory damages. Mr Nelms says that HAMC Aust reports to HAMC US about a
      number of things including revenue HAMC Aust derives from sales of goods bearing the
      registered trade marks.

350   Mr Nelms also says that the Schedule attached to Mr Bolam’s affidavit of 30 March 2017
      marked PTB-51 which is a table prepared on behalf of HAMC Aust to describe and depict uses
      made by HAMC Aust in Australia within the period of three years from 5 October 2012 to
      5 October 2015, is correct and accurate as to the uses of the registered trade marks described
      in the Schedule. I will return to that table but, for present purposes, is should be noted that
      Mr Nelms says this about it: “I can say from my personal observation that the uses described
      and depicted in the table took place in Australia as indicated in the table and within the period
      of [the] 3 years period from 5 October 2012 to 5 October 2015”.

351   This statement, of course, simply “swears the issue” and although Mr Nelms affirmatively
      asserts the fact, the proposition he contends for must necessarily be supported by proper and
      concrete details of the manner in which these things are said to have occurred. Counsel for the
      applicant says it was really an “aid of summary” not the primary source of the evidence.
      Accordingly, the statement was ruled inadmissible.

352   I will return to that matter later in these reasons.

353   As to the role of Mr Hansen, Mr Nelms accepts that Mr Hansen has authority to arrange the
      manufacture of products on order from the Chapters. Use of any of the trade marks on such
      products is within Mr Hansen’s authority, especially in the absence of Mr Nelms: T, p 169,
      lns 1-5.

354   Mr Nelms says that in the second half of 2012 (more than a year before he left Australia), he
      had been in contact, by phone and email, with HAMC US and he either met with or spoke with




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     HAMC US personnel twice a year (but “no more than that”) and was in email contact “any
      number of times”. The purpose was to report what was happening with HAMC Aust’s
      infringement claims and monitoring activity in Australia of unauthorised use of the trade
      marks: T, p 169, lns 14-29. Mr Nelms does not recall whether, in the period mid-2012 to the
      end of 2013, he sought the prior approval of HAMC US to any proposal by a Chapter to have
      T-shirts made: T, p 169, lns 34-40.

355   As to whether there are any written guidelines (T, p 169, lns 42-44), instructions, manuals or
      standards (T, p 170, lns 14-15) issued by HAMC US as to the use of any of the trade marks or
      as to the quality of the goods to which they might be applied, Mr Nelms says that, as to the use
      of the “patch” (bearing the side view of the Death Head and “Hells Angels”), there are controls
      over its use including the “layout of it”, and “a measurement and where it has to be placed and
      then the dimensions and so forth”. He also says: “there’s also a world rule in regard to the –
      [patch] that it must be standardised, that it has to be all exactly the same stitches and so forth:
      T, p 170, lns 17-25. Mr Nelms says that every member of every one of the 10 Charters
      established since 1975 in Australia has a patch with the Death Head. He accepts that there are
      many other items with a Death Head on it including possibly a Certificate of Appreciation,
      jewellery, belt buckles and the like: T, p 172, lns 29-39.

356   Mr Nelms accepts that there are no “written manuals” or “standards documents” that tell him
      what type of T-shirts can be used or “anything of that sort”: T, p 170, lns 33-34.

357   As to websites other than the Redbubble website, Mr Nelms accepts that in relation to Hells
      Angels materials, “there is a lot of bogus stuff on eBay”. Mr Helms says he did not take that
      matter up with eBay in Australia. He also accepts that unauthorised uses of Hells Angels
      emblems and words occurs on YouTube and neither he nor HAMC Aust has sought to have it
      taken down. He says that is because “most [of] those things are dealt with internationally by
      [HAMC US]”: T, p 177, lns 40-41.

358   As to the relative roles of HAMC US and HAMC Aust concerning particular topics, Mr Nelms
      thought, for example, that if a “worldwide project” was to be undertaken such as producing a
      National Geographic documentary on the Hells Angels Motorcycle Clubs worldwide (a project
      suggested in 2007), which involves licences to use copyright works and trade marks, the
      “worldwide deal would be done by the Californian corporation and they wouldn’t ask your
      permission”: T, p 179, lns 16-21.




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359  However, Mr Nelms also said that if such a worldwide deal was being put together which
      involved permission to exercise the Australian rights, he would expect to be consulted by
      HAMC US and “given we’ve got an exclusive licence, they would have to consult with us”:
      T, p 179, lns 23-26. Mr Nelms believes that any such worldwide deal would have to be
      discussed: T, p 179, lns 40-44.

360   Mr Nelms was taken to the settlement of the Eyegasm proceeding and accepted that as it turned
      out, the “world body” had “done a deal” and Mr Nelms had to fall into line with it: T, p 180,
      lns 3-4. That led to this question and answer:

             Mr Cobden SC
             (Counsel for Redbubble):        And that’s because you understand it, don’t you, that
                                             whatever [the] documentation is, they [HAMC US]
                                             reserve the right to exercise trade mark rights and
                                             copyrights themselves within the territory?

             Mr Nelms:                       Yes

361   As to the complaints made by HAMC Aust to Redbubble, Mr Nelms seems to accept, as the
      applicant’s trade mark officer for over 10 years, that one of the images to which objection was
      initially taken (a ball of knitting wool with two needles and the words “Hells Grannies”) does
      not impinge upon the applicant’s rights: T, p 181, lns 24-25.

362   Mr Nelms also seemed to accept that reproducing the title of the Howard Hughes movie “Hells
      Angels” (from the 1930s) on T-shirts, did not infringe the applicant’s rights notwithstanding
      that objection was initially taken to this example as well: T, p 181, lns 31-33.

363   Mr Nelms accepts that the words “Hells Angels” could be legitimately used to index, on the
      Redbubble website, the Howard Hughes movie poster and also used to index any of the
      squadrons from WWI to WWII that adopted the name “Hells Angels”: T, p 182, lns 15-19.

364   Mr Nelms accepts that the scope of the applicant’s complaint is that Hells Angels “can’t
      legitimately be used to search for something that when one gets the result, it infringes upon
      Hells Angels property right” (T, p 182, lns 21-33), and this concern arises when a reproduction
      appears of an image that is “the same as or close to one of the registered trade marks”: T, p 181,
      lns 35-36.

365   Mr Nelms accepts that he has not turned his mind to the topic of the question of offers of
      proactive moderation of the Redbubble website for “Hells Angels imagery and the like”:
      T, p 183, lns 13-16.




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366  Ms Brooke Oliver is an attorney admitted in 1994 to practice law in California.

367   She is employed by, and CEO of, “50 Balmy Law P.C.” in San Francisco. Since 12 August
      2015, she has acted as intellectual property counsel for HAMC US which “owns Hells Angels
      related intellectual property and manages and enforces [it] around the world”. Ms Oliver took
      over this role from another attorney, Mr Fritz Clapp, from a different law firm. Ms Oliver,
      fundamentally, gives evidence about the steps she took to seek out witnesses and evidence
      relevant to the copyright issues in these proceedings. However, Ms Oliver says that she did so
      “at the request of the lawyers for our exclusive licensee in Australia, the applicant in this
      proceeding”.

368   Ms Oliver, as intellectual property lawyer for HAMC US, seems to be in no doubt at all that
      the applicant is regarded as the “exclusive licensee” in Australia of HAMC US in respect of
      the relevant rights. She says the basis for that view is the grant of an “exclusive licence” as
      reflected in the “document” which “has been produced”: T, p 111, lns 15-27. Ms Oliver
      accepts that she had not played a role in drafting the document. Ms Oliver attends meetings of
      the governing body or committee of HAMC US from time to time. Counsel for Redbubble
      sought to test with Ms Oliver whether, should a proposal emerge from a reputable producer for
      the making of a major documentary about the Hells Angels, using Hells Angels’ intellectual
      property, would that proposal come to the Board of HAMC US for approval and to her? She
      declined to answer as her answer might reveal privileged information although she said that
      she would discharge the “normal and customary duties” of a person in her role.

369   As to the evidence of Mr Nelms, I accept his evidence except as to those matters of a broad
      conclusionary nature or statements in the nature of simply “swearing the issue”, as earlier
      mentioned. There are no credit questions in respect of Mr Nelms or any other witness in this
      proceeding. As to Ms Oliver’s evidence, I generally accept her evidence.

      The exclusive licence
370   Assuming for the moment that HAMC US had secured the ownership of the copyright in the
      artistic works in suit (as determined according to the law of Australia) so as to bring the works
      within the scope of the licence of 14 May 2010, the question of whether HAMC Aust is an
      exclusive licensee of the owner falls to be determined according to the elements of the
      definition of “exclusive licence” in s 10(1) of the Copyright Act. The term “exclusive licence”
      is defined in this way:




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              Exclusive Licence means a licence in writing, signed by or on behalf of the owner or
              prospective owner of the copyright, authorising the licensee, to the exclusion of all
              other persons, to do an act that, by virtue of this Act, the owner of the copyright would,
              but for the licence, have the exclusive right to do, and exclusive licensees has a
              corresponding meaning.
                                                                           [emphasis in italics added]

371   The owner of the copyright (subject to the question of term and continuing subsistence), enjoys
      the exclusive right, relevantly here, to reproduce the artistic work in a material form and to
      communicate the work to the public: s 31(1)(b)(i) and (iii) of the Copyright Act.

372   The Licence Agreement expressly grants HAMC Aust “an exclusive non-transferable licence”
      within Australia “of all rights to the copyrights”, in relevant works, “in the Marks”, under the
      Copyright Act. The parties chose to call the agreement an Exclusive Licence Agreement, and
      the grant, consistent with that expectation, is in clear terms. The provisions of the agreement
      addressing “Ownership” in HAMC US and “Manner of Use” (cls 3 and 4) address only the
      trade marks but, of course, the relevant copyright is the copyright in the artistic works “in the
      Marks”. The enforcement clause (cl 6) contemplates co-operation between HAMC US and the
      Licensee “to enforce their respective rights in the Marks” and to defend the Marks against
      conflicting claims asserted by third parties. The “respective rights” of HAMC US and the
      Licensee are, according to the document, as owner/grantor and as Exclusive Licensee,
      respectively. There is no express reservation by HAMC US of a right to authorise others to
      exercise any of the exclusive rights invested in the owner, and HAMC US does not reserve a
      right to itself to exercise in Australia any of the rights in the works vested in the owner. Clearly,
      HAMC US has an “interest” in the works as owner. The Licensee has an obligation to
      immediately notify HAMC US should the Licensee become aware of acts of third party
      infringement.

373   Redbubble’s critical point of contention is that the working operation of the agreement
      demonstrates that the grant or “authority” conferred under the licence to do an act reserved to
      the copyright owner, is not “to the exclusion of all other persons” because, according to the
      evidence of Mr Hansen, the HAMC US rep and Ms Oliver continue to be engaged in
      decision-making about the exercise of the copyrights by HAMC Aust. Also, according to the
      evidence of Mr Nelms, HAMC US reserves the right “to exercise trade mark rights and
      copyrights themselves in the territory”. The evidence of Mr Nelms needs to be understood in
      context. His answer to the question set out at [360] of these reasons came on the heels of an
      answer about worldwide settlement of a particular infringement proceeding.                     Certainly,




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      Mr Nelms thought that HAMC Aust would need to fall into line with the overarching global
      settlement in the Eyegasm matter. He had previously made it clear that in respect of any
      “worldwide deal” to exercise any rights in the copyright in Australia, he would have to be
      consulted because HAMC Aust has an exclusive licence.

374   A particular isolated act or acts across the life of the agreement, with the acquiescence of the
      grantee, does not render what would otherwise be an exclusive licence, an agreement
      characterised as one in which the grantor is to be understood, in the working operation of the
      document, as reserving to itself the right to undertake “acts” in the exercise of the exclusive
      rights vested in the owner, so as to bring about the result that the “authority” conferred on the
      licensee is not “to the exclusion of all other persons”.

375   I am satisfied that, assuming ownership in HAMC US, the applicant is the Exclusive Licensee
      of the copyright in the relevant works. However, as explained earlier, I am not satisfied that
      HAMC US is the owner of the copyright in the relevant artistic work.

      Authorised user
376   Section 8(1) of the Trade Marks Act provides that a person is an authorised user of a trade
      mark if the person uses the trade mark in relation to goods or services, “under the control of
      the owner of the trade mark”. Use by an authorised user of the trade mark is an authorised use
      to the extent only that the user uses the trade mark “under the control of the owner”: s 8(2).
      Section 8(3) sets out particular acts on the part of the owner of the trade mark that result in the
      relevant counter-party being “taken” to use the trade mark under the control of the owner.

377   Section 8(3) is in these terms:

              8 (3)   If the owner of a trade mark exercises quality control over goods or services:
                      (a)     dealt with or provided in the course of trade by another person; and
                      (b)     in relation to which the trade mark is used;
                      the other person is taken, for the purposes of subsection (1), to use the trade
                      mark in relation to the goods or services under the control of the owner.

378   However, s 8(3) does not limit the meaning of the expression “under the control of” in s 8(1)
      and s 8(2).

379   By s 7(3) of the Trade Marks Act, an authorised use of a trade mark by a person (for the
      purposes of s 8(1)) is taken, for the purposes of the Trade Marks Act, to be a use of the trade
      mark by the owner of the trade mark.




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380  The significance of whether an entity is an authorised user of a trade mark is, in part at least,
       measured by the powers conferred on a registered user by s 26 of the Trade Marks Act. Apart
       from the right of use, these powers should be noted at s 26(1)(b), (d) and (f):

              26 (1) Subject to any agreement between the registered owner of a registered trade
              mark and an authorised user of the trade mark, the authorised user may do any of the
              following:
                       (a)       …
                       (b)       the authorised user may (subject to subsection (2)) bring an action for
                                 infringement of the trade mark:
                                 (i)      at any time, with the consent of the registered owner; or
                                 (ii)     during the prescribed period, if the registered owner refuses to
                                          bring such an action on a particular occasion during the
                                          prescribed period; or
                                 (iii)    after the end of the prescribed period, if the registered owner
                                          has failed to bring such an action during the prescribed period;
                       (c)       …
                       (d)       the authorised user may:
                                 (i)      give to the Comptroller-General of Customs a notice under
                                          section 132 objecting to the importation of goods that infringe
                                          the trade mark; or
                                 (ii)     revoke such a notice;
                       …
                       (f)       the authorised user may give permission to any person to apply the
                                 trade mark to goods, or in relation to goods or services, in respect of
                                 which the trade mark is registered.

381    Section 26(2) provides:

              26(2) If the authorised user brings an action for infringement of the trade mark, the
              authorised user must make the registered owner of the trade mark a defendant in the
              action. However, the registered owner is not liable for costs if he or she does not take
              part in the proceedings.
              [s 26 am Act 99 of 2001 s 3 and Sch 1 item 4 opn 19 Sep 2001]

382    In Lodestar Anstalt v Campari America LLC (2016) 244 FCR 557, the Full Court, Allsop CJ,
       Greenwood, Besanko, Nicholas and Katzmann JJ, considered the meaning to be attributed to
       the statutory text of s 8 and, in particular, the phrase “under the control of”, the owner of the
       trade mark. The Full Court observed that the phrase is given content by the principle stated by
       Aickin J in Pioneer Kabushiki Kaishai v Registrar of Trade Marks (1977) 137 CLR 670 that
       the “essential requirement” for maintenance of the validity of a trade mark is that it must




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     indicate a “connection” in the course of trade with the registered owner, “even though the
      connection may be slight”: Aickin J at (683): Full Court, Besanko J at [95]; Allsop CJ at [1];
      Greenwood J at [3] and [21]; Nicholas J at [112].

383   However, as the Full Court observes, it is the connection which may be slight “such as the
      selection or quality control or control of the user in the sense in which a parent company
      controls a subsidiary”, but Aickin J was not saying that the quality control or financial control
      may be slight: Full Court citations above.

384   At [97] and [98], Besanko J said this (Allsop CJ at [1]; Greenwood J at [3] and [21]; Nicholas J
      at [112], agreeing):

              97       I think control in s 8 means actual control in relation to the use of the trade
              mark and it means actual control in relation to the trade mark from time to time. I think
              (as the primary judge did) that that is the primary meaning of the word, and the English
              cases, so far as they go, support that conclusion. Control involves questions of fact
              and degree as does the notion of a sufficient connection. There must be control as a
              matter of substance. For example, I do not think that it could be suggested that the
              mere fact that the registered owner granted a licence or revocable authority to use the
              trade mark would be sufficient without more established control within s 8. That would
              be inconsistent with the approach taken under the 1995 Act and the Trade Marks Act
              1938 (UK). Had it been Parliament’s intention it could be effected by a much simpler
              provision than s 8.
              98       As I have said, actual control will be a question of fact and degree. A licence
              agreement may contain a term that sets in detail a quality standard to be achieved. The
              details in the agreement may be such that it is not necessary for the registered owner
              to give directions or instructions from time to time. The licensee, aware of its
              obligations, may faithfully comply with those obligations without any entreaties or
              demands from the licensor. The primary judge had such a situation in mind when he
              referred to cases where there was obedience to the trade mark owner “so instinctive
              and complete that instruction was not necessary”.

385   There can be no doubt that the mere fact that HAMC Aust has entered into a Licence
      Agreement with the owner of the trade marks conferring a right to use them is insufficient to
      establish control.

386   As to the agreement of 14 May 2010, it grants an Exclusive Licence to use the trade marks
      “subject to the limitations and restrictions” in the document. As to that, cl 4 addresses the
      Manner of Use of the Marks and casts an obligation on HAMC Aust to ensure that use of the
      Marks remains “consistent with the standards and restrictions” adopted and promulgated by
      HAMC US and the Hells Angels Motorcycle Club (the “Club”). The Licensee is to adhere to
      the principle that the “Core Marks” (which include the trade marks in suit) shall be used to




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     indicate “membership in the Club”. Use of the Marks so as to indicate the source or approval
      of goods sold or services rendered “to the public”, “shall be strictly limited”.

387   The focus of the agreement is, in other words, predominantly internal. It is concerned with use
      as a badge of identification of membership of a Club of like-minded motorcycle enthusiasts
      and although trade in goods or services rendered to the public is plainly contemplated, it is to
      be “strictly limited”. As to the form of use, cl 5 is in these terms:

              5.      Form of Use. Licensee agrees that the Marks shall be used in substantially the
                      same form in which they have been registered in the United States Patent and
                      Trademark Office. Licensee agrees to adopt and use the appropriate trademark
                      notice which is encircled “R” for registered marks, the superscript “TM” for
                      non-registered trademarks and the superscript “SM” for non-registered service
                      marks.

388   As to reporting, cl 8 is in these terms:

              8.      Reporting. In order that HAMC be assured that the Marks are being properly
                      used by Licensee and be informed of the extent of the Marks’ use in commerce,
                      upon reasonable request from HAMC, Licensee will report the details of the
                      Marks’ usage and provide specimens or facsimiles of such usage.

389   As to reporting, the 2011 Report from Mr Nelms to HAMC contains this observation:

              Trademark Legislation in Australia
              The Trade Marks Act 1995 (Cth) requires Hells Angels Motorcycle Corporation
              (Australia) as Licensee to fulfil certain conditions in order to maintain the registration
              of its trade marks.
              Although the exclusive license establishes Hells Angels Motorcycle Corporation
              (Australia) as the Licensee, they are required to show the terms of control are actually
              being implemented and steps are being taken by the club to maintain control of the
              trade marks.
              To Satisfy section 8 of Trade Marks Act 1995 (Cth), Hells Angels [M]otorcycle
              Corporation (Australia) must regularly document the reporting of the following:
                      1. The trade marks used by the Australian licensee; and
                      2. Financial reporting of matters such as:
                           a. Revenue from memberships;
                           b. Revenue from sales of goods bearing the mark.
              A financial report on matters such as revenue from memberships and from sales of
              goods bearing the marks is compiled by the Hells Angels Motorcycle Corporation
              (Australia).
              This regular reporting evidences the terms of control being implemented and complies
              with all requirements of the Trade Marks Act 1995 (Cth).




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390  There is nothing in the evidence which shows the content of the “regular reporting” as to the
      method of use of the trade marks in Australia or the financial reporting of revenue from
      memberships or from the sale of goods bearing the trade marks, as suggested in the 2011
      Report.

391   Mr Nelms says that since at least 2011, he has been “aware of the role of [the] authorised user”
      under the Trade Marks Act in his role as HAMC Aust’s trade mark officer, and by reason of
      his involvement in infringement actions taken since 2006. He refers to the 2011 and 2014
      Reports to HAMC as the expression of that realisation.

392   As earlier mentioned, Mr Nelms gave evidence of his contact with HAMC US either by phone,
      meetings or email exchanges. The purpose was to report upon the infringement claims made
      by HAMC Aust and the monitoring activities of the entity. As to guidelines, instructions,
      manuals or standards issued by HAMC US, Mr Nelms seemed unfamiliar with whether any
      such documents existed but did give evidence of the clear controls exercised over the use of
      the patch: [355] of these reasons.

393   Mr Nelms accepts that there are no “written documents” or “standards documents” governing
      use of the trade marks on T-shirts or anything of that sort: [356] of these reasons. He gives
      examples of use: [355] of these reasons. Mr Nelms seems to accept that as to use of the trade
      marks, HAMC US reserves a right to exercise those rights in Australia although that concession
      seems to have been in relation to something in the nature of the global settlement of the
      Eyegasm litigation.    Mr Hansen gave evidence that in undertaking that part of his job
      concerning ordering T-shirts bearing the marks, he does not send examples of a design to
      anyone in HAMC US. He reports possible infringements to the HAMC US representative. He
      engages with Ms Oliver to some extent. He does not seek approval from HAMC US about
      designs the applicant might use: [314] of these reasons. As to the scope of any “limitation” he
      perceives upon his decision-making in that regard, the limitation was expressed as the
      decision-making of the members of the Chapter rather than controls exercised by HAMC US:
      [316] of these reasons.

394   Some of the designs applied to T-shirts the subject of Mr Hansen’s evidence are not trade marks
      in suit although they are trade marks falling under the Exclusive Licence Agreement. As to
      the use of trade marks, Mr Hansen attaches four photographs of a T-shirt ordered by him on or
      about 25 March 2015 for sale to members. The images are set out below.




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395   Three of them show use of the elements of the trade marks in suit: Images 1, 2 and 4.

396   Mr Hansen ordered further T-shirts in or about March 2015 for supply to members.
      Annexure GH-24 to Mr Hansen’s affidavit of 16 June 2017 is a copy of a form of order of
      T-shirts in about 2012, the primary. The images show elements of the marks under the
      Exclusive Licence Agreement and particular elements of the device marks in suit in these
      proceedings. That image is also set out below.




397   These images, so far as they relate to the side Death Head device and the word mark “Hells
      Angels”, and the marks in suit, seem to show a consistency in the manner of presentation of
      the images as applied to T-shirts. There is no doubt that HAMC US imposes very particular
      standards about the manner of presentation of the “patch”.




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398   Although I accept that neither Mr Nelms nor Mr Hansen was able to give any examples of
      manuals or guidelines or standards documents issued by HAMC US governing the issues of
      “quality control” over particular goods or services, it is important, in this case, to take context
      carefully into account. This is not a case in which the dominant undertaking of either
      HAMC US or HAMC Aust is a major commercial undertaking dedicated to producing
      particular products as the core business (such as wine in Lodestar) with a commercial network
      of national and international distributors and licensees. HAMC US certainly has a range of
      territorial licences for particular regions but the focus of the core undertaking is supporting
      members of the Club throughout the various Chapters in the United States and members of the
      various Chapters in the non-US territories. The focus of the use of its trade marks is “primarily”
      to indicate membership in the Club, or Chapters, and to that end HAMC US has sought to
      standardise how the device (trade mark) contained on the patch is to be presented as a badge
      of membership of the Club or Chapter.

399   Its use in that form shows a connection with HAMC US because the members know the source
      and origin, to a greater or lesser degree, of the images that emblematically characterise the
      Hells Angels Motorcycle Club as an organisation of like-minded motorcycle enthusiasts who
      join or want to join the organisation.

400   Use of the trade marks occurs in the sense of a badge of origin of goods or services supplied to
      the public but that use of the marks is “strictly limited”. It seems to me that taking into account
      the very nature of the two organisations, HAMC US and HAMC Aust, against the background
      of the terms of the agreement of 14 May 2010, and weighing the oral evidence, this
      “arrangement” between HAMC US and HAMC Aust is in the nature of one where it is common
      ground between the two entities that it is not necessary for the owner to give directions or
      instructions or issue guidelines or standards documents setting out didactic supervisory
      protocols as these two organisations understand that HAMC Aust will faithfully comply with
      its obligation to present the trade marks in the way that HAMC US, put simply, wants and
      requires.

401   HAMC Aust and HAMC US are, put anecdotally, like-minded “brothers in arms” in a club
      representing motorcycle enthusiasts (albeit, so far as use of the trade marks is concerned, they
      have adopted the mechanism of special purpose vehicles for ownership and use of the trade
      marks). These two entities are primarily domestic club entities. Of course, products are
      ordered for members for sale to them and some products are sold to the public. There is no




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     reason to believe that any different arrangements concerning those particular activities, so far
      as use of the trade marks is concerned, was necessary as between each entity. That follows
      because they each seem to know and understand their respective roles and each entity treats
      HAMC Aust as the authorised user of the trade marks of HAMC US, in Australia. I can see
      no reason to depart from what seems to be a relationship where obedience to the trade mark
      owner was so intuitive and so complete that no formal instruction was necessary.

402   I am satisfied that, taking all things into account, the applicant is properly understood as an
      authorised user of the owner of the trade marks in suit for the purposes of s 8 of the Trade
      Marks Act.

403   Thus, I am satisfied that the applicant has standing for the purposes of the proceeding.

404   It is not necessary in these reasons to examine all of the evidence adduced in the proceeding at
      large. I have examined extensively all of the relevant evidence of the principal witnesses.
      However, I have considered all of the evidence and I have re-examined the transcript of the
      oral evidence extensively. However, where necessary, I will also refer to the evidence of
      witnesses not already mentioned, for example, the evidence of Dr Coker. I will examine the
      evidence in relation to the respondent’s cross-claim separately.

      The copyright claims of the applicant
405   It is now necessary to examine the copyright claims made by the applicant notwithstanding that
      I have concluded that the applicant has not established ownership of the copyright in the artistic
      work in HAMC US so as to establish a subsisting exclusive licence in relation to that work.
      For the sake of ease of reference, all references to the statutory provisions concern the
      Copyright Act, unless otherwise stated.

406   The applicant contends that Redbubble has directly infringed the copyright in the work
      described as the Membership Card image (at [17] of these reasons) by communicating the work
      to the public and by reproducing the work in a material form, although the applicant’s “case”
      was really put on the footing that the respondent has directly infringed the copyright by
      exercising the communication right. Alternatively, the respondent is said to have authorised
      the infringement, by the uploader, of each work said to be a communication to the public of
      the work in suit by the “artist” or is said to have authorised a reproduction of the work by the
      artist. Alternatively again, the applicant says that Redbubble and the artist are jointly liable
      because they are said to be engaged in a “common enterprise” or “joint design” rendering them




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      joint tortfeasors in relation to the acts of copyright infringement as a “wrong” which is tortious
       in nature, that is, there is concurrence in the act or acts causing damage: The Koursk [1924]
       P 140 at 159-160; Thompson v Australian Capital Television Pty Ltd (1996) 186 CLR 574 at
       580-581; 600-602; Ramset Fasteners (Aust) Pty Ltd v Advanced Building Systems Pty Ltd
       (1999) 164 ALR 239 at 256-257.

407    In these proceedings, the applicant seeks an injunction restraining the respondent from
       engaging in the relevant conduct and damages. The applicant also seeks additional damages
       under s 115(4). The applicant pursues an Australian Consumer Law case as already mentioned.

408    As to the legislative provisions, s 31(1)(b) provides, relevantly, that copyright (which subsists
       in a relevant work; ss 32, 33 and 34), in relation to an artistic work, is the exclusive right to
       “reproduce the work in a material form” (s 31(1)(b)(i)) and the exclusive right “to communicate
       the work to the public”: s 31(1)(b)(iii). Those exclusive rights (described as “acts comprised
       in the copyright”) are vested in the owner of the copyright: s 13(1). Section 10(1) provides
       that the term communicate means: “make available online, or electronically transmit … a
       work or other subject-matter, including a performance or live performance within the meaning
       of [the] Act”. This case, of course, is concerned with an artistic work. The phrase to the public
       means, “to the public within or outside Australia”: s 10(1). In this case, the applicant relies
       upon an act of making the artistic work available online to the public. No reliance is placed
       upon the notion of electronic transmission of a work.

409    Section 22(6) provides that, for the purposes of the Copyright Act, a communication, other
       than a broadcast, is “taken” to have been made by the person responsible for determining the
       content of the communication. Section 22(6A) seeks to clarify any doubt about the operation
       of s 22(6) by providing:

               (6A)   To avoid doubt, for the purposes of subsection (6), a person is not responsible
                      for determining the content of a communication merely because the person
                      takes one or more steps for the purpose of:
                      (a)     gaining access to what is made available online by someone else in the
                              communication; or
                      (b)     receiving the electronic transmission of which the communication
                              consists.
                                                                                   [emphasis added]

410    Section 14(1)(a) provides that a reference to the doing of an act in relation to an artistic work
       includes a reference to the doing of that act in relation to a “substantial part” of the work and




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      so far as reproduction is concerned, that term includes a reference to a reproduction of a
       substantial part of the work: s 14(1)(b).

411    Section 36 provides that subject to the Act, the copyright in an artistic work “is infringed by a
       person who, not being the owner of the copyright, and without the licence of the owner of the
       copyright, does in Australia, or authorises the doing in Australia of, any act comprised in the
       copyright”. Section 36 contains two separate and distinct causes of action: direct infringement
       of copyright by the doing of an act comprised in the copyright, that is, “an act of primary
       infringement”:     Roadshow Films Pty Ltd v iiNet Limited (2012) 248 CLR 42 at [93]
       (“Roadshow Films”); and, infringement by authorisation of the doing of an act comprised in
       the copyright rendering Redbubble a “secondary infringer”: Roadshow Films at [93]; WEA
       International Inc. v Hanimex Corporation Ltd (1987) 17 FCR 274.

412    Section 13(2) provides that the exclusive right to do an act in relation to an artistic work
       includes the exclusive right to authorise a person to do that act in relation to that work.

413    As to authorisation, s 36(1A) is in these terms:

               (1A)     In determining, for the purposes of subsection (1), whether or not a person has
                        authorised the doing in Australia of any act comprised in the copyright in a
                        work, without the licence of the owner of the copyright, the matters that must
                        be taken into account include the following:
                        (a)     the extent (if any) of the person’s power to prevent the doing of the act
                                concerned;
                        (b)     the nature of any relationship existing between the person and the
                                person who did the act concerned;
                        (c)     whether the person took any reasonable steps to prevent or avoid the
                                doing of the act, including whether the person complied with any
                                relevant industry codes of practice.
                                                                                      [emphasis added]

414    The rights of an exclusive licensee are set out in s 119. Put simply, the exclusive licensee has
       the same rights of action (except as against the owner of the copyright) as he or she would
       have, and is entitled to the same remedies as he or she would be entitled to, by virtue of s 115,
       as if the licence had been an assignment of the relevant rights, and those rights and remedies
       are concurrent with those of the owner of the copyright, under that section. The exclusive
       licensee has the same rights and remedies under s 116 as if the licence had been an assignment.

415    The “scope” of the notion of “infringement by authorisation” is informed by the “linkage”
       between the statute and the common law rendering such conduct “tortious”: Roadshow Films




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      at [107]. As to that linkage, where tortious liability arises in a person from some cause other
       than the commission of an unlawful act by that person, it generally does so because the person
       has put himself or herself in a position which exposes the rights of others to risk and danger
       unless he or she shows such care as the circumstances require: Roadshow Films, Gummow
       and Hayne JJ at [108].

416    In University of New South Wales v Moorhouse (1975) 133 CLR 1 (“Moorhouse”), Gibbs J
       sought to give content to the word “authorise” as used in earlier legislation in similar terms.
       Gibbs J said this at 12:

               The word “authorise”, in legislation of similar intendment to s 36 of the Act, has been
               held judicially to have its dictionary meaning of “sanction, approve, countenance”:
               Falcon v Famous Players Film Co (“Falcon”); Adelaide Corporation v Australasian
               Performing Right Association Ltd (“Adelaide Corporation”). It can also mean
               “permit”, and in Adelaide Corporation v Australasian Performing Right Association
               Ltd “authorise” and “permit” appear to have been treated as synonymous. A person
               cannot be said to authorise an infringement of copyright unless he [or she] has some
               power to prevent it: Adelaide Corporation v Australasian Performing Right
               Association Ltd. Express or formal permission or sanction, or active conduct
               indicating approval, is not essential to constitute an authorisation; “Inactivity or
               indifference, exhibited by acts of commission or omission, may reach a degree from
               which an authorisation or permission may be inferred”: Adelaide Corporation v
               Australasian Performing Right Association Ltd. However, the word “authorise”
               connotes a mental element and it should not be inferred that a person had, by mere
               inactivity, authorised something to be done if he [or she] neither knew nor had reason
               to suspect that the Act might be done. Knox CJ and Isaacs J referred to this mental
               element in their dissenting judgments in Adelaide Corporation v Australasian
               Performing Right Association Ltd. Knox CJ held that indifference or omission is
               “permission” where the party charged (amongst other things) “knows or has reason to
               anticipate or suspect that the particular act is to be or is likely to be done”. Isaacs J
               apparently considered that it is enough if the person sought to be made liable “knows
               or has reason to know or believe” that the particular act of infringement “will or may”
               be done. This latter statement may be too widely expressed: cf. Sweet v Parsley. It
               seems to me to follow from these statements of principle that a person who has under
               his [or her] control the means by which an infringement of copyright may be
               committed – such as a photocopying machine – and who makes it available to other
               persons, knowing, or having reason to suspect, that it is likely to be used for the purpose
               of committing an infringement, and omitting to take reasonable steps to limit its use to
               legitimate purposes, would authorise any infringement that resulted from its use. …
               Although in some of the authorities it is said that the person who authorises an
               infringement must have knowledge or reason to suspect that the particular act of
               infringement is likely to be done, it is clearly sufficient if there is knowledge or reason
               to suspect that any one of a number of particular acts is likely to be done, as for
               example, where the proprietor of a shop installs a gramophone and supplies a number
               of records any one of which may be played on it. …
                                                                                      [citations omitted]

417    In Moorhouse at 20, Jacobs J agrees with the observations of Gibbs J that the notion of
       authorisation is “wider than authority” and has been given the meaning, taken from the Oxford




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      Dictionary, of “sanction, approve, countenance” as adopted in the authorities of Falcon and
       Adelaide Corporation (adopting the abbreviation for those cases as reflected in the quote at
       [416] of these reasons).      McTiernan ACJ agreed with the observations of Jacobs J.               In
       Roadshow Films, Gummow and Hayne JJ make two observations about these remarks drawn
       from Moorhouse. The first is that it would be wrong to take from the phrase “sanction, approve,
       countenance” one element, such as “countenance”, and by fixing upon the broadest Dictionary
       meaning of that word, to seek to expand the core notion of “authorise”: Roadshow Films at
       [125]. The second point is that given the generality of the expression “authorise”, it is worth
       remembering the observations in Winstone v Wurlitzer Automatic Phonograph Co of Australia
       Pty Ltd [1946] VLR 338 at 345 to this effect:

              As the acts that may be complained of as infringements of copyright are multifarious,
              so, too, the conduct that may justify an inference of authorisation may take on an
              infinite variety of differing forms. In these circumstances any attempt to prescribe
              beforehand ready-made tests for determining on which side of the line a particular case
              will fall, would seem doomed to failure.

418    Section 36(1A) of the Copyright Act contains language which reflects many of the
       considerations to be found in the observations of Gibbs J in Moorhouse. In relation to the
       equivalent provision concerning subject matter other than works (s 101(1A)), Gummow and
       Hayne JJ said this at [135] in Roadshow Films, which equally applies to s 36(1A):

              Section 101(1A) [s 36(1A)] is so drawn as to take an act of primary infringement and
              ask whether or not a person [the secondary infringer] has authorised that act of primary
              infringement. In answering that question there will be “matters” that must be taken
              into account. These include, but are not confined to, the matters identified in paras (a),
              (b) and (c). Was there any relationship that existed between the primary infringer and
              the (alleged) secondary infringer? If so, what was its nature (para (b))? Did the
              secondary infringer have power to prevent the primary infringement? If so, what was
              the extent of that power (para (a))? Other than the exercise of that power, did the
              secondary infringer take any reasonable steps to prevent the primary infringement, or
              to avoid the commission of that infringement (para (c))?
                                                                                     [emphasis added]

419    As to the question of contended direct infringement or “primary infringement” (on the part of
       either the artist or Redbubble), to use the language of Gummow and Hayne JJ in Roadshow
       Films, the following matters should be noted.

420    The image at Example 1 containing the artistic work in suit was uploaded to the Redbubble
       website by a person named De Ann Troen from an address in Virginia in the United States of
       America on 21 September 2014. It was removed from the Redbubble website on 30 December
       2014 as a result of Mr Bolam’s letter of complaint to Redbubble of 24 December 2014. The




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      artwork has never been reinstated to the website. In the period it remained on the website, two
       consumers/users purchased a product bearing the artwork through the website. It was viewed
       on the website 304 times. It may be that the artwork was viewed by 304 separate members of
       the public although it is quite possible that one or more persons viewed the image a multiple
       number of times.

421    The image at Example 2 is a poster image in which the adult character wears a jacket which,
       in turn, displays the artistic work in suit. It was uploaded by a person named Mel Hok with a
       username of “LavaMel”. Ms Hok uploaded the artwork to the website on 17 November 2009
       from an address in West Yorkshire, England. The artwork was removed from the website on
       30 December 2014 and was never reinstated. Four consumers/users purchased a product
       (poster) bearing the artwork. It was viewed 1,724 times.

422    The image at Example 3 which I accept involves a reproduction of a substantial part of the
       artistic work in suit, was uploaded to the website by a user named Becks Boyd from an address
       in Addlestone in the United Kingdom. It was uploaded on 4 August 2015 and removed from
       the site on 25 November 2015. It has never been reinstated. One consumer/user purchased a
       product bearing the artwork through the website. It was viewed 767 times.

423    The image at Example 4 was uploaded by a person named Pandora Kelly with the username of
       “Original Apparel” from an address in Winterton in the United Kingdom. It was uploaded on
       31 March 2015 and removed from the website on 3 April 2015. The artwork was never
       reinstated and in the period in which it was online, it was viewed 11 times.

424    Thus, in none of the four examples was the artwork uploaded to the website “in Australia”.

425    There is no doubt that the artwork, that is, the selection of the content of that which was
       uploaded to the website and thus initially made available online to those persons seeking to
       interrogate the website from any particular jurisdiction, originated with each artist: De Ann
       Troen, Mel Hok, Becks Boyd and Pandora Kelly, and for that matter, in principle at least, every
       other artist who has placed an artwork “on” the website by engaging the uploading protocols
       described by Mr Kovalev, although, of course, the “original image” is stored on the servers in
       the United States and a “copy” is able to be seen by searching the website galleries of images.
       Mr Kovalev says that the “copy” is on a “back end server” also in the United States.
       Nevertheless, he accepts that one cannot get to those images so stored without going onto and




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      through the website in the sense of engaging with the website and undertaking the steps he
       describes so as to access a particular work.

426    It follows that the “act” of uploading the image in each case was done, I infer, by each artist
       although it is clear that if any of the four artists immediately relevant to the examples presently
       in issue (or any other artist, in principle, seeking to upload an image to the website) had
       experienced difficulty in uploading the image (or should any artist experience such difficulty),
       the “team” at Redbubble charged with assisting artists experiencing difficulty in uploading, is
       ready to engage so as to help the artist place the work online.

427    Thus, each of the four artists may have exercised one of the exclusive rights of the owner of
       the copyright in the relevant work in the jurisdiction where the act of uploading occurred. None
       of these acts of uploading occurred in Australia.

428    However, each artist, by uploading the work to the website, has nevertheless made the work
       available online to members of the public in Australia. Any member of the public in Australia
       using a computer, smart phone or other device enabling an internet connection and operating
       any one of the many search engines would be able to locate the Redbubble website through use
       of an internet browser, engage the functions of the website described by Mr Kovalev and,
       through the website, see the uploaded images in suit containing the artistic works in suit (that
       is, the work or at least a work being a substantial copy of the artistic work in suit).

429    The Redbubble business model was expressly designed to enable members of the public in
       Australia (relevantly in this case; and worldwide or at least in a wide-range of particular
       jurisdictions), to interrogate any or all of the images on the website in the hope that a
       user/consumer in Australia (and in other places) would find an image of sufficient appeal to
       engage the consumer in a transaction bringing about the purchase of a product bearing an
       application of the work to that product, for the very purpose of generating revenue for
       Redbubble (now a listed entity in which members of the public may buy shares on market
       valued in the main as a function of a multiple of net earnings) and, of course, revenue for the
       artist. However, the act of the artist in uploading the image to the website and thus making the
       work available online to the public must be an act “done” (that is, an exercise of the exclusive
       right), “in Australia” and therefore, none of the artists in the examples in suit can be regarded
       as a “primary infringer” in the territorial sense contemplated by s 36(1) because the relevant
       act was not done “in Australia”.




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430   In this case, it is clear that Redbubble is not the originator of any of the four images in suit in
       these proceedings uploaded to its website. Each artist placed the image on the website in the
       various jurisdictions. However, Redbubble established a business model which enabled each
       image to be uploaded to its website. Redbubble operates the website which enables any person
       interrogating the website, in Australia, to view particular material notwithstanding that the
       electronic pipeline from the user’s computer or device, in Australia, through which those
       images are seen, ultimately leads to servers located in the United States. Although the artist is
       the originator of the works uploaded to the website, the relevant phrase to be considered in
       s 22(6) is the phrase “made by the person responsible for determining the content of the
       communication” [emphasis added], that is, the particular communication in question. Thus, it
       is necessary to have regard to the relevant communication. It may be that, having regard to the
       relevant facts in any given case, more than one person is responsible for determining the content
       of a communication in question.

431    The first relevant communication occurred on 18 November 2014 when Mr Hansen, using his
       computer in Australia (having a designated IP address characterised typically by a sequence of
       numbers; for example, an IP address for a computer might contain numbers like this:
       177.16.254.1), conducted a search using the Google search engine to locate the Homepage of
       the Redbubble website, enter a search field “Hells Angels”, click the search button and receive,
       in Australia, a communication in the form of search results that included Example 1 being the
       image displayed on the “Unisex T-shirt”. The same steps were undertaken on other dates that
       resulted in a sequence of other communications of other images as already described:
       [53]-[65]; [300]-[311].      Is Redbubble responsible for determining the content of the
       communication to Mr Hansen on each occasion on the relevant dates as earlier described?

432    In Universal Music Australia Pty Ltd v Cooper and Others (2005) 150 FCR 1, Tamberlin J
       considered whether the operator, manager and owner (Mr Cooper) of a “highly structured and
       organised website” (at [13]; the “Cooper website”) which contained hyperlinks to thousands of
       sound recordings located on remote websites from which those sound recordings could be
       downloaded directly to the computer of the internet user, was “the person responsible for
       determining the content of the communication”. As to the Cooper website, Tamberlin J said
       this at [74] to [76]:

               74      On the natural and ordinary meaning of the words used in s 22(6), in the
                       context of the present dispute, I do not think it can be said that a person who is
                       the proprietor, manager or operator of a website which provides hyperlinks to




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                     other websites on which the sound recordings are hosted determines the
                     content of the communication. It is artificial in the extreme to suggest that the
                     person or body who facilitates access from the website to a remote site and
                     provides a trigger which enables sound recordings to be downloaded from that
                     remote site is responsible for the content of the communication from the
                     remote website. The fact is that, on the evidence, Cooper does not
                     “determine”, “formulate” or “create” the content of the remote website from
                     which the communication takes place.
             75      The applicants point to Cooper’s ability to control the links on his website, to
                     determine precisely what files would be made available by means of the links
                     created on his website and the manner in which the files were made available
                     to internet users as indicative of his responsibility for determining the content
                     of the communication. However, a power to remove a hyperlink to a remote
                     website from the Cooper website is not a power or responsibility for
                     determining the content of that remote website and the content of the
                     communication to the internet user. The capacity to prevent hyperlinks from
                     being added to the website, and therefore to prevent internet users from
                     accessing sound recordings via the Cooper website, is not the same as the
                     ability to determine the content of a communication from a remote website. In
                     cross-examination, Mr Speck [an expert] agreed that Cooper had no control
                     over whether a music file remained available on a remote website. …
             76      It is the entitlement and role of the designer, operator and owner of a remote
                     website to determine what is placed on that website and therefore what is the
                     “content” of that website. If the content includes infringing copyright material,
                     then the responsibility for that lies with the person or persons who place that
                     material on the remote website and thereby make it available for transmission
                     to the public. …
                                                                              [bold emphasis added]

433   Although Mr Hansen was the individual who requested a communication by engaging with the
      Redbubble website and placing the search term in the search box and clicking the search button,
      it was Redbubble and Redbubble’s software located on the server in the United States which
      caused the communication to be made to Mr Hansen and it was Redbubble’s software that
      determined the content of the communication to Mr Hansen’s computer by causing the relevant
      images to be displayed on it in Australia. In Roadshow Films Pty Ltd and Others v iiNet Ltd
      (2011) 194 FCR 285, a decision of the Full Court, Nicholas J observed that the content of the
      relevant communication (on the facts in that case) was determined by the person who responded
      to the request not the person who made the request: [685]. A similar view was adopted by
      Emmett J at [166].

434   No doubt, in every case, the answer to the question of identifying the person responsible for
      determining the content of the communication is a fact-specific and fact-intensive inquiry. In
      this case, the facts, in my view as set out in these reasons, speak for themselves.




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435   The business model as described by Mr Hosking and its working operation as described by
      Mr Kovalev makes it plain that Redbubble is not in the nature of an ISP linking a user to remote
      websites. It is not an intermediary providing a transmission service between particular
      participants. It owns, operates, manages and controls the website and conducts a transactional
      enterprise in which it facilitates the uploading of images, the interrogation of those images in
      Australia, relevantly, by users, with a view to enabling sales to consumers of articles bearing
      the relevant images. It has a detailed business model in which it derives revenue from each
      transaction and controls every step of the transactional engagement between an artist and a
      buyer. It confirms the sale. It facilitates payment. It organises a fulfiller to apply the work to
      the relevant goods. It facilitates delivery of the goods to the buyer. It generates email responses
      which not only confirm the order but track every step of the transaction. It affixes its own trade
      marks to the goods. It says that it does not directly do that but there is no doubt that an essential
      part of its business model is ensuring that fulfillers affix the Redbubble trade marks to the
      goods. The labels bearing the trade marks are on the goods as delivered to each buyer.
      Although I will address the trade mark case shortly, the reference to Redbubble’s trade marks,
      in this context, is simply to note another feature of the extent of Redbubble’s engagement in
      and association with each transaction. It is Redbubble’s business. But for the Redbubble
      website, the transactions would not occur. The artworks would not be available online to
      consumers in Australia to consider and appraise with a view to purchasing a product bearing
      the artwork. The entire focus of the business model is to enable works to be made available
      online so that consumers can pick and choose amongst the works so as to have them applied to
      goods. It would be difficult to imagine a more directly engaged participant than one deploying
      the business model adopted by Redbubble. Although Redbubble describes itself as the “agent”
      of the artist (presumably as principal), the relationship is not, in truth, a relationship of agent
      and principal. Redbubble acts as an “independent contractor” to “facilitate the transaction” as
      the Redbubble User Agreement and Appendix A to the Services Agreement makes plain: [245]
      and [246] of these reasons. The artist, in truth, is not the “seller” in the classic sense in which
      that term might be understood because Redbubble is the supplier as the facilitator of all of the
      essential elements of the transaction with the consumer in an analogous way to that discussed
      in: International Harvester Company of Australia Pty Ltd v Carrigan’s Hazeldene Pastoral
      Company (1958) 100 CLR 644 at 653; Heidelberg Graphics Equipment Ltd v Andrew Knox &
      Associates Pty Ltd (1994) ATPR 41-326 at 42, 310-11, notwithstanding that the nature of the
      technology is different to the forms of distribution arrangement in those cases.




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436   I am satisfied that Redbubble, in Australia, by its business model deployed in Australia, has
       made the artistic work in suit available online in Australia and I am satisfied that Redbubble is
       the person responsible for determining the content of the communications to Mr Hansen for all
       the reasons mentioned above.

437    It is not necessary to consider whether Redbubble is authorising, as a secondary infringer,
       infringements by a primary infringer. In this case, Redbubble is the primary infringer in respect
       of the examples in suit.

438    However, had I concluded that an act of primary infringement had occurred because an artist
       had, in Australia, done an act of making the “work available online to the public”, or, had
       exercised, in Australia, the reproduction right by electronically reproducing the artistic work
       in suit (or a substantial part of) by uploading and thus causing the reproduction to be presented,
       in Australia when a member of the public interrogates the website and views an electronic
       reproduction of the work, I would have concluded that Redbubble had authorised that primary
       infringement for these reasons.

439    First, the relationship between the artist and Redbubble is one in which Redbubble conceived,
       deployed, operates, manages and controls the means by which the artist makes the work
       available for application to relevant goods. It is the supplier to the consumer of the goods
       bearing the work. It controls and dominates the supply-side process.

440    Second, Redbubble has the “power” and “control” of the website and the entire process as
       described. It is at the centre of the entire method. It has the power to prevent continuing
       infringements. It has the power to moderate. Its moderation steps seem not to operate in a way
       which prevents the same “offending” work to be uploaded immediately to the website under a
       different URL, even though the work has been moderated under an uploaded URL: [282] to
       [292] of these reasons.

       The trade mark claims of the applicant
441    The question of whether Redbubble has infringed any of the trade marks of HAMC US in suit
       falls to be determined by reference to s 120 of the Trade Marks Act.

442    The integers of s 120(1) are well-known. Redbubble infringes a registered trade mark of
       HAMC US (at the suit of the authorised user) if Redbubble uses, as a trade mark, a sign that is
       either substantially identical with, or deceptively similar to, the relevant HAMC US trade mark,
       in relation to goods (or services) in respect of which the trade mark is registered.




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443   The specification of the classes of goods for which each HAMC US trade mark is registered
       relevant to the infringement case is set out at [37] to [43] of these reasons.

444    Section 7(4) of the Trade Marks Act provides that use of a trade mark “in relation to goods”
       means use of the trade mark upon, or in physical or other relation to the goods.

445    As to substantial identicality, the marks are to be compared side-by-side for their similarities
       and differences having regard to the essential features of the registered mark and the total
       impression of resemblance or dissimilarity that emerges from the comparison: The Shell
       Company of Australia Limited v Esso Standard Oil (Australia) Limited (1963) 109 CLR 407 at
       414, Windeyer J (“Shell v Esso”). As to deceptive similarity, the issue is not abstract similarity,
       but deceptive similarity and, accordingly, the comparison is “between, on the one hand, the
       impression based on recollection of the plaintiff’s mark that persons of ordinary intelligence
       and memory would have; and, on the other hand, the impressions that such persons would get
       from the defendant’s [sign, mark or image]”: Shell v Esso at 415, Windeyer J.

446    Section 120(2) contains the same integers as s 120(1) except that the relevant use is in relation
       to goods of the “same description as that of goods (registered goods) in respect of which the
       trade mark is registered” (s 120(2)(a)) or “services that are closely related to registered goods”
       (s 120(2)(b)). Since there are no registered service marks in suit in the infringement case,
       s 120(2)(c) and (d) have no role to play in this proceeding.

447    Unlike s 36(1) of the Copyright Act, neither s 120(1) nor s 120(2) expressly requires that the
       impugned (use) occur “in Australia”. Again, Redbubble contends that because the Redbubble
       software executes on servers in the United States, any contended use (quite apart from any
       other integer of s 120), of any of the trade marks of HAMC US is an act executed on servers in
       the United States.

448    As to Example 1 at [44] of these reasons, the questions in issue are these.

449    First, whether, when Mr Hansen, acting on his computer, in Australia, engaged with the image
       he saw (by engaging the search protocols of the Redbubble website) displayed on the Unisex
       T-shirt displaying the elements of Trade Mark 526530 with the addition of the word “Virginia”
       as the “bottom rocker”, the device in Trade Marks 723463 and 1257993 and the words “Hells
       Angels” being the word marks of Trade Marks 723219 and 1257992, was Redbubble “using”
       the “sign” displayed to Mr Hansen as Example 1, as a trade mark, in relation to goods in
       respect of which the relevant trade mark is registered.




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450   Second, whether any “use” occurs in Australia.

451   Third, whether the sign so displayed as Example 1 is a sign substantially identical with or
      deceptively similar to any one of those registered trade marks said to be infringed.

452   Example 1 displays the image applied to a T-shirt. Mr Hansen engaged in a transaction which
      involved the application of the image to a T-shirt. As to T-shirts, Trade Mark 526530 is not
      registered in relation to clothing.

453   As to Trade Mark 723219 for “Hells Angels”, it is registered in Class 25 of Schedule 1 to the
      Regulations, for “clothing” including particular items.

454   As to the device the subject of Trade Mark 723463, it is also registered in Class 25 of
      Schedule 1 of the Regulations, for “clothing”.

455   The word mark “Hells Angels”, Trade Mark 1257992, is registered in Class 25 of Schedule 1
      to the Regulations, for “articles of clothing” and the Device Mark 1257993 is also registered
      for “articles of clothing”.

456   The image at Example 1 contains the words “Hells Angels” with the addition of the device of
      the side view of the Death Head. I am satisfied that the image engages a “use” of the identical
      Trade Marks 723219 and 1257992 with an addition, and the addition, in any event, is the device
      represented by Trade Marks 723463 and 1257993. Thus, the use is use of a sign substantially
      identical with those registered trade marks. I am also satisfied that it is use “in relation to”
      goods (clothing) in respect of which each trade mark is registered.

457   Whose use is it? Is it use by Redbubble? If so, is it use, as a trade mark, by Redbubble, that
      is, use as a badge of origin of the goods for which the marks are registered, or services “closely
      related” to the “registered goods”, in the sense contemplated by s 120(2)(b) of the Trade Marks
      Act? Is it use “in Australia”?

458   Redbubble says that an artist, De Ann Troen, has acted, in Virginia, to upload the image at
      Example 1 to the website. The “work” of the artist is offered by her for application to goods,
      including clothing. The purchase by Mr Hansen concerned application of the work to a T-shirt.
      There is, no doubt, that Ms Troen was, by uploading the work, seeking to engage consumers,
      commercially, (that is, in trade) with the commercially attractive force of the recognised name
      and image (the side view Death Head) of Hells Angels. That livery is the subject, as a matter




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      of law, of the registered word marks and registered device marks of the Hells Angels special
       purpose vehicle, HAMC US.

459    I accept that Ms Troen is using the registered trade marks (as earlier identified) as a trade mark
       in the sense of a badge of origin of her work and inviting consumers to apply the work in
       physical relation to goods for which the relevant marks are registered.

460    As to Redbubble, that company is “in the business” of facilitating the supply of products
       bearing the uploaded image of Ms Troen (in this example) or, put another way, Redbubble is
       in the business of facilitating the supply of clothing bearing, put simply, the registered trade
       marks of HAMC US (in this example). Redbubble is not the “seller” of artwork. However, it
       is the supplier, in the sense that it is responsible for all of the transactional supply-side elements
       of a transaction for the supply of goods bearing the applied works.

461    Redbubble has created a business model designed to enable users, in Australia (and, for that
       matter users in all jurisdictions in which the website is accessible), to find images through the
       website comprised of, in this example, Ms Troen’s image made up of the identified trade marks
       of HAMC US. Redbubble enables images containing the relevant trade marks to be presented
       to buyers of particular goods (nominated by the artists from the website categories of those
       goods to which the work can be applied) expressly for the purpose of facilitating the supply of
       goods (clothing, in this example) to which the marks are applied. It does so by and through the
       functions and protocols of the website engaged by Mr Hansen (and other potential viewers of
       the image), in Australia.

462    Redbubble is the supplier of the goods (clothing) bearing the trade marks because it enables
       the sale and purchase transaction, confirms the order, takes payment, receives revenue for itself
       and facilitates revenue payable to the artist, instructs the fulfiller, arranges delivery and places
       its own name and logo on the goods in the form of swing tags as part of its set of procedures
       for the supply of the goods. The artist makes the work available for selection by consumers for
       application to selected goods. Redbubble is directly engaged in all facets of the transaction for
       the supply of goods bearing the works, to the consumer. That is the way the Redbubble
       business model works, and the way that it is designed to work.

463    I have had regard to the expert evidence of Dr Brent Coker on this topic.

464    Dr Coker provides expert evidence in relation to marketing and image and brand management
       and he expresses the view that having regard to the presentation of the website and the way in




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      which it engages with artists and users, Redbubble is not a seller of goods bearing the mark. I
       have taken that view into account but the question of whether Redbubble is acting, on the facts
       as accepted, as a supplier of the goods bearing the marks needs to be considered against a
       careful consideration of the working application of the business model in a very practical way.
       I am satisfied that all of the features of the Redbubble model render it a supplier of the goods
       bearing the marks because it exercises management, control and power in relation to all of the
       steps (apart from uploading) which characterise conduct of transactional supply.

465    It seems to me that in that sense, Redbubble is also “using” the trade marks, in Australia, within
       its own business model, to generate revenue from the supply of goods (clothing) bearing marks
       or signs substantially identical with the relevant registered trade marks as earlier identified.
       Redbubble is using the relevant registered HAMC US trade marks for the purpose of indicating,
       or so as to indicate, a connection in the course of its trade between clothing bearing the marks,
       and Redbubble, as a source of supply of those goods.

466    Moreover, Redbubble, as an aspect of the indicia of the depth of Redbubble’s engagement in
       the supply-side set of steps relating to goods bearing the relevant image, has registered its own
       name as a trade mark in Class 25 of Schedule 1 to the Regulations for some items of clothing
       and the Redbubble name and logo are registered in many classes of goods. At [172] of these
       reasons, the field of goods and services of Redbubble’s registrations is set out. These “goods
       registrations” suggest that Redbubble necessarily sees itself as using, or intending to use, its
       word mark and logo so as to distinguish “goods” (so far as the goods classes are concerned)
       dealt with or provided, in the course of its trade, from goods so dealt with “by any other
       person”: s 17 of the Trade Marks Act.

467    Redbubble also says that it provides: printing services (T-shirt printing, textile printing,
       photographic printing (Class 40)); clothing and fashion design services (Class 42); clothing
       design services (Class 42); and business services to facilitate creative expression (Class 35).
       The services of T-shirt printing, textile printing and business services to facilitate creative
       expression, seem to be services, having regard to the elements of the Redbubble business model
       deployed by Redbubble, falling within the description of services “closely related” to
       “registered goods”, that is, goods in respect of which the HAMC US trade marks relevant to
       Example 1 are registered.

468    I am satisfied that Redbubble is “using” the HAMC US registered trade marks relevant to
       Example 1, within its own business and revenue model, in the course of its supply-side




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      transactional trade effected through the Redbubble website, in relation to the supply of goods
       (T-shirts) bearing the marks, in respect of which the HAMC US trade marks, relevant to
       Example 1, are registered. Redbubble is, in that sense, “using” the HAMC US registered trade
       marks as a badge of origin of supply and distribution within its trading activity as the source or
       origin of supply of goods bearing those particular marks.          In other words, put simply,
       Redbubble is saying, by its business model, in effect: “If you come to Redbubble you can get
       this T-shirt online from us bearing the Hells Angels trade marks”.

469    The capacity to engage, in Australia, through the website, as Mr Hansen did, constitutes use in
       Australia by Redbubble.

470    As to Example 2 at [44] of these reasons, I am not satisfied that displaying an image of a young
       child wearing a jacket, viewed from the back, sitting next to an adult wearing a jacket (also
       viewed from the back) on which the mark “Hells Angels” and the device mark can be seen in
       the image, amounts to “use” by either the artist or Redbubble of any of the relevant HAMC US
       registered trade marks, as a trade mark, in connection with goods for which the trade marks
       are registered. The image called “Angel with Angel” (which in itself is a parody) is an image
       for application to a poster. The material matter is the parodic composition of the image made
       up of a child (an angel) with an adult (a “Hells Angel”).

471    There is no trade mark infringement involved.

472    As to Example 3 at [44] of these reasons, this image falls into the same analysis as Example 1
       except that the relevant HAMC US registered trade marks are 723463 and 1257993 in respect
       of the device of the side view of the Death Head. Each mark is registered in Class 25 for
       articles of clothing. I am satisfied that the image is “deceptively similar” to each mark having
       regard to s 10(1) of the Trade Marks Act and the principles identified by Windeyer J in Shell v
       Esso at 415. That follows because, in respect of the views of the image, in the course of
       members of the public in Australia engaging with the website, there is a real and tangible
       danger of some of those persons being “caused to wonder” whether the image is that of the
       trade marks of HAMC US, and being caused to wonder whether Redbubble has the authority
       or approval of the owner (HAMC US) to use the registered trade marks within its business
       model, as it does. This image was viewed 767 times. However, there is only one sale.

473    Two other things are important in relation to this example. First, the artist uploaded the image
       giving it a description as a title which uses the words “Hells Angels” which is the word mark.




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     Second, Mr Hansen saw and was led to the image by searching the website on 9 November
      2015 using the search term “Hells Angel”, a term virtually identical to the word mark “Hells
      Angels”. In other words, consumers searching the website in Australia using the search term
      “Hells Angels” (or “Hells Angel” or either of those terms with or without an apostrophe) could
      have been taken (as Mr Hansen was taken) to the image at Example 3 (as was the case for all
      four examples). Having found the image at Example 3 in that way, the Redbubble website was
      telling a consumer (that is, triggering cognitive cues in the mind of the consumer) that the
      image found by reference to that search term has, one way or another, a connection or
      association with images related to the Hells Angels Motorcycle Club. Accordingly, the search
      protocols have the effect of leading consumers to an image that causes them to have “cause to
      wonder” in the sense contemplated by Windeyer J in Shell v Esso at 415. As to the factual
      matters, see [64] and [309] of these reasons.

474   Example 4 falls into the same analysis as Example 1. The relevant trade marks are 723219,
      723463, 1257992 and 1257993. In the example, use of the marks is in relation to clothing for
      which each mark is registered. I am satisfied that the image is substantially identical with the
      device marks. The words “Hells Angels” appear in the image being identical to the two word
      marks. However, in this case, the image was seen or viewed only 11 times and no sales arose
      from its exhibition.

475   Accordingly, I am satisfied that Redbubble has infringed the registered trade marks of
      HAMC US as identified in respect of Examples 1, 3 and 4.

476   However, I am not satisfied that any infringement has occurred in respect of Example 2 for the
      reasons already indicated.

477   It is now necessary to turn to aspects of the cross-claim by the respondent.

      The cross-claim by Redbubble
478   The table below sets out each trade mark of the applicant in suit, the relevant class and the
      goods for which each mark is registered.




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    The Registered Trade Marks Class            Goods or Services

             526530            16    Printed matter including magazines, pamphlets
                                     and brochures, labels in this class, flags in this
                                     class, instructional and teaching material (except
                                     apparatus), playing cards, stationery including
                                     pens and posters.




             723219            9     Recordings: Apparatus for recording,
                                     transmission or reproduction of sound or images
         HELLS ANGELS                including recording discs, tapes, compact discs,
                                     films and video tapes; computer software life
                                     saving equipment including protective helmets.

                               12    Motorcycles; automotive parts and accessories
                                     including motorcycle components and accessories,
                                     motorcycle engines and engine parts.

                               14    Jewellery, precious stones, watches and clocks,
                                     rings, metal badges and belt buckles.

                               16    Printed matter including magazines, pamphlets
                                     and brochures, labels in this class, flags in this
                                     class, instructional and teaching material (except
                                     apparatus), playing cards, stationery including
                                     pens and posters.

                               25    Articles of clothing, footwear and headwear,
                                     including coats, jackets, trousers, overalls, shirts,
                                     pullovers, sweaters, hats, vests, waistcoats,
                                     cardigans and belts (for wear).

                               26    Badges and belt buckles not being made of
                                     precious metal, embroidered and cloth material
                                     badges for attachment to clothing and headgear.

                               28    Sporting equipment: toys, games and playthings;
                                     gymnastic and sporting articles.

                               41    Entertainment services; sporting and cultural
                                     services including wrestling and boxing,
                                     educational and training services, concert and
                                     discotheque services, organisation of exhibitions
                                     especially relating to motorcycles for educational
                                     and cultural purposes.




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                                   #:4093
             723463          9   Recordings: Apparatus for recording,
                                 transmission or reproduction of sound or images
                                 including recording disks, tapes, compact disks,
                                 films and video tapes; computer software life
                                 saving equipment including protective helmets.

                              12    Motorcycles; automotive parts and accessories
                                    including motorcycle components and accessories,
                                    motorcycle engines and engine parts.

                              14    Jewellery, precious stones, watches and clocks,
                                    rings, metal badges and belt buckles in this class.

                              16    Printed matter including magazines, pamphlets
                                    and brochures, labels in this class, flags in this
                                    class, instructional and teaching material (except
                                    apparatus), playing cards, stationery including
                                    pens and posters.

                              25    Articles of clothing, footwear and headwear,
                                    including coats, jackets, trousers, overalls, shirts,
                                    pullovers, sweaters, hats, vests, waistcoats,
                                    cardigans and belts (for wear).

                              26    Badges and belt buckles not being made of
                                    precious metal, embroidered and cloth material
                                    badges for attachment to clothing and headgear,
                                    headbands and armbands not being of leather.


           1257992            14    Jewellery, precious stones, watches and clocks,
                                    rings, metal badges and belt buckles in this class.
       HELLS ANGELS
                              16    Printed matter including magazines, pamphlets
                                    and brochures, labels in this class, flags in this
                                    class, instructional and teaching material (except
                                    apparatus), playing cards, stationery including
                                    pens and posters.

                              25    Articles of clothing, footwear and headgear,
                                    including coats, jackets, trousers, overalls, shirts,
                                    pullovers, sweaters, hats, vests, waistcoats,
                                    cardigans and belts (for wear).

                              26    Badges, belt clasps, lace and embroidery, buttons,
                                    headwear ornaments, patches for repairing textile
                                    articles, pins and needles.

                              41    Entertainment services; sporting and cultural
                                    services including wrestling and boxing,




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                                      educational and training services, concert and
                                      discotheque services, organisation of exhibitions
                                      especially relating to motorcycle for educational
                                      and cultural purposes.


                  1257993                    14     Jewellery, precious stones, watches and clocks,
                                                    rings, metal badges and belt buckles.




                                             16     Printed matter including magazines, pamphlets
                                                    and brochures, labels in this class, flags in this
                                                    class, instructional and teaching material (except
                                                    apparatus), playing cards, stationery including
                                                    pens and posters.

                                             25     Articles of clothing, footwear and headgear,
                                                    including coats, jackets, trousers, overalls, shirts,
                                                    pullovers, sweaters, hats, vests, waistcoats,
                                                    cardigans and belts (for wear).

                                             26     Badges, belt clasps, lace and embroidery, buttons,
                                                    headwear ornaments, patches for repairing textile
                                                    articles, pins and needles.

                                             41     Entertainment services; sporting and cultural
                                                    services including wrestling and boxing,
                                                    educational and training services, concert and
                                                    discotheque services, organisation of exhibitions
                                                    especially relating to motorcycle for educational
                                                    and cultural purposes.



479   Redbubble says, for the purposes of s 92(4)(b) of the Trade Marks Act, that at no time during
      a period of three years ending one month before the day on which Redbubble’s notice of
      cross-claim was filed (that is, between 5 October 2012 and 5 October 2015) did HAMC US
      use any of the registered trade marks in Australia in relation to any of the goods or services in
      respect of which the registered trade marks are registered. Accordingly, Redbubble seeks an
      order pursuant to s 92(3) of the Trade Marks Act for an order directing the Registrar to remove
      each trade mark from the Register.

480   Accordingly, the relevant period of non-use is 5 October 2012 to 5 October 2015 (the “relevant
      period”).




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481   I accept that in the relevant period HAMC US has not itself directly used any of the registered
       trade marks. HAMC Aust says that it has used the registered trade marks in the relevant period
       as an authorised user of HAMC US. I have already concluded that HAMC Aust is an
       authorised user of the marks of HAMC US for the purposes of s 8 of the Trade Marks Act.

482    HAMC US, as the opponent to the application for removal, has the onus of rebutting the
       contention made by Redbubble under s 92(4)(b); s 100(1)(c) of the Trade Marks Act.

483    Even though HAMC Aust is an authorised user of the registered trade marks of HAMC US,
       use of the registered trade marks by HAMC Aust is “an authorised use” to the extent only that
       the user uses the trade mark under the control of the owner of the trade mark. For present
       purposes, that means use under the control of the owner of the trade mark in the relevant period:
       s 8(2). Section 7(3) provides that an authorised use of a trade mark by a person is taken, for
       the purposes of the Trade Marks Act, to be use of the trade mark by the owner of the trade
       mark.

484    Accordingly, I will examine two questions. First, whether there was use by HAMC Aust of
       any of the trade marks in the relevant period and, second, whether that use was an authorised
       use.

       Use of any of the trade marks by HAMC Aust
485    The first evidence to note on this topic is the evidence of Mark Nelms given by his affidavit of
       30 March 2017.

486    I have already examined aspects of the evidence of Mr Nelms and, particularly, his evidence
       at para 22. Mr Nelms says that there have been many motorcycle shows and motoring events
       in every Australian State, annually, and that many of these events have been the subject of
       articles published in lifestyle magazines nationally as well as in the mass media. He nominates
       publications such as “Live to Ride”. He says that many of the events of the Hells Angels Club
       have been publicised on “national radio” and “television channels”, “for advertising”. He says
       that HAMC Aust has produced, and produces, books, CDs, DVDs, audio-visual recordings and
       calendars all of which are available for sale and sold to the public, both through the “various
       charters, events and websites”. He then mentions the six examples given at para 22 of his
       affidavit (quoted at [329] of these reasons).

487    Mr Nelms says that books have been published about the Club and those works contain
       reproductions of the registered trade marks and he says that Club members, only, may purchase




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      or have made, items such as jackets and belt buckles which bear the registered trade marks. He
      says that HAMC Aust has operated two URLs at which the registered marks are publicly
      displayed. He says it has done so “for a number of years”. Again, Mr Nelms says that the
      registered trade marks are prominently displayed in newspaper publications and Australian
      national lifestyle magazines.

488   The difficulty with this evidence is that Mr Nelms does not identify, with any particularity,
      specific things sold and done in the relevant period. Moreover, in his affidavit at para 47,
      Mr Nelms refers to Annexure PTB-51 to Mr Bolam’s affidavit which sets out a Schedule
      identifying each mark and the goods or services. The Schedule has a column which identifies
      whether the relevant mark was or was not used in the relevant period in relation to particular
      goods or services. Mr Nelms then embraces the accuracy of that Schedule. I have ruled para 47
      of the affidavit of Mr Nelms inadmissible because it simply swears the issue by cross-reference
      to an unparticularised schedule.

489   As to Mr Bolam’s Schedule at PTB-51, it provides no details of use in the relevant period and
      Mr Bolam’s affidavit on this topic, by the schedule, is not probative of the fact in issue, by
      itself.

490   Mr Hansen, however, has given evidence about examples of use.

491   Mr Hansen says in his affidavit of 16 June 2017 that on or about 25 March 2015 he ordered,
      on behalf of HAMC Aust, 35 black T-shirts from Print ‘n Wear Pty Ltd in an amount of
      $1,072.75. The T-shirts were supplied and he took a photograph of the images on them. Those
      images are set out at [394] of these reasons and the images show the word marks “Hells Angels”
      and the side Death Head device mark. He on-sold these T-shirts, or a number of them, to
      members on 28 March 2015 and 7 April 2015.

492   On 6 December 2012, he sold to members 100 stickers from a batch of stickers he had acquired
      on behalf of HAMC Aust in March 2012. Examples of the stickers are set out below.




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493   Mr Hansen says that an anniversary card is distributed to members on the anniversary of the
      Club each year and this occurred in 2012, 2013, 2014 and 2015. The image of the card is set
      out below.




494   Mr Hansen also says that on 3 September 2015 and 28 September 2015 sales occurred for 54
      pins (in total) which are metal badges in three-dimensional form which take the shape of the
      side view of the Death Head device. An image of the pin is set out below.




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495   Mr Hansen also says that in August 2015 there was a presentation of a motorcycle to a member
       of 40 years standing. The motorcycle was endorsed with the trade mark “Hells Angels” and
       the side view of the Death Head. See the image below.




496    Mr Peter Keith Stacy also swore an affidavit on this topic.

497    Mr Stacy is a member of the Adelaide Chapter of the Hells Angels Motorcycle Club and he
       has been a member continuously for 29 years. He is also the Treasurer of the Adelaide Chapter
       and he has been National Secretary of the Club for the last 15 years. Mr Stacy says that during
       the relevant period in his role as National Secretary he did these things on behalf of
       HAMC Aust. He received orders and payments from members or Chapters of the Club for
       goods that reproduce certain of the trade marks of HAMC US. He ordered and took delivery
       of those goods from suppliers. He arranged delivery of the goods to the respective members
       or Chapter of the Club and he accounted to HAMC Aust for the payments received for the
       goods.

498    Mr Stacy says that members of the Club in Australia (as well as overseas) are provided with a
       catalogue comprising images identifiable by orders numbers so as to select and order items
       manufactured in satin or cotton. The catalogue has been used by members since about 2011.
       He exhibits a copy of the catalogue to his affidavit (PKS-2).

499    The trade marks the subject of the cross-claim appear in the catalogue at pp 15, 16, 20, 27 to
       29 and 31 and 32. He says that in the relevant period members and Chapters of the Club were
       charged a fee for the purchase of items ordered from the catalogue. Mr Stacy annexes at PKS-3




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      a document which he says is an order form used by members and Chapters of the Club for
      placing orders with him for items in the catalogue at PKS-2. Mr Stacy also annexes to his
      affidavit minutes of meetings which refer to various purchase orders by various Clubs for
      “patches and flashes” bearing the HAMC US trade marks. The minutes which refer to these
      purchases and the dollar value of the orders, the Clubs, the total owed and other financial
      aspects of the transactions, of relevance for present purposes are 26 January 2013, 24 August
      2013, 9 November 2013, 1 March 2014, 31 May 2014 and 2 May 2015.

500   Mr Stacy says that during the relevant period, as Treasurer, he preferred that a Chapter collect
      orders and payments from Chapter members and then place an order with him on behalf of
      those members. However, sometimes Mr Stacy also received orders directly from individual
      members. He exhibits at PKS-5 a copy of a bundle of emails received or sent by him to
      members or Chapters of the Club in Australia concerning orders received by him for items in
      the catalogue. Not all of the emails are in the relevant period. However, emails of relevance
      are emails dated 4 April 2015, 6 April 2015, 10 September 2015, 11 September 2015 and
      13 September 2015.

501   Mr Stacy says that throughout the whole of the relevant period he was directly contacted by
      members about orders for items in the catalogue marked PKS-2. He says that his practice was
      to tell these members that they should place their orders through the Treasurer of their Chapter
      using the form, an example of which is at PKS-3. He says that, in frustration, he eventually
      sent an email to representatives of the Chapters dated 16 February 2016 reminding them that
      the orders should be placed with Mr Stacy through the Treasurer of the Chapter and not directly
      with Mr Stacy. He says that although that email is not in the relevant period, it reflects upon
      conduct that was occurring during the relevant period in relation to orders for items bearing the
      trade marks.

502   Mr Stacy says that in his role as National Secretary of HAMC Aust he would place an order
      with “Europatch”, a European supplier of items listed in the catalogue at PKS-2, and that order
      was prepared using the orders he had received from members and Chapters of the Club for
      items in the catalogue. Mr Stacy’s practice was to send an order form which specified the
      catalogue order number of the relevant item, the number of items ordered, the material for the
      item (being either cotton or satin) and any further details required to properly describe the item.
      He would set out the costs of each item on the order form. He annexes an example of the order
      form from June 2014, October 2014, May 2015 and August 2015. The order forms reflect a




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      very extensive number of orders based on the catalogue. It also shows three orders for a “Hells
       Angels flag” described as either the “Hells Angel Australia flag” or the “Hells Angels CABRA
       Crew flag” or the “Hells Angels City Crew flag”

503    Mr Stacy also annexes to his affidavit invoices from Europatch dated 14 March 2014 (two
       invoices) and 26 May 2015 (three invoices) and an invoice dated 28 May 2015.

504    Mr Stacy says that the catalogue marked PKS-2 from which the members make their orders,
       contains all the available patches made from the relevant material and these patches are almost
       always sewn onto clothing to show that the product and the person wearing it are associated
       with the Club. Mr Stacy says that this material was being purchased and used extensively
       during the relevant period.

505    Mr Stacy says that in about 2006, a large quantity of DVD copies of a 1983 documentary
       entitled “Hells Angels Forever” was purchased by the Adelaide Chapter of the Club. He
       annexes to his affidavit at PKS-9 a copy of the artwork for the DVD showing the title and a
       copy of the artwork for the case in which the DVD was sold. Mr Stacy says that during the
       relevant period, the DVD was made available for sale including at events organised by the
       Adelaide Chapter of the Club. He says that, in particular, he can recall the DVD being available
       for sale at a regular rock concert, at Ponde, in South Australia (within the relevant period). He
       says that at these events the purchase price for the DVD tended to be paid in cash which he
       received and accounted for as Treasurer of the Adelaide Chapter of the Club. He says that over
       the years that the DVD has been sold, handwritten records of these sales have been kept and at
       PKS-10 he annexes a copy of handwritten records in respect of sales of the DVD in the relevant
       period (and outside the relevant period). He particularly refers to records dated May 2013
       (“received from East County from C. House – sales $1,490.00”) and 8 June 2013 (“from Gold
       Coast and Brisbane for DVD sales $1,600.00”).

506    Mr Paul Johnson also filed an affidavit of 16 June 2017 on this topic. He is a Work Boat
       Captain working from Weipa in Far North Queensland.

507    Mr Johnson has been a full member of the Darwin Chapter of the Club since 1999 and he has
       been responsible for planning and organising activities of the Chapter including a “National
       Run” held in Darwin in 2013. A National Run is an event at which the members of all Chapters
       of the Club from across Australia gather for a celebration or party. Members usually ride to
       the location of the National Run which, in 2013, was Darwin.




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508   Mr Johnson says that in the course of organising the 2013 National Run in Darwin, and with
       the permission of HAMC Aust, he ordered the design and manufacture of shirts by Auzprint in
       Brisbane. The invoice from Auzprint dated 22 April 2013 for what seems to be 170 Polo shirts
       in a total amount of $8,965 is annexed to his affidavit as PJ-2. The mock-up for the shirts is
       annexed as PJ-3 and although a number of images appear on the shirts, the word mark “Hells
       Angels” prominently appears and so too does the side view of the Death Head which is the
       device mark.

509    Mr Johnson says that in preparation for the 2013 National Run in Darwin, each Chapter paid
       an initial fee of $200.00 per member to attend the Run and that fee was designed to cover
       accommodation, the supply of a Darwin National Run shirt as earlier described and a
       photograph. The shirt was distributed to members of the Club attending the Run.

510    As to printed matter, Mr Johnson says that in 2013 a member of the Darwin Chapter of the
       Club died. The Darwin Chapter arranged a printed eulogy for the funeral of the deceased
       member which had endorsed upon it the word mark “Hells Angels” and the device mark of the
       side view of the Death Head.

511    It is perfectly obvious that the members of the Club in Australia attach very great significance
       to the use of the trade marks as signification of their engagement in the affairs and collegiality
       of the Motorcycle Club. That can be seen from the prominence given to the trade marks on the
       headstones of members who died in 2013. A photograph of the headstones is set out below.




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                                    #:4102
512   As to jewellery, Mr Johnson says that he has regularly ordered the manufacture and purchase
      of jewellery for members of the Club using the registered trade marks.

513   Mr Johnson annexes a tax invoice from A J Concepts dated 31 January 2014 (at p 26) in respect
      of jewellery items ordered in January 2014 for the Darwin Chapter. He says that the invoice
      (6885101, at p 26) is in respect of an item of jewellery that he knows as the “Darwin pin” and
      at PJ-8 he exhibits a photograph of it. The pin is suitable for attachment to clothing and is
      made of 9 carat gold. The Darwin pin is used as a gift to a 20 year Club member. Mr Johnson
      says that he understand this is a national practice on the part of the Club. The image is set out
      below.




514   As to motorcycles, Mr Johnson annexes as PJ-9 a photograph of a moulded metal article known
      as a “Derby Cover” that was manufactured and presented to the Darwin Chapter of the Club.
      It is a motorcycle accessory made for attachment to the left-hand side of a “Harley-Davidson
      Motorcycle”. It acts as a “clutch cover”. The Derby Cover is also presented to a member of a
      Club on an anniversary of the person’s membership of the Club.

515   It may be that the Derby Cover was not presented to a member in the relevant period.
      Mr Johnson does not say whether that occurred or not. However, it seems clear enough that in
      the relevant period the Club had available to it, and had ordered so as to have available to it,
      Derby Covers for supply. A photograph of the Derby Cover is set out below.




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516   Mr Andrew Jesse has sworn an affidavit of 16 June 2016 on this topic.

517   Mr Jesse says that he is a Master Jeweller. He has worked as a jeweller for 34 years. He says
      that for approximately 25 years he has manufactured and sold jewellery items to Chapters and
      individual members of the Hells Angels Motorcycle Club. He annexes to his affidavit a bundle
      of invoices which he has issued under the business name “A J Concepts” in respect of jewellery
      items he has manufactured and sold to Chapters or members of the Club. He annexes 12
      invoices which includes invoices dated 31 January 2014, 22 April 2014, 28 July 2014,
      19 August 2014, 5 September 2014, 4 January 2015, 10 March 2015 and 1 April 2015.

518   Apart from the invoices, Mr Jesse annexes photographs of jewellery designs and moulds used
      by him to manufacture jewellery items for the Chapters or individual members of the Club. He
      also annexes images of some of those jewellery items that were manufactured and sold by him.
      For example, Invoice 5 dated 28 July 2014, concerns an item described as “cast 2 silver Hells
      Angels letters only belt buckles” and Invoice 7 dated 5 September 2014 concerns “Two silver
      Hells Angels letters buckles”. Image 2 reproduces the form that the belt buckles took, made
      from silver, including the particular lettering but excluding the central side view Death Head.
      The belt buckle bears the words “Hells Angels”.

519   Invoice 9 concerns an item described as a “Hells End Chapter Pin” which is a Chapter of the
      Club in Adelaide and its design can be seen in the figure found at Image 5 which exhibits a
      “top rocker” comprising the words “Hells Angels” and the device of the side view of the Death
      Head with the words “Hells End” as the “bottom rocker”. Images 4, 6 and 7 are examples of
      the Hells Angels Chapter Pin badges which Mr Jesse manufactured and sold to Chapters and
      individual members of the Club in the relevant period. The images are depicted below.




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520   Invoices 10 and 11 dated 10 March 2015 and 1 April 2015 concern orders for the supply of
      items Mr Jesse describes as “Hells End Chapter rings”. Image 8 is an example of the ring as
      set out below.




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521   After manufacture, Mr Jesse delivered the items and received electronic payment for them.

522   Mr Jesse says that based on his dealings with the Club over a period of 25 years he is aware
      that only members of the Club are entitled to wear jewellery items with the trade marks such
      as the word “Hells Angels” and/or the side view of the Death Head figure. Mr Jesse says that
      if he is asked directly by an individual to manufacture such a jewellery item, his practice is to
      contact the representative of the Chapter to confirm that the individual is a member of the Club.

523   Mr Alan Birch has affirmed an affidavit of 15 June 2017 on this topic.

524   Mr Birch is a Director of Print ‘n Wear Pty Ltd and his affidavit simply corroborates the
      matters Mr Hansen talks about concerning the purchase of the 35 shirts earlier mentioned.

525   Ms Robyn Rigby has affirmed an affidavit of 16 June 2017 on this topic. She is an owner of
      Auzprint. She gives evidence about the matters mentioned by Mr Johnson concerning the 2013
      Darwin National Run.

526   Apart from that matter, Ms Rigby gives evidence about an order Auzprint received from
      Mr Nelms in March 2012 for 500 digital stickers (as depicted at [492] of these reasons). This
      order, of course, is outside the relevant period. However, it concerns the purchase of 500
      stickers and I am willing to infer that these stickers were available for use by the Club from the
      date of delivery in March 2012. It seems to me more likely than not that these stickers would
      have been used at least into the early part of the relevant period.

527   Ms Rigby also gives evidence about an order received from Mr Nelms in March 2012 for 150
      black T-shirts bearing the Hells Angels word mark and the side view of the Death Head device.
      The invoice is dated 26 March 2012. The order concerns 150 T-shirts described in the order
      as “Screenprinting Clothing – 150 Black Tees printed 4 colours front, back and left sleeve, 50




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      singles printed 4 colours front and back” described by her as the “National Run T-Shirts” order.
        The T-shirts were delivered to the Brisbane Chapter in March 2012. Ms Rigby also refers to
        an order in February 2012 for 50 T-shirts also bearing the trade marks. These orders are outside
        the relevant period and it is not at all clear whether they were used simply during the period of
        the relevant “Run” or whether that event occurred during the relevant period.

528     Ms Rigby also says that Auzprint received an order for and delivered to the Brisbane Chapter
        of the Club in or about September 2012 a quantity of 50 black T-shirts. Ms Rigby annexes at
        RR-8 a copy of the mock-up for the T-shirts which shows a depiction of the word mark “Hells
        Angels” and the device of the side view of the Death Head. The image is depicted below.




529     This order and the supply of the T-shirts occurred within a few weeks of the relevant period
        and I am willing to infer that the T-shirts are, more likely than not, to have been used and
        supplied to members in a period on and after 5 October 2012.

530     As to all of these deponents and their evidence referred to at [491] to [529], I accept their
        evidence.

531     For the reasons indicated at [333] to [404], I am satisfied that each use by HAMC Aust of the
        trade marks is an authorised use for the purposes of s 8(2) and s 7(3) of the Trade Marks Act.
        I am satisfied that HAMC Aust (together with HAMC US) has rebutted the s 92(4)(b)
        contention that “at no time” during the relevant period has HAMC US “used” the registered
        trade marks in Australia. Use of the registered trade marks in Australia is made out in relation




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      to: printed matter (stickers, anniversary cards and a printed eulogy); use on the gravestones of
       two members; flags; recordings in the form of sales of the DVD entitled “Hells Angels
       Forever”; use on a motorcycle; a motorcycle part called a “Derby Cover”; jewellery (badges,
       pins, rings, belt buckles, patches, flashes); clothing (T-shirts); and entertainment services
       (national motorcycle runs).

532    These uses are examples of use of the trade marks in virtually all of the classes of registration.
       The evidence of HAMC Aust and HAMC US does not demonstrate use in relation to sporting
       equipment. However, the use of the trade marks is sufficiently extensive in the relevant period
       across almost all of the classes that, as an exercise of the discretion, I would not be willing to
       direct the Registrar, pursuant to s 92(3) of the Trade Marks Act, to remove the relevant trade
       mark from the Register essentially for three considerations.

533    First, use of the registered trade marks in the relevant period is considerable across almost the
       categories.

534    Second, use before and after the relevant period is considerable and although these uses,
       obviously enough, go to conduct outside the relevant period, it is nevertheless relevant to the
       exercise of the discretion more broadly.

535    Third, because of considerations 1 and 2, it would work, put simply, unfairness to HAMC US
       to remove a trade mark from registration in a specified class where there may not be specific
       use in that class (such as sporting equipment), but where, nevertheless, the registered marks
       have been used extensively for a long time, on the evidence, so as to distinguish in many
       applications and uses Hells Angels Motorcycle Club (through its special purpose vehicle) as
       the source or origin of particular goods and services.

536    It would be inconceivable that HAMC US’s registration of one of the registered trade marks in
       a category (such as sporting goods) where non-use may have occurred, is depriving a bona fide
       person of an opportunity to use that mark, as a trade mark, in respect of the relevant class of
       goods or services in question. Any such third party use would immediately cause confusion
       having regard to considerations 1 and 2 and the long history of use.

537    As to Example 1, it was removed from the website on 30 December 2014 as a result of
       Mr Bolam’s letter of 24 December 2014 (that is, removed six days later). It was on the website
       for three months and three days in all and viewed 304 times (presumably across all jurisdictions
       not just “in Australia”). Two sales occurred. The damages for infringement ought to be




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      nominal. As to Example 3, it was uploaded on 4 August 2015. It was removed on
      25 November 2015, about three months later. In that time, it was viewed 767 times (and again
      I assume that this represents views across all jurisdictions and not just in Australia). One sale
      occurred. Again, the damages ought to be nominal.

538   As to Example 4, it was uploaded on 31 March 2015. It was removed on 3 April 2015. It was
      viewed 11 times (and again I assume that that includes views across all jurisdictions and not
      just in Australia) over a period of three days. No sale occurred. I am not satisfied that any
      award of damages is appropriate in respect of Example 4.

539   There is no basis for any consideration of exemplary damages.

540   As to the damages in relation to Examples 1 and 3, total damages to be awarded will be
      $5,000.00.

541   Three matters remain to be considered.

      Key words as a search term
542   As to the use of the term “Hells Angels” or “Hells Angel” or any variant of that term which is
      properly characterised as being substantially identical with, or deceptively similar to, the word
      marks, I accept that use of such terms as “key words”, as search terms, as an element of
      Redbubble’s business model in facilitating a transaction leading to an application of the
      relevant “offending” work to the particular goods is “a use” of the registered word marks of
      HAMC US. However, I am not satisfied that this use, in itself, is use of the word marks as a
      trade mark, at this point in the functionality of the website. I take that view because I am not
      satisfied that using the term as a search term to find a relevant image is use of the term as a
      “badge of origin” of Redbubble. It is, undoubtedly, a use which is designed, quite deliberately,
      to lead a consumer by the “search nose” to images, marks, devices, livery and badging
      somehow or other connected with the Hells Angels Motorcycle Club.

543   Redbubble well knows and understands, by reason of its deployed business model, that this is
      precisely how a consumer finds an image that Redbubble hopes the consumer will want to have
      applied to goods for supply to him or her so that Redbubble might derive revenue for itself of
      substance (and for the artist). It is the conjunction of the use of the search term (reflecting the
      word marks) and the use of the image containing substantially identical or deceptively similar
      marks of HAMC US that renders use by Redbubble of the uploaded image (incorporating the




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      essential elements of the registered trade marks) in its transactional application to goods for
       supply by Redbubble to the consumer, an infringement of the trade marks in suit by Redbubble.

544    However, use of the word marks (or marks substantially identical with or deceptively similar
       to the word marks) as a search term is a search step along the way to use of the image and thus
       the registered trade marks, as trade marks but use of the word marks at the point of searching
       is not, in itself, in my view, use as a trade mark.

       The Australian Consumer Law claim
545    The second matter concerns the case advanced by HAMC Aust under the provisions of the
       Australian Consumer Law. That case was barely addressed at all in closing submissions by
       senior counsel for the applicant. Counsel for Redbubble contends that the ACL case was, in
       effect, abandoned by the applicant at trial. It is certainly true that very little was made of the
       case in closing submissions and, apart from paragraphs of the written submissions that set out
       the relevant statutory provisions and a brief statement of principle derived from Google Inc. v
       Australian Competition and Consumer Commission (2013) 249 CLR 435 at [6] to [9], the
       written submissions of the applicant addressing this topic, in terms of the application of the
       identified principle to the facts, comprises six short paragraphs.

546    As to Example 3, I have concluded that the image is deceptively similar to the device mark in
       the particular sense contemplated for the purposes of trade mark law by Windeyer J in Shell v
       Esso at 415: see [472] of these reasons. As to the wider statutory question of just how many
       members of a properly defined cohort in Australia, may have been among the 767 people who
       viewed the image across all jurisdictions and whether the 767 views represents 767 people or
       a lesser number viewing the image multiple times, I am not satisfied that I am in a position to
       assess, on the evidence and the submissions, whether a relevantly defined cohort in Australia
       of any particular size with a properly identified reasonable member, emblematic of the cohort,
       has been made out so as to establish conduct by Redbubble which goes beyond “causing a
       person to wonder” about a relevant matter, to conduct properly described as “conduct that is
       misleading or deceptive or is likely to mislead or deceive” in the statutory sense contemplated
       by s 18 of the ACL and, for that matter, s 29 of the ACL.

547    In respect of Example 1 and Example 4, I have found that the relevant use is use of an image
       comprising marks which are substantially identical to the relevant trade marks rather than
       deceptively similar.    Had I found such use to fall within the description of “deceptive
       similarity”, the observations I have just made about the ACL would equally apply.




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548   Accordingly, the case based upon contraventions of the ACL must be dismissed.

      The contention that the artist and Redbubble are joint tortfeasors
549   As to the copyright claim, I have concluded that no statutory tort arises as contended and thus
      no question of a joint liability arises. As to the trade mark infringements, I am not satisfied
      that there is a “common design”, as contemplated in the authorities, in the sense of the specific
      meeting of minds in relation to each specific example. The evidence shows that an artist
      engages in conduct and, by force of the business model, Redbubble engages in its own conduct:
      Thompson v Australian Capital Television Pty Ltd (1996) 186 CLR 574 at 581-585; The
      Koursk [1924] p 140 at 159-160.

550   In the result, the copyright case fails. The ACL case must be dismissed. Infringement of the
      trade marks in relation to Examples 1, 3 and 4 are made out. However, damages in respect of
      Examples 1 and 3 are nominal, namely $5,000.00, and there can be no award of exemplary
      damages. The cross-claim for removal of the registered trade marks is dismissed.

551   It is not clear to me whether the applicant is seeking a declaration in relation to any matters.
      The applicant, by the originating application, seeks injunctions. Accordingly, the formal orders
      for today will be simply that the applicant, within 10 days, submit to the Court proposed orders
      it would seek so as to give effect to these reasons.

552   The costs of the proceedings will be reserved for later determination and, in due course,
      directions will be made for putting on submissions about that matter.

       I certify that the preceding five
       hundred and fifty-two (552)
       numbered paragraphs are a true copy
       of the Reasons for Judgment herein of
       the Honourable Justice Greenwood.



      Associate:


      Dated:       15 March 2019




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                                    REDACTED SCHEDULE
                         (Referred to in [244] of the reasons for judgment)

    As at 26 July 2017, approximately:
            (a)    [redacted] artworks were displayed on the Redbubble Website;
            (b)    [redacted] Artists had accounts on the Redbubble Website;
            (c)    approximately [redacted] new artworks are uploaded per day;
            (d)    approximately [redacted] orders are placed by customers each day;
            (e)    approximately [redacted] new Artists sign up to the Redbubble Website each day;
                   and
            (f)    the top-selling Artist has made [redacted] sales to date.




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